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                      EXHIBIT 3
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   Dallas, TX 75201
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   Facsimile: (214) 939-5849
 9
     Attorneys for Defendant
10   Tyler Technologies, Inc.
11
                          UNITED STATES DISTRICT COURT
12
           CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DIVISION
13
     LENORE ALBERT, JAMES                        Case No. 8:24-cv-01997-WLH-DFM
14   OCON, RYAN MCMAHON,                         [Assigned to the Hon. Wesley L. Hsu]
     LARRY TRAN, THERESA
15   MARASCO; CHAD PRATT; AND                    DECLARATION OF ZACHARY
     LESLIE WESTMORELAND                         TIMM IN SUPPORT OF
16                                               DEFENDANT TYLER
                     Plaintiffs,                 TECHNOLOGIES, INC.’S NOTICE
17                                               OF MOTION AND MOTION TO
            v.                                   DISMISS FIRST AMENDED
18                                               COMPLAINT
     TYLER TECHNOLOGIES, INC.,
19   STATE BAR OF CALIFORNIA;                    Complaint Filed: September 16, 2024
     RICK RANKIN, STEVE MAZER,
20   LEAH WILSON, RUBEN DURAN                    Hearing Date:   December 20, 2024
     SHERRELL MCFARLANE;                         Time:           1:30 p.m.
21   KATHERINE KINSEY, BENSON                    Courtroom:      9B
     HOM, CINDY CHAN, SUZANNE
22   GRANT, and DOES 1-50,
     inclusive,
23
                     Defendants.
24

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                                   DECLARATION OF ZACHARY TIMM
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 1                         DECLARATION OF ZACHARY TIMM

 2        I, Zachary T. Timm, declare as follows:

 3        1.     I am an attorney at the law firm of K&L Gates LLP (the “Firm”), counsel

 4 for Defendant Tyler Technologies, Inc. (“Tyler” or “Defendant”) in the above-captioned

 5 matter. I am over the age of 18 years, have personal knowledge of the facts contained

 6 in this declaration, and if called as a witness, could and would testify competently to the

 7 truth of the facts stated herein. I submit this Declaration in support of Tyler’s Motion to

 8 Dismiss First Amended Complaint (the “Motion”).

 9        2.     On October 17, 2024, my colleague, Beth Petronio, forwarded me a

10 calendar invite for an October 23, 2024 meet and confer she received from Plaintiff

11 Lenore Albert, which contained a Zoom link for such meet and confer.

12        3.     On October 23, 2024, I accessed the Zoom link that Ms. Petronio had

13 forwarded me. Prior to the meet and confer conference beginning, I saw that Ms.

14 Petronio had disappeared from the Zoom. When I inquired, Ms. Albert informed me

15 that she had removed Ms. Petronio from the Zoom because Ms. Petronio was not listed

16 on the docket as counsel of record for Tyler. I told Ms. Albert that Ms. Petronio was

17 Tyler’s lead counsel for this action, that she intended to file an application to appear pro

18 hac vice, and that there was no requirement for Ms. Petronio to appear on the docket to

19 participate in a meet and confer, particularly where Tyler had not yet filed a responsive

20 pleading. Ms. Albert informed me that she would not allow Ms. Petronio back into the

21 Zoom and asked the other Plaintiffs if they wanted to participate in a meet and confer

22 conference with Ms. Petronio. They each declined to meet and confer with Ms. Petronio.

23 I informed all Plaintiffs that Tyler would not proceed with the meet and confer if its lead

24 counsel was not permitted to re-join the Zoom meeting. The Parties eventually agreed

25 to conduct the meet and confer with respect to Tyler once Ms. Petronio had filed her pro

26 hac vice application.

27        4.     Attached hereto as Exhibit A is a true and correct copy of a printout of the

28 docket for the matter of In re Lenore Albert, Case No. 2:24-ad-00002-DMG pending in

                                                1
                                 DECLARATION OF ZACHARY TIMM
Case
Case8:24-cv-01997-WLH-DFM
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 1 the Central District of California. I created this PDF by accessing the Docket Report for

 2 that case through the Court’s CM/ECF system on November 18, 2024, and printing the

 3 entire page to PDF.

 4        5.     Attached hereto as Exhibit B is a true and correct copy of a printout of the

 5 docket for the matter of John Roe 1, et al. v. The State Bar of California, et al., Case No.

 6 8:22-cv-00983-DFM pending in the Central District of California. I created this PDF

 7 by accessing the Docket Report for that case through the Court’s CM/ECF system on

 8 November 18, 2024, and printing the entire page to PDF.

 9        6.     On June 28, 2024, I appeared at a Status Conference and hearing on

10 Defendants’ Demurrers to the Fourth Amended Complaint in the matter of John Roe 1,

11 et al. v. State Bar of California, et al., Case No. 30-2022-01250695-CU-AT-CXC

12 pending in the Superior Court for the State of California, County of Orange. At that

13 hearing, the Court continued the hearing on Defendants’ Demurrers to October 18, 2024.

14 Attached hereto as Exhibit C is a true and correct copy of the Notice of Ruling and

15 Tentative Order I received from counsel for the State Bar of California following that

16 June 28, 2024 hearing.

17        7.     On October 18, 2024, I appeared at the continued Status Conference and

18 hearing on Defendants’ Demurrers to the Fourt Amended Complaint in the matter of

19 John Roe 1, et al. v. State Bar of California, et al., Case No. 30-2022-01250695-CU-

20 AT-CXC pending in the Superior Court for the State of California, County of Orange.

21 At that hearing, the Court continued the hearing on Defendants’ Demurrers to February

22 7, 2025. Attached hereto as Exhibit D is a true and correct copy of the Notice of Ruling

23 and Tentative Order I received from counsel for the State Bar of California following

24 that October 18, 2024 hearing.

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                                 DECLARATION OF ZACHARY TIMM
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 1        8.    Attached hereto as Exhibit E is a true and correct copy of the Fourth

 2 Amended Complaint filed in the matter of John Roe 1, et al. v. State Bar of California,

 3 et al., Case No. 30-2022-01250695-CU-AT-CXC pending in the Superior Court for the

 4 State of California, County of Orange.

 5        Executed this 18th day of November, 2024 in Los Angeles, California.

 6

 7                                                /s/ Zachary T. Timm

 8                                                Zachary T. Timm

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                           UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
                     CIVIL DOCKET FOR CASE #: 2:24-ad-00002-DMG


  Albert                                                                                Date Filed: 03/14/2024
  Assigned to: Judge Dolly M. Gee
  In Re
  Lenore Albert                                                          represented by Lenore L Albert
                                                                                        Law Offices of Lenore Albert
                                                                                        1968 South Coast Hwy Suite 3960
                                                                                        Laguna Beach, CA 92651
                                                                                        424-365-0741
                                                                                        Email: lenorealbert@msn.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED


   Date Filed            #    Docket Text
   03/14/2024            1 ORDER TO SHOW CAUSE by Judge Philip S. Gutierrez. ORDER a response to this
                           Order to Show Cause shall be submitted within 30 days of this order as outlined in this
                           order. FURTHER ORDERED if the attorney fails to respond within the time specified an
                           order of suspension shall issue. Response to Order to Show Cause due by 4/15/2024. (jcw)
                           (Entered: 03/14/2024)
   03/26/2024            2 EX PARTE APPLICATION for Issuance of Declaratory Relief to proceed filed by Central
                           District Member Lenore Albert. (Albert, Lenore) (Entered: 03/26/2024)
   03/27/2024            3 MINUTES (IN CHAMBERS) by Judge Philip S. Gutierrez: denying 2 EX PARTE
                           APPLICATION for Issuance (jcw) (Entered: 03/27/2024)
   04/12/2024            4 RESPONSE filed by In Re Lenore Albertto Order to Show Cause -- attorney discipline, 1
                           (Attachments: # 1 Response on Want of Due Process, # 2 Response Showing Insufficient
                           Proof, # 3 Response Showing Manifest Injustice, # 4 Declaration James Ocon, # 5
                           Declaration Gregory Meinhardt, # 6 Declaration John Roe 1, # 7 Declaration NZ, # 8
                           Declaration Chad Pratt, # 9 Declaration Darryl W. Genis, # 10 Declaration CLS, # 11
                           Declaration Robert Shaw, # 12 Declaration Diddo Clark, # 13 Declaration Ryan McMahon,
                           # 14 Declaration Larry Tran, # 15 Declaration Theresa Marasco, # 16 Declaration Antonio
                           Marasco)(Albert, Lenore) (Entered: 04/12/2024)
   04/12/2024            5 Reporters Transcripts filed by In Re Lenore Albert Vol 1 through 4 re: Order to Show
                           Cause -- attorney discipline, 1 (Attachments: # 1 Reporters Transcript Vol 1, # 2 Reporters
                           Transcript Vol 2, # 3 Reporters Transcript Vol 3, # 4 Reporters Transcript Vol 4)(Albert,
                           Lenore) (Entered: 04/12/2024)
   04/13/2024            6 DECLARATION of Lenore Albert re Order to Show Cause -- attorney discipline, 1 filed
                           by In Re Lenore Albert. (Attachments: # 1 Ex 1, # 2 Ex 2, # 3 Ex 3, # 4 Ex 4, # 5 Ex 5, # 6
                           Ex 6, # 7 Ex 7, # 8 Ex 8, # 9 Ex 9, # 10 Ex 10, # 11 Ex 11, # 12 Ex 12, # 13 Ex 13, # 14 Ex

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                              14, # 15 Ex 15, # 16 Ex 16, # 17 Ex 17, # 18 Ex 18, # 19 Ex 19, # 20 Ex 20, # 21 Ex 21, #
                              22 Ex 22, # 23 Ex 23, # 24 Ex 24)(Albert, Lenore) (Entered: 04/13/2024)
   04/13/2024            7 EXHIBIT Filed filed by In Re Lenore Albert. Respondent Trial Exhibits 1001 - 1049 as to
                           Order to Show Cause -- attorney discipline, 1 . (Attachments: # 1 Exhibit 1001 - 1024 part
                           1, # 2 Exhibit 1024 - 1049)(Albert, Lenore) (Entered: 04/13/2024)
   04/13/2024            8 EXHIBIT Filed filed by In Re Lenore Albert. Respondent Trial Exhibits 1050 - 1099 as to
                           Exhibit (non-trial) 7 . (Attachments: # 1 Exhibit 1075 - 1082, # 2 Exhibit 1083 - 1099)
                           (Albert, Lenore) (Entered: 04/13/2024)
   04/13/2024            9 EXHIBIT Filed filed by In Re Lenore Albert. Respondent Trial Exhibits 1100 - 1176 as to
                           Exhibit (non-trial) 7 . (Albert, Lenore) (Entered: 04/13/2024)
   04/13/2024           10 EXHIBIT Filed filed by In Re Lenore Albert. Respondents Trial Exhibits 1177 - 1182 as to
                           Exhibit (non-trial) 7 . (Attachments: # 1 Exhibit 1178, # 2 Exhibit 1179, # 3 Exhibit 1180,
                           # 4 Exhibit 1181, # 5 Exhibit 1182)(Albert, Lenore) (Entered: 04/13/2024)
   04/13/2024           11 EXHIBIT Filed filed by In Re Lenore Albert. Respondent Trial Exhibit 1183 Cindy Chan
                           and David Seal No Code No Links as to Exhibit (non-trial) 7 . (Albert, Lenore) (Entered:
                           04/13/2024)
   04/13/2024           12 EXHIBIT Filed filed by In Re Lenore Albert. Respondent Trial Exhibits 1184 - 1185
                           SANDC and Answer as to Exhibit (non-trial) 7 . (Attachments: # 1 Exhibit 1185)(Albert,
                           Lenore) (Entered: 04/13/2024)
   04/13/2024           13 EXHIBIT Filed filed by In Re Lenore Albert. State Bar Trial Exhibits 1 - 7 as to
                           Response,, 4 . (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                           Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(Albert, Lenore) (Entered: 04/13/2024)
   04/13/2024           14 EXHIBIT Filed filed by In Re Lenore Albert. State Bar Trial Exhibits 8 - 65 (- missing) as
                           to Exhibit (non-trial), 13 . (Attachments: # 1 Exhibit 26 - 47, # 2 49 - 59, # 3 62, # 4 63, #
                           5 64, # 6 65)(Albert, Lenore) (Entered: 04/13/2024)
   04/13/2024           15 State Bar Rules of Procedure and Practice filed by In Re Lenore Albert re: Order to Show
                           Cause -- attorney discipline, 1 (Attachments: # 1 Rules of Practice)(Albert, Lenore)
                           (Entered: 04/13/2024)
   04/13/2024           16 DECLARATION of DE and MTA re Order to Show Cause -- attorney discipline, 1 filed by
                           In Re Lenore Albert. (Albert, Lenore) (Entered: 04/13/2024)
   05/10/2024           17 NOTICE OF REASSIGNMENT OF CASE filed. Pursuant to the succession of the
                           Honorable Dolly M. Gee as Chief Judge of the Central District. Case transferred to Judge
                           Dolly M. Gee for all further proceedings. Case number will now read 2:24-ad-00002
                           DMG. (rn) (Entered: 05/10/2024)
   06/24/2024           18 MINUTES IN CHAMBERS- ORDER VACATING MARCH 14, 2024 ORDER TO
                           SHOW CAUSE AND ISSUING A NEW ORDER TO SHOW CAUSE by Judge Dolly M.
                           Gee. Accordingly, the Court hereby VACATES the March 14 Order to Show Cause and
                           issues the following Order to Show Cause based on Albert's disbarment. Accordingly,
                           Albert is HEREBY ORDERED TO SHOW CAUSE, in writing, by August 16, 2024, why
                           she should not be disbarred from the practice of law before this Court, pursuant to Rule 83-
                           3.2 of the Local Rules for the Central District of California. (SEE DOCUMENT FOR
                           FURTHER DETAILS.) (rolm) (Entered: 06/24/2024)
   07/08/2024           19 NOTICE of Decision: Disbarment filed by respondent Lenore Albert. (Albert, Lenore)
                           (Entered: 07/08/2024)



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   08/07/2024           20 RESPONSE filed by In Re Lenore Albertto Order to Show Cause,,, Terminate Deadlines,,
                           18 (Albert, Lenore) (Entered: 08/07/2024)



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                           UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF CALIFORNIA (Southern Division - Santa Ana)
                      CIVIL DOCKET FOR CASE #: 8:22-cv-00983-DFM


  John Roe 1 et al v. The State Bar of California et al                                  Date Filed: 05/13/2022
  Assigned to: Magistrate Judge Douglas F. McCormick                                     Date Terminated: 05/01/2023
  Related Case: 8:24-cv-01997-WLH-DFM                                                    Jury Demand: Plaintiff
  Case in other court: Superior Court of California County of                            Nature of Suit: 410 Anti-Trust
                       Orange, 30-02022-01250695-CU-AT-CXC                               Jurisdiction: Federal Question
  Cause: 28:1441 Notice of Removal
  Plaintiff
  John Roe 1                                                              represented by Lenore L Albert
  an individual                                                                          Law Offices of Lenore Albert
                                                                                         1968 South Coast Hwy Suite 3960
                                                                                         Laguna Beach, CA 92651
                                                                                         424-365-0741
                                                                                         Email: lenorealbert@msn.com
                                                                                         ATTORNEY TO BE NOTICED
  Plaintiff
  Jane Roe 1                                                              represented by Lenore L Albert
  an individual                                                                          (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
  Plaintiff
  Jane Roe 2                                                              represented by Lenore L Albert
  an individual                                                                          (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
  Plaintiff
  Jane Roe 3                                                              represented by Lenore L Albert
  an individual                                                                          (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
  Plaintiff
  John Roe 2                                                              represented by Lenore L Albert
  on behalf of themselves and all others                                                 (See above for address)
  similarly situated                                                                     ATTORNEY TO BE NOTICED
  Plaintiff
  Chad T. Pratt                                                           represented by Lenore L Albert
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
  Plaintiff

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  NZ Roe                                                      IDrepresented
                                                                  #:1948 by Lenore L Albert
                                                                  #:4667
                                                                                    (See above for address)
                                                                                    ATTORNEY TO BE NOTICED


  V.
  Defendant
  The State Bar of California                                             represented by Barrett J. Anderson
                                                                                         Federal Trade Commission
                                                                                         600 Pennsylvania Avenue, NW
                                                                                         Washington, DC 20580
                                                                                         202-460-0766
                                                                                         Email: banderson1@ftc.gov
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Michael G Rhodes
                                                                                        Cooley LLP
                                                                                        3 Embarcadero Center 20th Floor
                                                                                        San Francisco, CA 94111
                                                                                        415-693-2000
                                                                                        Fax: 415-693-2222
                                                                                        Email: rhodesmg@cooley.com
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                                                                                        ATTORNEY TO BE NOTICED

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                                                                                        The State Bar of California
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                                                                                        San Francisco, CA 94105-1639
                                                                                        415-538-2337
                                                                                        Fax: 415-538-2321
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Tiana A. Demas
                                                                                        Cooley LLP
                                                                                        55 Hudson Yards
                                                                                        10001-2157
                                                                                        New York, NY 10001-2157
                                                                                        212-479-6560
                                                                                        Email: tdemas@cooley.com
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        David Ming Liu
                                                                                        Buchalter
                                                                                        18400 Von Karman Avenue, Suite 800
                                                                                        Irvine, CA 92612
                                                                                        949-224-6258
                                                                                        Email: DLiu@buchalter.com
                                                                                        ATTORNEY TO BE NOTICED

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                                                                                        Gregory John Merchant
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                                                                                        San Francisco, CA 94111
                                                                                        415-693-2000
                                                                                        Email: gmerchant@cooley.com
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                                                                                        Suzanne Grandt
                                                                                        The State Bar of California
                                                                                        180 Howard Street
                                                                                        San Francisco, CA 94105
                                                                                        415-538-2388
                                                                                        Fax: 415-538-2321
                                                                                        Email: suzanne.grandt@calbar.ca.gov
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Vanessa L Holton
                                                                                        The State Bar of California
                                                                                        Office of General Counsel
                                                                                        180 Howard Street
                                                                                        San Francisco, CA 94105-1639
                                                                                        415-538-2381
                                                                                        Fax: 415-538-2321
                                                                                        Email: vanessa.holton@calbar.ca.gov
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Walter Waidelich
                                                                                        Cooley LLP - Library
                                                                                        10265 Science Center Drive
                                                                                        San Diego, CA 92121
                                                                                        858-550-6179
                                                                                        Email: cwaidelich@cooley.com
                                                                                        TERMINATED: 02/27/2023
  Defendant
  Tyler Technologies, Inc.                                                represented by Beth W. Petronio
  also known as                                                                          K and L Gates LLP
  Doe 1                                                                                  1717 Main Street, Suite 2800
                                                                                         Dalls, TX 75201
                                                                                         214-939-5815
                                                                                         Fax: 214-939-5849
                                                                                         Email: beth.petronio@klgates.com
                                                                                         PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Christina N. Goodrich
                                                                                        KandL Gates LLP
                                                                                        10100 Santa Monica Boulevard, 8th Floor
                                                                                        Los Angeles, CA 90067
                                                                                        310-552-5000
                                                                                        Fax: 310-552-5001
                                                                                        Email: christina.goodrich@klgates.com
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                                                              ID #:4669
                                                                  #:1950            ATTORNEY TO BE NOTICED

                                                                                        Jason Nathaniel Haycock
                                                                                        K and L Gates LLP
                                                                                        Four Embarcadero Center Suite 1200
                                                                                        San Francisco, CA 94111
                                                                                        415-882-8200
                                                                                        Fax: 415-882-8220
                                                                                        Email: jason.haycock@klgates.com
                                                                                        TERMINATED: 05/19/2022

                                                                                        Zachary Thomas Timm
                                                                                        KandL Gates LLP
                                                                                        10100 Santa Monica Boulevard, 8th Floor
                                                                                        Los Angeles, CA 90067
                                                                                        310-552-5000
                                                                                        Fax: 310-552-5001
                                                                                        Email: zach.timm@klgates.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Kevan Schwitzer                                                         represented by David Belcher
  TERMINATED: 05/20/2022                                                                 Faegre Drinker Biddle and Reath LLP
                                                                                         1800 Century Park East, Suite 1500
                                                                                         Los Angeles, CA 90067
                                                                                         310-203-4000
                                                                                         Fax: 310-229-1285
                                                                                         Email: david.belcher@faegredrinker.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Peter William Baldwin
                                                                                        Faegre Drinker Bibble and Reath LLP
                                                                                        1177 Avenue of the Americas 41st Floor
                                                                                        New York, NY 10036
                                                                                        212-248-3140
                                                                                        Fax: 212-248-3141
                                                                                        Email: peter.baldwin@faegredrinker.com
                                                                                        ATTORNEY TO BE NOTICED

  Defendant
  Rick Rankin                                                             represented by Justin Alexander Anderson
                                                                                         Jeffer Mangels Butler and Mitchell LLP
                                                                                         1900 Avenue of the Stars 7th Floor
                                                                                         Los Angeles, CA 90067
                                                                                         310-203-8080
                                                                                         Fax: 310-203-0567
                                                                                         Email: janderson@jmbm.com
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Michael Allan Gold
                                                                                        Jeffer Mangels Butler and Mitchell LLP
                                                                                        1900 Avenue of the Stars 7th Floor
                                                                                        Los Angeles, CA 90067-5010
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                                                              ID #:4670
                                                                  #:1951            310-203-8080
                                                                                 Fax: 310-203-0567
                                                                                 Email: mgold@jmbm.com
                                                                                 ATTORNEY TO BE NOTICED
  Defendant
  Does
  4 through 10, inclusive


   Date Filed             #     Docket Text
   05/13/2022              1 NOTICE OF REMOVAL from Orange County, case number 30-2022-0125695-CU-AT-
                             CXC Receipt No: ACACDC-33294587 - Fee: $402, filed by Defendant Tyler
                             Technologies, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                             D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I) (Attorney
                             Jason Nathaniel Haycock added to party Tyler Technologies, Inc.(pty:dft))(Haycock,
                             Jason) (Entered: 05/13/2022)
   05/13/2022              2 CIVIL COVER SHEET filed by Defendant Tyler Technologies, Inc.. (Haycock, Jason)
                             (Entered: 05/13/2022)
   05/13/2022              3 Defendant Tyler Technologies, Inc.'s Certification Pursuant to Civil L.R. 3-15
                             CERTIFICATE of Interested Parties filed by Defendant Tyler Technologies, Inc.,
                             (Haycock, Jason) (Entered: 05/13/2022)
   05/13/2022              4 CORPORATE DISCLOSURE STATEMENT Defendant Tyler Technologies, Inc.'s
                             Disclosure Statement Pursuant to Federal Rule of Civil Procedure 7.1 filed by Defendant
                             Tyler Technologies, Inc. (Haycock, Jason) (Entered: 05/13/2022)
   05/13/2022              5 NOTICE of Appearance filed by attorney Lenore L Albert on behalf of Plaintiffs Jane Roe
                             1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3 (Attorney Lenore L Albert added to
                             party Jane Roe 1(pty:pla), Attorney Lenore L Albert added to party John Roe 1(pty:pla),
                             Attorney Lenore L Albert added to party Jane Roe 2(pty:pla), Attorney Lenore L Albert
                             added to party John Roe 2(pty:pla), Attorney Lenore L Albert added to party Jane Roe
                             3(pty:pla))(Albert, Lenore) (Entered: 05/13/2022)
   05/13/2022                   CONFORMED FILED COPY OF COMPLAINT against Defendants Does 1 through 10,
                                inclusive, JudyRecords.com, Employee Doe, The State Bar of California. Jury
                                Demanded., filed by plaintiffs Jane Roe 2, Jane Roe 1, John Roe 1, Jane Roe 3, John Roe
                                2. (FILED IN STATE COURT ON 3/18/2022 SUBMITTED ATTACHED EXHIBIT A)
                                (ghap) (Entered: 05/16/2022)
   05/13/2022                   CONFORMED FILED COPY OF AMENDED COMPLAINT amending Complaint -
                                (Discovery the plaintiff having designated a defendant in the complaint by the incorrect
                                name of JudyRecords.com and having discovered the true name of the defendant to be
                                Kevan Schwitzer, filed by plaintiffs filed by plaintiffs Jane Roe 2, Jane Roe 1, John Roe
                                1, Jane Roe 3, John Roe 2. (FILED IN STATE COURT ON 3/24/2022 SUBMITTED
                                ATTACHED EXHIBIT B)(ghap) (Entered: 05/16/2022)
   05/13/2022                   CONFORMED FILED COPY OF PROOF OF SERVICE Executed by Plaintiff Jane Roe
                                2, Jane Roe 1, John Roe 1, Jane Roe 3, John Roe 2, upon Plaintiff The State Bar of
                                California served on 3/24/2022, answer due 4/14/2022. Service of the Summons and
                                Complaint were executed upon Leah Wilson, authorized agent as Executive Director of
                                the State Bar of Calfornia in compliance with California Code of Civil Procedure by
                                method of service not specified.Original Summons NOT returned. (FILED IN STATE

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                                COURT ON 3/28/2022 SUBMITTED ATTACHED EXHIBIT C) (ghap) (Entered:
                                05/16/2022)
   05/13/2022                   CONFORMED FILED COPY OF PROOF OF SERVICE Executed by Plaintiff Jane Roe
                                2, Jane Roe 1, John Roe 1, Jane Roe 3, John Roe 2, upon Defendant Employee Doe
                                served on 3/24/2022, answer due 4/14/2022. Service of the Summons and Complaint
                                were executed upon Leah Wilson, authorized agent as Executive Director of the Stae Bar
                                of Calfiornia in compliance with California Code of Civil Procedure by method of service
                                not specified.Original Summons NOT returned. (FILED IN STATE COURT ON
                                3/28/2022 SUBMITTED ATTACHED EXHIBIT D) (ghap) (Entered: 05/16/2022)
   05/13/2022                   CONFORMED FILED COPY OF FIRST AMENDED COMPLAINT against Defendants
                                Does 4 through 10, inclusive, Rick Rankin, Kevan Schwitzer, The State Bar of California,
                                Tyler Technologies, Inc. amending Complaint - (Discovery),, filed by plaintiffs Jane Roe
                                2, Jane Roe 1, John Roe 1, Jane Roe 3, John Roe 2. (FILED IN STATE COURT ON
                                4/13/2022 SUBMITTED ATTACHED EXHIBIT H)(ghap) (Entered: 05/16/2022)
   05/13/2022                   CONFORMED FILED COPY OF AMENDMENT TO COMPLAINT amending
                                Complaint - (Discovery), plaintiff being ignorant of the true name of the defendant and
                                having designated the defendant in the complaint by the fictitious name of DOE 1 and
                                having discovered the true name of the defendant to be Tyler Technologies, Inc., filed by
                                plaintiffs Jane Roe 2, Jane Roe 1, John Roe 1, Jane Roe 3, John Roe 2. (FILED IN
                                STATE COURT ON 3/25/2022 SUBMITTED ATTACHED EXHIBIT E)(ghap) (Entered:
                                05/16/2022)
   05/13/2022                   CONFORMED FILED COPY OF PROOF OF SERVICE Executed by Plaintiff Jane Roe
                                2, Jane Roe 1, John Roe 1, Jane Roe 3, John Roe 2, upon Defendant Tyler Technologies,
                                Inc. served on 3/28/2022, answer due 4/18/2022. Service of the Summons and Complaint
                                were executed upon Capitol Corporate Services-Leigh Johnson-Person Authorized to
                                Accept Service of Process in compliance with California Code of Civil Procedure by
                                personal service.Original Summons NOT returned. (FILED IN STATE COURT ON
                                3/29/2022 SUBMITTED ATTACHED EXHIBIT F) (ghap) (Entered: 05/16/2022)
   05/13/2022                   CONFORMED FILED COPY OF PROOF OF SERVICE Executed by Plaintiff Jane Roe
                                2, Jane Roe 1, John Roe 1, Jane Roe 3, John Roe 2, upon Defendant Kevan Schwitzer
                                served on 3/29/2022, answer due 4/19/2022. Service of the Summons and Complaint
                                were executed upon 6909 State Hwy 161, Apt No 320, Irving, TX 75039 in compliance
                                with California Code of Civil Procedure by personal service.Original Summons NOT
                                returned. (FILED IN STATE COURT ON 4/1/2022 SUBMITTED ATTACHED
                                EXHIBIT G) (ghap) (Entered: 05/16/2022)
   05/13/2022                   NON CONFORM COPY OF NOTICE AND ACKNOWLEDGMENT OF SERVICE of
                                Summons and Complaint returned Executed filed by Plaintiff Jane Roe 2, Jane Roe 1,
                                John Roe 1, Jane Roe 3, John Roe 2, upon Defendant Rick Rankin acknowledgment sent
                                by Plaintiff on 4/30/2022, answer due 5/23/2022. Acknowledgment of Service signed by
                                Michael A.Gold, Jeffer Manpels Butler and Mitchell LLP, Attorney for defendant Rick
                                Rankin. (SUBMITTED ATTACHED EXHIBIT I) (ghap) Modified on 5/16/2022 (ghap).
                                (Entered: 05/16/2022)
   05/16/2022              6 NOTICE OF ASSIGNMENT to District Judge David O. Carter and Magistrate Judge
                             Douglas F. McCormick. (ghap) (Entered: 05/16/2022)
   05/16/2022              7 NOTICE TO PARTIES OF COURT-DIRECTED ADR PROGRAM filed. (ghap)
                             (Entered: 05/16/2022)
   05/16/2022              8 Notice to Counsel Re Consent to Proceed Before a United States Magistrate Judge.
                             (ghap) (Entered: 05/16/2022)

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   05/16/2022              9 NOTICE OF PRO HAC VICE APPLICATION DUE for Non-Resident Attorney Beth W
                             Petronio on behalf on Defendant. A document recently filed in this case lists you as an
                             out-of-state attorney of record. However, the Court has not been able to locate any record
                             that you are admitted to the Bar of this Court, and you have not filed an application to
                             appear Pro Hac Vice in this case. Accordingly, within 5 business days of the date of this
                             notice, you must either (1) have your local counsel file an application to appear Pro Hac
                             Vice (Form G-64) and pay the applicable fee, or (2) complete the next section of this form
                             and return it to the court at cacd_attyadm@cacd.uscourts.gov. You have been removed as
                             counsel of record from the docket in this case, and you will not be added back to the
                             docket until your Pro Hac Vice status has been resolved. (ghap) (Entered: 05/16/2022)
   05/16/2022            10 INITIAL STANDING ORDER FOLLOWING ASSIGNMENT OF CIVIL CASE TO
                            JUDGE CARTER. (dca) (Entered: 05/16/2022)
   05/18/2022            11 NOTICE of Appearance filed by attorney Christina N Goodrich on behalf of Defendant
                            Tyler Technologies, Inc. (Attorney Christina N Goodrich added to party Tyler
                            Technologies, Inc.(pty:dft))(Goodrich, Christina) (Entered: 05/18/2022)
   05/18/2022            12 NOTICE of Appearance filed by attorney David Belcher on behalf of Defendant Kevan
                            Schwitzer (Attorney David Belcher added to party Kevan Schwitzer(pty:dft))(Belcher,
                            David) (Entered: 05/18/2022)
   05/18/2022            13 NOTICE of Appearance filed by attorney David Belcher on behalf of Defendant Kevan
                            Schwitzer (Belcher, David) (Entered: 05/18/2022)
   05/18/2022            14 STIPULATION to Dismiss Defendant Kevan Schwitzer filed by Defendant Kevan
                            Schwitzer. (Attachments: # 1 Proposed Order on Stipulation)(Belcher, David) (Entered:
                            05/18/2022)
   05/19/2022            15 Application for Admission Pro Hac Vice filed by Defendant Tyler Technologies, Inc. for
                            Beth Petronio (Goodrich, Christina) (Entered: 05/19/2022)
   05/19/2022            16 Notice of Appearance or Withdrawal of Counsel: for attorney Jason Nathaniel Haycock
                            counsel for Defendant Tyler Technologies, Inc.. Jason N. Haycock is no longer counsel of
                            record for the aforementioned party in this case for the reason indicated in the G-123
                            Notice. Filed by Defendant Tyler Technologies, Inc.. (Haycock, Jason) (Entered:
                            05/19/2022)
   05/19/2022            17 Notice of Appearance or Withdrawal of Counsel: for attorney Michael G Rhodes counsel
                            for Defendant The State Bar of California. Adding Michael G. Rhodes as counsel of
                            record for The State Bar of California for the reason indicated in the G-123 Notice. Filed
                            by Defendant The State Bar of California. (Attorney Michael G Rhodes added to party
                            The State Bar of California(pty:dft))(Rhodes, Michael) (Entered: 05/19/2022)
   05/19/2022            18 APPLICATION of Non-Resident Attorney Tiana A. Demas to Appear Pro Hac Vice on
                            behalf of Defendant The State Bar of California (Pro Hac Vice Fee - $500 Fee Paid,
                            Receipt No. ACACDC-33328841) filed by Defendant The State Bar of California.
                            (Attachments: # 1 Proposed Order) (Rhodes, Michael) (Entered: 05/19/2022)
   05/19/2022            19 Notice of Appearance or Withdrawal of Counsel: for attorney Walter Waidelich counsel
                            for Defendant The State Bar of California. Adding Walter C. Waidelich as counsel of
                            record for The State Bar of California for the reason indicated in the G-123 Notice. Filed
                            by Defendant The State Bar of California. (Attorney Walter Waidelich added to party The
                            State Bar of California(pty:dft))(Waidelich, Walter) (Entered: 05/19/2022)
   05/19/2022            20 Notice of Appearance or Withdrawal of Counsel: for attorney Barrett J Anderson counsel
                            for Defendant The State Bar of California. Adding Barrett J. Anderson as counsel of
                            record for The State Bar of California for the reason indicated in the G-123 Notice. Filed
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                                by Defendant The State Bar of California. (Attorney Barrett J Anderson added to party
                                The State Bar of California(pty:dft))(Anderson, Barrett) (Entered: 05/19/2022)
   05/19/2022            21 Notice of Appearance or Withdrawal of Counsel: for attorney Gregory John Merchant
                            counsel for Defendant The State Bar of California. Adding Gregory Merchant as counsel
                            of record for The State Bar of California for the reason indicated in the G-123 Notice.
                            Filed by Defendant The State Bar of California. (Attorney Gregory John Merchant added
                            to party The State Bar of California(pty:dft))(Merchant, Gregory) (Entered: 05/19/2022)
   05/19/2022            22 NOTICE AND ACKNOWLEDGMENT OF SERVICE of Summons and Complaint
                            returned Executed filed by Plaintiff Jane Roe 2, Jane Roe 1, John Roe 1, Jane Roe 3, John
                            Roe 2, upon Defendant Acknowledgment of Service signed by Michael A. Gold, Esq.,
                            Attorney and Authorized Agent for Rick Rankin. (Albert, Lenore) (Entered: 05/19/2022)
   05/19/2022            23 Joint STIPULATION Extending Time to Answer the complaint as to The State Bar of
                            California answer now due 6/6/2022; Rick Rankin answer now due 6/6/2022; Kevan
                            Schwitzer answer now due 6/6/2022; Tyler Technologies, Inc. answer now due 6/6/2022,
                            re Notice of Removal (Attorney Civil Case Opening), 1 , Amended Complaint, filed by
                            Defendant The State Bar of California.(Waidelich, Walter) (Entered: 05/19/2022)
   05/19/2022            24 Pro Hac Vice Application of Tiana Demas opposition re: APPLICATION of Non-
                            Resident Attorney Tiana A. Demas to Appear Pro Hac Vice on behalf of Defendant The
                            State Bar of California (Pro Hac Vice Fee - $500 Fee Paid, Receipt No. ACACDC-
                            33328841) 18 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane
                            Roe 3. (Albert, Lenore) (Entered: 05/19/2022)
   05/20/2022            25 APPLICATION of Non-Resident Attorney Beth W. Petronio to Appear Pro Hac Vice on
                            behalf of Defendant Tyler Technologies, Inc. (Pro Hac Vice Fee - $500 Fee Paid, Receipt
                            No. ACACDC-33335323) filed by attorney Tyler Technologies, Inc.. (Attachments: # 1
                            Proposed Order Proposed Order on App of Non-Resident) (Goodrich, Christina) (Entered:
                            05/20/2022)
   05/20/2022            26 ORDER by Judge David O. Carter, Granting Stipulation of Voluntary Dismissal with
                            Prejudice of Kevan Schwitzer 14 . SEE DOCUMENT FOR FURTHER INFORMATION.
                            Kevan Schwitzer terminated. (twdb) (Entered: 05/20/2022)
   05/20/2022            27 NOTICE of Deficiency in Electronically Filed Pro Hac Vice Application RE:
                            APPLICATION of Non-Resident Attorney Tiana A. Demas to Appear Pro Hac Vice on
                            behalf of Defendant The State Bar of California (Pro Hac Vice Fee - $500 Fee Paid,
                            Receipt No. ACACDC-33328841) 18 . The following error(s) was/were found: Local
                            Rule 5-4.3.4 Application not hand-signed. Local Rule 83-2.1.3.4 Local counsel does not
                            maintain an office within the District. Case information is incomplete. DJ and MJ initials
                            missing on application and proposed order. Please note DJ and MJ Assignment, dated
                            5/16/22, Dkt. 6 . Applicants information missing on proposed order. Other error(s) with
                            document(s): Please note that electronic, image or stamp signatures are not allowed for
                            either applicant or local counsel. See Instructions for Applicants (1). (lt) (Entered:
                            05/20/2022)
   05/24/2022            28 Notice of Appearance or Withdrawal of Counsel: for attorney Michael Allan Gold counsel
                            for Defendant Rick Rankin. Adding Michael A. Gold as counsel of record for Defendant
                            Rick Rankin for the reason indicated in the G-123 Notice. Filed by Defendant Rick
                            Rankin. (Attorney Michael Allan Gold added to party Rick Rankin(pty:dft))(Gold,
                            Michael) (Entered: 05/24/2022)
   05/25/2022            29 Notice of Appearance or Withdrawal of Counsel: for attorney Justin Alexander Anderson
                            counsel for Defendant Rick Rankin. Adding Justin A. Anderson as counsel of record for
                            Defendant Rick Rankin for the reason indicated in the G-123 Notice. Filed by Defendant

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                                Rick Rankin. (Attorney Justin Alexander Anderson added to party Rick Rankin(pty:dft))
                                (Anderson, Justin) (Entered: 05/25/2022)
   05/26/2022            30 Corrected APPLICATION of Non-Resident Attorney Tiana A. Demas to Appear Pro Hac
                            Vice on behalf of Defendant The State Bar of California (Pro Hac Vice Fee - $500 Fee
                            Paid, Receipt No. ACACDC-33371088) filed by Defendant The State Bar of California.
                            (Attachments: # 1 Declaration of Michael G. Rhodes, # 2 Proposed Order) (Rhodes,
                            Michael) (Entered: 05/26/2022)
   05/27/2022            31 NOTICE of Deficiency in Electronically Filed Pro Hac Vice Application RE: Corrected
                            APPLICATION of Non-Resident Attorney Tiana A. Demas to Appear Pro Hac Vice on
                            behalf of Defendant The State Bar of California (Pro Hac Vice Fee - $500 Fee Paid,
                            Receipt No. ACACDC-33371088) 30 . The following error(s) was/were found: Local
                            Rule 83-2.1.3.3(d) Certificate of Good Standing not attached for every state court listed to
                            which the applicant has been admitted. (lt) (Entered: 05/27/2022)
   05/27/2022            33 ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A
                            SPECIFIC CASE PRO HAC VICE by Judge David O. Carter. APPLICATION to Appear
                            Pro Hac Vice on behalf of Defendant The State Bar of California, designating Michael G
                            Rhodes as local counsel. granting 18 Non-Resident Attorney Tiana A. Demas (rolm)
                            (Entered: 05/31/2022)
   05/31/2022            32 ORDER on Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac
                            Vice by Judge David O. Carter. APPLICATION to Appear Pro Hac Vice on behalf of
                            Defendant Tyler Technologies, Inc., designating Christina N. Goodrich as local counsel.
                            granting 25 Non-Resident Attorney Beth W. Petronio (rolm) (Entered: 05/31/2022)
   06/06/2022            34 NOTICE of Appearance filed by attorney Zachary Thomas Timm on behalf of Defendant
                            Tyler Technologies, Inc. (Attorney Zachary Thomas Timm added to party Tyler
                            Technologies, Inc.(pty:dft))(Timm, Zachary) (Entered: 06/06/2022)
   06/06/2022            35 NOTICE OF MOTION AND MOTION to Dismiss Defendant Tyler Technologies, Inc.
                            filed by Defendant Tyler Technologies, Inc.. Motion set for hearing on 8/8/2022 at 08:30
                            AM before Judge David O. Carter. (Attachments: # 1 Exhibit A) (Timm, Zachary)
                            (Entered: 06/06/2022)
   06/06/2022            36 NOTICE OF MOTION AND MOTION to Dismiss Defendant Rick Rankin filed by
                            Defendant Rick Rankin. Motion set for hearing on 8/8/2022 at 08:30 AM before Judge
                            David O. Carter. (Attachments: # 1 Declaration of Justin A. Anderson in Support of
                            Motion to Dismiss, # 2 Proposed Order) (Anderson, Justin) (Entered: 06/06/2022)
   06/06/2022            37 REQUEST FOR JUDICIAL NOTICE re NOTICE OF MOTION AND MOTION to
                            Dismiss Defendant Rick Rankin 36 filed by Defendant Rick Rankin. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Anderson, Justin) (Entered: 06/06/2022)
   06/06/2022            38 NOTICE OF MOTION AND MOTION to Dismiss Plaintiffs' First Amended Complaint
                            filed by Defendant The State Bar of California. Motion set for hearing on 8/8/2022 at
                            08:30 AM before Judge David O. Carter. (Attachments: # 1 Memorandum in Support of
                            Motion to Dismiss Plaintiffs' First Amended Complaint, # 2 Declaration of T. Demas in
                            Support of Motion to Dismiss Plaintiffs' First Amended Complaint, # 3 Exhibit A to T.
                            Demas Declaration in Support of Motion to Dismiss Plaintiffs' First Amended Complaint,
                            # 4 Exhibit B to T. Demas Declaration in Support of Motion to Dismiss Plaintiffs' First
                            Amended Complaint, # 5 Exhibit C to T. Demas Declaration in Support of Motion to
                            Dismiss Plaintiffs' First Amended Complaint, # 6 Proposed Order) (Anderson, Barrett)
                            (Entered: 06/06/2022)
   06/06/2022            39 REQUEST FOR JUDICIAL NOTICE re NOTICE OF MOTION AND MOTION to
                            Dismiss Plaintiffs' First Amended Complaint 38 filed by Defendant The State Bar of
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?164214714284888-L_1_0-1                                                 9/22
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                                                            ID  #:1956
                                                                #:4675
                                California. (Anderson, Barrett) (Entered: 06/06/2022)
   06/08/2022            40 NOTICE of Designation of Lead Counsel filed by Defendant The State Bar of California.
                            (Demas, Tiana) (Entered: 06/08/2022)
   06/14/2022            41 NOTICE OF MOTION AND MOTION for Order for Protective Order filed by plaintiff
                            Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. Motion set for hearing on
                            7/18/2022 at 08:30 AM before Judge David O. Carter. (Attachments: # 1 Declaration Roe
                            Plaintiffs, # 2 Declaration Lenore Albert) (Albert, Lenore) (Entered: 06/14/2022)
   06/23/2022            42 NOTICE OF MOTION AND MOTION to Disqualify Counsel WAGSTAFFE, VON
                            LOEWENFELDT, BUSCH & RADWICK LLP filed by plaintiff Jane Roe 1, John Roe 1,
                            Jane Roe 2, John Roe 2, Jane Roe 3. Motion set for hearing on 7/25/2022 at 08:30 AM
                            before Judge David O. Carter. (Albert, Lenore) (Entered: 06/23/2022)
   06/23/2022            43 NOTICE OF ERRATA filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe
                            2, Jane Roe 3. correcting NOTICE OF MOTION AND MOTION to Disqualify Counsel
                            WAGSTAFFE, VON LOEWENFELDT, BUSCH & RADWICK LLP 42 (Albert, Lenore)
                            (Entered: 06/23/2022)
   06/24/2022            44 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE:
                            NOTICE OF MOTION AND MOTION to Disqualify Counsel 42 . The following error(s)
                            was/were found: Proposed Document was not submitted as separate attachment. In
                            response to this notice, the Court may: (1) order an amended or correct document to be
                            filed; (2) order the document stricken; or (3) take other action as the Court deems
                            appropriate. You need not take any action in response to this notice unless and until the
                            Court directs you to do so. (twdb) (Entered: 06/24/2022)
   06/27/2022            45 ORDER SETTING SCHEDULING CONFERENCE by Judge David O. Carter.
                            Scheduling Conference set for 8/8/2022 at 08:30 AM before Judge David O. Carter. (kdu)
                            (Entered: 06/27/2022)
   06/27/2022            46 OPPOSITION to NOTICE OF MOTION AND MOTION for Order for Protective Order
                            41 filed by Defendants Rick Rankin, The State Bar of California, Tyler Technologies,
                            Inc.. (Attachments: # 1 Declaration of Tiana Demas in Support of Defendants' Joint
                            Opposition to Plaintiffs' Motion for Protective Order, # 2 Exhibit A to Declaration of
                            Tiana Demas in Support of Defendants' Joint Opposition to Plaintiffs' Motion for
                            Protective Order, # 3 Exhibit B to Declaration of Tiana Demas in Support of Defendants'
                            Joint Opposition to Plaintiffs' Motion for Protective Order, # 4 Exhibit C to Declaration of
                            Tiana Demas in Support of Defendants' Joint Opposition to Plaintiffs' Motion for
                            Protective Order)(Demas, Tiana) (Entered: 06/27/2022)
   06/28/2022            47 ORDER OF THE CHIEF JUDGE (#22-151) approved by Judge Philip S. Gutierrez.
                            Pursuant to the recommended procedure adopted by the Court for the CREATION OF
                            CALENDAR of Judge Sykes, Sunshine Suzanne, this case is transferred from Judge
                            David O. Carter to the calendar of Judge Sunshine Suzanne Sykes for all further
                            proceedings. The case number will now reflect the initials of the transferee Judge 8:22-
                            cv-00983 SSS(DFMx). (rn) (Entered: 06/29/2022)
   06/29/2022            48 REASSIGNMENT ORDER by Judge Sunshine Suzanne Sykes: Please refer to Order for
                            complete details., (iva) (Entered: 06/29/2022)
   06/29/2022            49 NOTICE of Appearance filed by attorney Suzanne Grandt on behalf of Defendant The
                            State Bar of California (Attorney Suzanne Grandt added to party The State Bar of
                            California(pty:dft))(Grandt, Suzanne) (Entered: 06/29/2022)
   06/29/2022            50 NOTICE of Appearance filed by attorney Suzanne Grandt on behalf of Defendant The
                            State Bar of California (Grandt, Suzanne) (Entered: 06/29/2022)

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                                                        ID #:4676
                                                           #:1957
   07/01/2022            51 NOTICE OF MOTION re NOTICE OF MOTION AND MOTION to Dismiss Plaintiffs'
                            First Amended Complaint 38 (Re-Notice) filed by Defendant The State Bar of California.
                            Motion set for hearing on 9/16/2022 at 02:00 PM before Judge Sunshine Suzanne Sykes.
                            (Demas, Tiana) (Entered: 07/01/2022)
   07/05/2022            52 NOTICE OF MOTION re NOTICE OF MOTION AND MOTION to Dismiss Defendant
                            Tyler Technologies, Inc. 35 (Re-Notice) filed by Defendant Tyler Technologies, Inc..
                            Motion set for hearing on 9/16/2022 at 02:00 PM before Judge Sunshine Suzanne Sykes.
                            (Timm, Zachary) (Entered: 07/05/2022)
   07/06/2022            53 NOTICE OF MOTION re NOTICE OF MOTION AND MOTION to Dismiss Defendant
                            Rick Rankin 36 (Re-Notice) filed by Defendant Rick Rankin. Motion set for hearing on
                            9/16/2022 at 02:00 PM before Judge Sunshine Suzanne Sykes. (Anderson, Justin)
                            (Entered: 07/06/2022)
   07/06/2022            54 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Dismiss
                            Defendant Rick Rankin 36 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John
                            Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 07/06/2022)
   07/06/2022            55 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Dismiss
                            Defendant Tyler Technologies, Inc. 35 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane
                            Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 07/06/2022)
   07/06/2022            56 MEMORANDUM in Opposition to NOTICE OF MOTION AND MOTION to Dismiss
                            Plaintiffs' First Amended Complaint 38 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane
                            Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 07/06/2022)
   07/06/2022            57 REQUEST FOR JUDICIAL NOTICE re NOTICE OF MOTION AND MOTION to
                            Dismiss Defendant Tyler Technologies, Inc. 35 , NOTICE OF MOTION AND MOTION
                            to Dismiss Plaintiffs' First Amended Complaint 38 , NOTICE OF MOTION AND
                            MOTION to Dismiss Defendant Rick Rankin 36 filed by Plaintiffs Jane Roe 1, John Roe
                            1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 07/06/2022)
   07/07/2022            58 Notice Resetting Hearing on Plaintiffs' Motion for a Protective Order filed by plaintiff
                            Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered:
                            07/07/2022)
   07/07/2022            59 Notice Resetting Hearing to Disqualify Defense Counsel filed by plaintiff Jane Roe 1,
                            John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 07/07/2022)
   07/07/2022            60 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Documents RE: Notice
                            (Other) 59 , Notice (Other) 58 . The following error(s) was/were found: Incorrect event
                            selected. Correct event to be used is: Civil Events Motions and Related Filings
                            Responses/Replies/Other Motion Related Documents - select - Notice of Motion. In
                            response to this notice, the Court may: (1) order an amended or correct document to be
                            filed; (2) order the document stricken; or (3) take other action as the Court deems
                            appropriate. You need not take any action in response to this notice unless and until the
                            Court directs you to do so. (shb) (Entered: 07/07/2022)
   07/14/2022            61 STATEMENT Joint Case Management Statement filed by Defendant The State Bar of
                            California Joint Case Management Statement re: Order 48 . (Demas, Tiana) (Entered:
                            07/14/2022)
   07/15/2022            62 CONSENT TO PROCEED before Magistrate Judge, in accordance with Title 28 Section
                            636(c) and F.R.CIV.P 73(b), filed by plaintiff Jane Roe 1, John Roe 1, Jane Roe 2, John
                            Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 07/15/2022)


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   07/19/2022            63 NOTICE OF MOTION re NOTICE OF MOTION AND MOTION to Disqualify Counsel
                            WAGSTAFFE, VON LOEWENFELDT, BUSCH & RADWICK LLP 42 filed by
                            Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. Motion set for
                            hearing on 9/16/2022 at 02:00 PM before Judge Sunshine Suzanne Sykes. (Albert,
                            Lenore) (Entered: 07/19/2022)
   07/19/2022            64 NOTICE OF MOTION re NOTICE OF MOTION AND MOTION for Order for
                            Protective Order 41 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2,
                            Jane Roe 3. Motion set for hearing on 9/16/2022 at 02:00 PM before Judge Sunshine
                            Suzanne Sykes. (Albert, Lenore) (Entered: 07/19/2022)
   07/19/2022            65 CONSENT TO PROCEED before United States Magistrate Judge by all parties pursuant
                            to GO 18-11 is approved by District Judge Sunshine Suzanne Sykes and Magistrate Judge
                            Douglas F. McCormick. This case is hereby reassigned to Magistrate Judge Douglas F.
                            McCormick for all further proceedings. Case number will now read 8:22-cv-00983 DFM.
                            (rn) (Entered: 07/19/2022)
   07/20/2022            66 SCHEDULING NOTICE by Magistrate Judge Douglas F. McCormick. The Court sets a
                            Telephonic Status Conference for 8/4/2022 at 10:00 AM before Magistrate Judge Douglas
                            F. McCormick. The Courtroom Deputy Clerk will circulate call in information via
                            separate email. THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY.
                            (nbo) TEXT ONLY ENTRY (Entered: 07/20/2022)
   07/25/2022            67 REPLY In Support of NOTICE OF MOTION AND MOTION to Dismiss Defendant
                            Tyler Technologies, Inc. 35 filed by Defendant Tyler Technologies, Inc.. (Timm, Zachary)
                            (Entered: 07/25/2022)
   07/25/2022            68 REPLY NOTICE OF MOTION AND MOTION to Dismiss Plaintiffs' First Amended
                            Complaint 38 filed by Defendant The State Bar of California. (Demas, Tiana) (Entered:
                            07/25/2022)
   07/25/2022            69 REPLY IN SUPPORT OF NOTICE OF MOTION AND MOTION to Dismiss Defendant
                            Rick Rankin 36 filed by Defendant Rick Rankin. (Gold, Michael) (Entered: 07/25/2022)
   07/29/2022            70 [PLAINTIFFS' SUPPLEMENTAL REQUEST FOR JUDICIAL NOTICE IN
                            OPPOSITION TO THE MOTIONS TO DISMISS] REQUEST FOR JUDICIAL NOTICE
                            re NOTICE OF MOTION AND MOTION to Dismiss Defendant Tyler Technologies, Inc.
                            35 , NOTICE OF MOTION AND MOTION to Dismiss Plaintiffs' First Amended
                            Complaint 38 , NOTICE OF MOTION AND MOTION to Dismiss Defendant Rick
                            Rankin 36 (Supplemental) filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John
                            Roe 2, Jane Roe 3. (Albert, Lenore) Modified on 7/29/2022 (es). (Entered: 07/29/2022)
   08/02/2022            71 Opposition Opposition re: NOTICE OF MOTION AND MOTION to Disqualify Counsel
                            WAGSTAFFE, VON LOEWENFELDT, BUSCH & RADWICK LLP 42 filed by
                            Defendant The State Bar of California. (Attachments: # 1 Declaration Declaration of
                            Robert G. Retana in Support of The State Bar of California's Opposition to Motion to
                            Disqualify Wagstaffe, von Loewenfeldt, Bush and Readwick LLP as Representatives of
                            the State Bar of California)(Grandt, Suzanne) (Entered: 08/02/2022)
   08/04/2022            81 MINUTES OF Telephone Status Conference held before Magistrate Judge Douglas F.
                            McCormick: Case called and counsel make their appearances. Court and counsel confer.
                            Court moves motions hearings from September 16, 2022 at 2:00pm to Thursday,
                            September 15, 2022, at 11:00am. Court also set a Scheduling conference for 9/15/2022, at
                            11:00am. Counsel submit proposed dates to Court by September 1, 2022. Court Reporter:
                            CS 8/04/2022. (et) (Entered: 08/09/2022)
   08/05/2022            72 NOTICE OF MOTION AND MOTION for Preliminary Injunction re Continued
                            Violation of the Information Practices Act and Plaintiffs Constitutional Rights filed by
https://ecf.cacd.uscourts.gov/cgi-bin/DktRpt.pl?164214714284888-L_1_0-1                                                12/22
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                                                            ID  #:1959
                                                                #:4678
                                plaintiff Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. Motion set for
                                hearing on 9/15/2022 at 02:00 PM before Magistrate Judge Douglas F. McCormick.
                                (Albert, Lenore) (Entered: 08/05/2022)
   08/05/2022            73 REQUEST FOR JUDICIAL NOTICE re NOTICE OF MOTION AND MOTION for
                            Preliminary Injunction re Continued Violation of the Information Practices Act and
                            Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 08/05/2022)
   08/05/2022            74 DECLARATION of Lenore Albert, Esq. in support of NOTICE OF MOTION AND
                            MOTION for Preliminary Injunction re Continued Violation of the Information Practices
                            Act and Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1,
                            Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 08/05/2022)
   08/05/2022            75 DECLARATION of M.A. in support of NOTICE OF MOTION AND MOTION for
                            Preliminary Injunction re Continued Violation of the Information Practices Act and
                            Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 08/05/2022)
   08/05/2022            76 DECLARATION of N.Z. in support of NOTICE OF MOTION AND MOTION for
                            Preliminary Injunction re Continued Violation of the Information Practices Act and
                            Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 08/05/2022)
   08/05/2022            77 DECLARATION of John Roe 2 in support of NOTICE OF MOTION AND MOTION for
                            Preliminary Injunction re Continued Violation of the Information Practices Act and
                            Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 08/05/2022)
   08/06/2022            78 DECLARATION of Kevan Schwitzer in support of NOTICE OF MOTION AND
                            MOTION for Preliminary Injunction re Continued Violation of the Information Practices
                            Act and Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1,
                            Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 08/06/2022)
   08/08/2022            79 DECLARATION of R.S. in support of NOTICE OF MOTION AND MOTION for
                            Preliminary Injunction re Continued Violation of the Information Practices Act and
                            Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 08/08/2022)
   08/08/2022            80 NOTICE WITHDRAWING PARA. 1, 3, AND 10 TO THE DECLARATION OF R.S. IN
                            SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION re NOTICE OF
                            MOTION AND MOTION for Preliminary Injunction re Continued Violation of the
                            Information Practices Act and Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane
                            Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered:
                            08/08/2022)
   08/11/2022            82 NOTICE OF MOTION re NOTICE OF MOTION AND MOTION for Preliminary
                            Injunction re Continued Violation of the Information Practices Act and Plaintiffs
                            Constitutional Rights 72 Amended filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3. Motion set for hearing on 9/15/2022 at 11:00 AM before
                            Magistrate Judge Douglas F. McCormick. (Albert, Lenore) (Entered: 08/11/2022)
   08/11/2022            83 DECLARATION of Jane Roe 2 in support of NOTICE OF MOTION AND MOTION for
                            Preliminary Injunction re Continued Violation of the Information Practices Act and
                            Plaintiffs Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 08/11/2022)


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                                                            #:1960
   08/18/2022            84 Joint NOTICE OF MOTION AND MOTION to Strike Plaintiffs' Request for Judicial
                            Notice,, 70 , Request for Judicial Notice, 57 filed by Defendant The State Bar of
                            California. Motion set for hearing on 9/15/2022 at 11:00 AM before Magistrate Judge
                            Douglas F. McCormick. (Attachments: # 1 Memorandum of Points and Authorities in
                            Support of Their Joint Motion to Strike and Objection to Plaintiffs' Requests for Judicial
                            Notice, # 2 Proposed Order) (Demas, Tiana) (Entered: 08/18/2022)
   08/25/2022            85 MEMORANDUM in Opposition to Joint NOTICE OF MOTION AND MOTION to
                            Strike Plaintiffs' Request for Judicial Notice,, 70 , Request for Judicial Notice, 57 84 filed
                            by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert,
                            Lenore) (Entered: 08/25/2022)
   08/25/2022            86 OPPOSITION to NOTICE OF MOTION AND MOTION for Preliminary Injunction re
                            Continued Violation of the Information Practices Act and Plaintiffs Constitutional Rights
                            72 filed by Defendant The State Bar of California. (Attachments: # 1 Declaration of T.
                            Demas in Support of Opposition to Preliminary Injunction, # 2 Exhibit A to the
                            Declaration of T. Demas in Support of Opposition to Preliminary Injunction, # 3 Exhibit
                            B to the Declaration of T. Demas in Support of Opposition to Preliminary Injunction, # 4
                            Exhibit C to the Declaration of T. Demas in Support of Opposition to Preliminary
                            Injunction, # 5 Exhibit D to the Declaration of T. Demas in Support of Opposition to
                            Preliminary Injunction, # 6 Exhibit E to the Declaration of T. Demas in Support of
                            Opposition to Preliminary Injunction, # 7 Exhibit F to the Declaration lof T. Demas in
                            Support of Opposition to Preliminary Injunction, # 8 Exhibit G to the Declaration of T.
                            Demas in Support of Opposition to Preliminary Injunction, # 9 Exhibit H to the
                            Declaration of T. Demas in Support of Opposition to Preliminary Injunction, # 10 Exhibit
                            I to the Declaration of T. Demas in Support of Opposition to Preliminary Injunction, # 11
                            Exhibit J to the Declaration of T. Demas in Support of Opposition to Preliminary
                            Injunction)(Demas, Tiana) (Entered: 08/25/2022)
   09/01/2022            87 Notice filed by Defendant Rick Rankin, The State Bar of California, Tyler Technologies,
                            Inc.. re Joint Proposed Case Schedule (Attachments: # 1 Proposed Order re Case
                            Schedule)(Demas, Tiana) (Entered: 09/01/2022)
   09/01/2022            88 REPLY in Support of Joint NOTICE OF MOTION AND MOTION to Strike Plaintiffs'
                            Request for Judicial Notice,, 70 , Request for Judicial Notice, 57 84 filed by Defendant
                            The State Bar of California. (Demas, Tiana) (Entered: 09/01/2022)
   09/01/2022            89 JOINT REPORT Rule 26(f) Discovery Plan By Counsel for Plaintiff Only (not joint) ;
                            estimated length of trial 7 days, filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3.. (Attachments: # 1 Declaration)(Albert, Lenore) (Entered:
                            09/01/2022)
   09/01/2022            90 REPLY in support of motion NOTICE OF MOTION AND MOTION for Preliminary
                            Injunction re Continued Violation of the Information Practices Act and Plaintiffs
                            Constitutional Rights 72 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe
                            2, Jane Roe 3. (Attachments: # 1 Declaration Lenore Albert, Esq., # 2 Declaration Jane
                            Roe 1)(Albert, Lenore) (Entered: 09/01/2022)
   09/07/2022            91 Order Denying Plaintiffs' Motion to Disqualify (Dkt. 42) by Magistrate Judge Douglas F.
                            McCormick: For the following reasons, the Motion is DENIED. Denying 42 MOTION to
                            disqualify Counsel. [See Order for details.] (es) (Entered: 09/07/2022)
   09/07/2022            92 Order Denying Plaintiffs' Motion for Preliminary Injunction (Dkt. 72) by Magistrate
                            Judge Douglas F. McCormick: For the following reasons, the Motion is DENIED.
                            Denying 72 MOTION for Preliminary Injunction. [See Order for details.] (es) (Entered:
                            09/07/2022)

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                                                        ID #:4680
                                                           #:1961
   09/15/2022            93 MINUTES OF Defendant, Tyler Technologies, Inc.'s Motion to Dismiss 35 Defendant,
                            Rick Rankin's Motion to Dismiss 36 ; Defendant, The State Bar of California's Motion to
                            Dismiss First Amended Complaint 38 Plaintiffs' Motion for Order for Protective Order 41
                            Defendants' Joint Motion to Strike Plaintiffs' Requests for Judicial Notice 84 Motion
                            Hearing held before Magistrate Judge Douglas F. McCormick: Case called and counsel
                            make their appearances. Counsel argue motions. Court takes matters under submission.
                            Court Reporter: CS 09/15/2022. (es) (Entered: 09/19/2022)
   09/16/2022            94 Order re Defendants' Motions to Dismiss (Dkts. 35, 36, 38) by Magistrate Judge Douglas
                            F. McCormick: IT IS ORDERED THAT the Sherman Act § 2 claim is dismissed with
                            leave to amend, whereas the § 3 claim is dismissed without leave to amend. IT IS
                            FURTHER ORDERED THAT Plaintiffs shall file an amended complaint within twenty-
                            one (21) days. Plaintiffs are given leave to add additional factual allegations, re-plead the
                            § 2 claim, and add a § 1 claim. Otherwise, Plaintiffs shall not add new causes of action or
                            parties. Defendants may file a Supplemental Motion to Dismiss within fourteen (14) days
                            addressing the Sherman Act claims. Plaintiffs shall file any Supplemental Opposition
                            within fourteen (14) days. And Defendants shall file any Supplemental Reply within
                            seven (7) days. The Clerk of Court will reach out to set a hearing date. When appropriate,
                            the Court will issue further orders regarding supplemental jurisdiction. Denying 35
                            MOTION to Dismiss Defendant The State Bar of California; Denying 36 MOTION to
                            Dismiss Defendant The State Bar of California; Denying with leave to amend 38
                            MOTION to Dismiss. (es) (Entered: 09/19/2022)
   09/19/2022            95 TRANSCRIPT ORDER as to Defendant The State Bar of California for Court Smart
                            (CS). Court will contact Maritza DeJesus at mdejesus@cooley.com with further
                            instructions regarding this order. Transcript preparation will not begin until payment has
                            been satisfied with the transcription company. (Demas, Tiana) (Entered: 09/19/2022)
   09/30/2022            96 NOTICE of Change of address by Tiana A. Demas attorney for Defendant The State Bar
                            of California. Changing attorneys address to 10265 Science Center Drive, San Diego, CA
                            92121. Filed by Defendant The State Bar of California. (Demas, Tiana) (Entered:
                            09/30/2022)
   10/06/2022            97 TRANSCRIPT for proceedings held on 9-15-2022. Court Reporter/Electronic Court
                            Recorder: BABYKIN COURTHOUSE SERVICES, phone number (626)963-0566.
                            Transcript may be viewed at the court public terminal or purchased through the Court
                            Reporter/Electronic Court Recorder before the deadline for Release of Transcript
                            Restriction. After that date it may be obtained through PACER. Notice of Intent to Redact
                            due within 7 days of this date. Redaction Request due 10/27/2022. Redacted Transcript
                            Deadline set for 11/7/2022. Release of Transcript Restriction set for 1/4/2023. (ss)
                            (Entered: 10/06/2022)
   10/06/2022            98 NOTICE OF FILING TRANSCRIPT filed for proceedings 9-15-2022 re Transcript 97
                            THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS ENTRY. (ss) TEXT
                            ONLY ENTRY (Entered: 10/06/2022)
   10/07/2022            99 SECOND AMENDED COMPLAINT against plaintiff Does, Rick Rankin, The State Bar
                            of California, Tyler Technologies, Inc. amending Amended Complaint, Amended
                            Complaint, Complaint - (Discovery), Amended Complaint,, filed by plaintiff Jane Roe 2,
                            Jane Roe 1, John Roe 1, Jane Roe 3, John Roe 2(Albert, Lenore) (Entered: 10/07/2022)
   10/10/2022           100 SECOND AMENDED COMPLAINT against Defendant Does, Rick Rankin, The State
                            Bar of California, Tyler Technologies, Inc. amending Amended Complaint, Amended
                            Complaint, Amended Complaint/Petition, 99 , Complaint - (Discovery), Amended
                            Complaint,, filed by plaintiff Jane Roe 2, Jane Roe 1, John Roe 1, Jane Roe 3, John Roe
                            2(Albert, Lenore) (Entered: 10/10/2022)

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                                                        ID #:4681
                                                           #:1962
   10/10/2022           101 NOTICE OF ERRATA filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe
                            2, Jane Roe 3. correcting Amended Complaint/Petition, 99 Correct Document filed as
                            Docket No. 100 (Albert, Lenore) (Entered: 10/10/2022)
   10/11/2022           102 APPLICATION to file document Doc No 99 under seal filed by Plaintiffs Jane Roe 1,
                            John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3.(Albert, Lenore) (Entered: 10/11/2022)
   10/12/2022           103 NOTICE TO FILER OF DEFICIENCIES in Electronically Filed Document RE:
                            APPLICATION to file document Doc No 99 under seal 102 . The following error(s)
                            was/were found: Proposed document was not submitted or was not submitted as a
                            separate attachment. In response to this notice, the Court may: (1) order an amended or
                            correct document to be filed; (2) order the document stricken; or (3) take other action as
                            the Court deems appropriate. You need not take any action in response to this notice
                            unless and until the Court directs you to do so. (et) (Entered: 10/12/2022)
   10/13/2022           104 RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN FILED
                            DOCUMENT RE: APPLICATION to file document Doc No 99 under seal 102 by
                            Magistrate Judge Douglas F. McCormick. Plaintiff is ordered to lodge a proposed order
                            no later than 10/21/2022. (et) (Entered: 10/13/2022)
   10/13/2022           105 NOTICE OF LODGING filed re Response By Court to Notice of Deficiencies (G-112B) -
                            optional html form, 104 , Deficiency in Electronically Filed Documents (G-112A) -
                            optional html form,, 103 (Attachments: # 1 Proposed Order)(Albert, Lenore) (Entered:
                            10/13/2022)
   10/17/2022           106 ORDER SEALING DOC. NO. 99 by Magistrate Judge Douglas F. McCormick: Granting
                            102 APPLICATION to Seal Document, this Court grants Plaintiffs John Roe 1, Jane Roe
                            1, Jane Roe 2, Jane Roe 3 and John Roe 2 application for an ORDER sealing Document
                            99 "Second Amended Complaint" pursuant to Local Rule 79-5 on the grounds the
                            incorrect draft of the pleading containing work product privilege was erroneously filed.
                            (es) (Entered: 10/17/2022)
   10/18/2022           107 Joint EX PARTE APPLICATION to Extend Time to File Answer to 11/21/2022 re
                            Amended Complaint/Petition, 100 filed by Defendant The State Bar of California.
                            (Attachments: # 1 Memorandum of Points and Authorities in Support of Ex Parte
                            Application to Extend Time to Respond to Second Amended Complaint, # 2 Declaration
                            of B. Anderson in Support of Ex Parte Application to Extend Time to Respond to Second
                            Amended Complaint, # 3 Exhibit A to Declaration of B. Anderson in Support of Ex Parte
                            Application to Extend Time to Respond to Second Amended Complaint, # 4 Exhibit B to
                            Declaration of B. Anderson in Support of Ex Parte Application to Extend Time to
                            Respond to Second Amended Complaint, # 5 Proposed Order for Supplemental Motion to
                            Dismiss the Sherman Antitrust Act Claims in the Second Amended Complaint) (Demas,
                            Tiana) (Entered: 10/18/2022)
   10/20/2022           108 MEMORANDUM in Opposition to Joint EX PARTE APPLICATION to Extend Time to
                            File Answer to 11/21/2022 re Amended Complaint/Petition, 100 107 and Declaration of
                            Lenore Albert filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane
                            Roe 3. (Albert, Lenore) (Entered: 10/20/2022)
   10/21/2022           109 MINUTES (IN CHAMBERS) by Magistrate Judge Douglas F. McCormick Granting 107
                            Defendants' EX PARTE APPLICATION for Extension of Time. (nbo) (Entered:
                            10/21/2022)
   10/21/2022           110 SCHEDULING ORDER by Magistrate Judge Douglas F. McCormick for Defendants'
                            Supplemental Motions to Dismiss the Sherman Antitrust Act Claims in the Second
                            Amended Complaint. (nbo) (Entered: 10/21/2022)


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                                                          #:1963
   11/21/2022           111 STATEMENT in response to Court Orders filed by Defendant Rick Rankin re:
                            Scheduling Order 110 , Order on Motion to Dismiss Party,,,,,,,,,,,,,, 94 . (Anderson, Justin)
                            (Entered: 11/21/2022)
   11/21/2022           112 Supplemental NOTICE OF MOTION AND MOTION to Dismiss Sherman Act Claim in
                            Second Amended Complaint filed by Defendant Tyler Technologies, Inc.. (Attachments: #
                            1 Proposed Order) (Timm, Zachary) (Entered: 11/21/2022)
   11/21/2022           113 Supplemental NOTICE OF MOTION AND MOTION to Dismiss Second Amended
                            Complaint filed by Defendant The State Bar of California. (Attachments: # 1
                            Memorandum of Points and Authorities in Support of Supplemental Motion to Dismiss to
                            Plaintiffs' Second Amended Complaint, # 2 Declaration of T. Demas in Support of
                            Supplemental Motion to Dismiss to Plaintiffs' Second Amended Complaint, # 3 Exhibit A
                            to Declaration of T. Demas in Support of Supplemental Motion to Dismiss to Plaintiffs'
                            Second Amended Complaint, # 4 Exhibit B to Declaration of T. Demas in Support of
                            Supplemental Motion to Dismiss to Plaintiffs' Second Amended Complaint, # 5 Exhibit C
                            to Declaration of T. Demas in Support of Supplemental Motion to Dismiss to Plaintiffs'
                            Second Amended Complaint, # 6 Exhibit D to Declaration of T. Demas in Support of
                            Supplemental Motion to Dismiss to Plaintiffs' Second Amended Complaint, # 7 Exhibit E
                            to Declaration of T. Demas in Support of Supplemental Motion to Dismiss to Plaintiffs'
                            Second Amended Complaint, # 8 Exhibit F to Declaration of T. Demas in Support of
                            Supplemental Motion to Dismiss to Plaintiffs' Second Amended Complaint, # 9 Proposed
                            Order) (Demas, Tiana) (Entered: 11/21/2022)
   11/21/2022           114 REQUEST FOR JUDICIAL NOTICE re Supplemental NOTICE OF MOTION AND
                            MOTION to Dismiss Second Amended Complaint 113 filed by Defendant The State Bar
                            of California. (Demas, Tiana) (Entered: 11/21/2022)
   01/09/2023           115 MEMORANDUM in Opposition to Supplemental NOTICE OF MOTION AND
                            MOTION to Dismiss Second Amended Complaint 113 filed by Plaintiffs Jane Roe 1,
                            John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 01/09/2023)
   01/09/2023           116 MEMORANDUM in Opposition to Supplemental NOTICE OF MOTION AND
                            MOTION to Dismiss Sherman Act Claim in Second Amended Complaint 112 filed by
                            Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore)
                            (Entered: 01/09/2023)
   01/09/2023           117 REQUEST FOR JUDICIAL NOTICE re Supplemental NOTICE OF MOTION AND
                            MOTION to Dismiss Sherman Act Claim in Second Amended Complaint 112 ,
                            Supplemental NOTICE OF MOTION AND MOTION to Dismiss Second Amended
                            Complaint 113 filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane
                            Roe 3. (Albert, Lenore) (Entered: 01/09/2023)
   01/23/2023           118 REPLY in Support of Supplemental NOTICE OF MOTION AND MOTION to Dismiss
                            Second Amended Complaint 113 filed by Defendant The State Bar of California. (Demas,
                            Tiana) (Entered: 01/23/2023)
   01/23/2023           119 REPLY In Support of Supplemental NOTICE OF MOTION AND MOTION to Dismiss
                            Sherman Act Claim in Second Amended Complaint 112 filed by Defendant Tyler
                            Technologies, Inc.. (Timm, Zachary) (Entered: 01/23/2023)
   01/31/2023           120 MINUTE ORDER (IN CHAMBERS) Order Setting Hearing on Supplemental Motions to
                            Dismiss by Magistrate Judge Douglas F. McCormick: re: Supplemental NOTICE OF
                            MOTION AND MOTION to Dismiss Sherman Act Claim in Second Amended Complaint
                            112 , Supplemental NOTICE OF MOTION AND MOTION to Dismiss Second Amended
                            Complaint 113 . The motions are fully briefed. The Court sets the motions for hearing on


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                                February 16, 2023, at 10:00 a.m. [SEE DOCUMENT FOR FURTHER INFORMATION.]
                                (es) (Entered: 01/31/2023)
   02/07/2023           121 Joint STIPULATION for Hearing re Minutes of In Chambers Order/Directive - no
                            proceeding held,, Set/Reset Motion Hearing and R&R Deadlines, 120 filed by Defendant
                            The State Bar of California. (Attachments: # 1 Proposed Order)(Demas, Tiana) (Entered:
                            02/07/2023)
   02/07/2023           122 ORDER REGARDING THE HEARING DATE FOR DEFENDANTS'
                            SUPPLEMENTAL MOTIONS TO DISMISS by Magistrate Judge Douglas F.
                            McCormick, re Stipulation for Hearing 121 , The Court, now ORDERS as follows: The
                            Court resets the hearing on the supplemental motions to dismiss the federal antitrust
                            claims in Plaintiffs Second Amended Complaint, filed by the State Bar and Tyler, (see
                            Dkts. 112, 113), for March 7, 2023, at 10:00 a.m. (es) (Entered: 02/07/2023)
   02/27/2023           123 Notice of Appearance or Withdrawal of Counsel: for attorney Walter Waidelich counsel
                            for Defendant The State Bar of California. Walter Waidelich is no longer counsel of
                            record for the aforementioned party in this case for the reason indicated in the G-123
                            Notice. Filed by Defendant The State Bar of California. (Waidelich, Walter) (Entered:
                            02/27/2023)
   03/07/2023           124 MINUTES OF HEARING ON SUPPLEMENTAL MOTIONS TO DISMISS 112 113
                            Motion Hearing held before Magistrate Judge Douglas F. McCormick: Case called and
                            counsel make their appearances. Counsel argue motions. Court takes matters under
                            submission. Court Reporter: CS 03/07/23. (es) (Entered: 03/07/2023)
   03/08/2023           125 TRANSCRIPT ORDER as to Defendant The State Bar of California for Court Smart
                            (CS). Court will contact Martiza DeJesus at mdejesus@cooley.com with further
                            instructions regarding this order. Transcript preparation will not begin until payment has
                            been satisfied with the transcription company. (Demas, Tiana) (Entered: 03/08/2023)
   03/10/2023           126 REQUEST FOR JUDICIAL NOTICE re Supplemental NOTICE OF MOTION AND
                            MOTION to Dismiss Sherman Act Claim in Second Amended Complaint 112 ,
                            Supplemental NOTICE OF MOTION AND MOTION to Dismiss Second Amended
                            Complaint 113 Post Submission Based On New Evidence filed by Plaintiffs Jane Roe 1,
                            John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 03/10/2023)
   03/17/2023           127 ORDER by Magistrate Judge Douglas F. McCormick: Denying 41 MOTION for Order.
                            Plaintiffs' Motion is DENIED. If the Court denies the pending supplemental motions to
                            dismiss or retains supplemental jurisdiction over the state law claims, Plaintiffs will be
                            required to file an amended complaint reflecting their given names. Until then, Plaintiff
                            need not take affirmative action. (et) (Entered: 03/17/2023)
   03/31/2023           128 TRANSCRIPT for proceedings held on 3/7/2023 10:03 a.m. to 10:52 a.m.. Court
                            Reporter/Electronic Court Recorder: BABYKIN COURTHOUSE SERVICES, phone
                            number (626) 963-0566. Transcript may be viewed at the court public terminal or
                            purchased through the Court Reporter/Electronic Court Recorder before the deadline for
                            Release of Transcript Restriction. After that date it may be obtained through PACER.
                            Notice of Intent to Redact due within 7 days of this date. Redaction Request due
                            4/21/2023. Redacted Transcript Deadline set for 5/1/2023. Release of Transcript
                            Restriction set for 6/29/2023. (apr) (Entered: 03/31/2023)
   03/31/2023           129 NOTICE OF FILING TRANSCRIPT filed for proceedings 3/7/2023 10:03 a.m. to 10:52
                            a.m. re Transcript 128 THERE IS NO PDF DOCUMENT ASSOCIATED WITH THIS
                            ENTRY. (apr) TEXT ONLY ENTRY (Entered: 03/31/2023)
   04/03/2023           130 ORDER re: Defendants' Supplemental Motions to Dismiss (Dkts. 112, 113) by Magistrate
                            Judge Douglas F. McCormick: Defendants' Supplemental Motions to Dismiss are
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                                GRANTED. Plaintiffs' antitrust claims are DISMISSED with prejudice. A separate order
                                will follow regarding Plaintiffs' remaining claims. [See document for further
                                information.] (es) (Entered: 04/03/2023)
   04/03/2023           131 MINUTE ORDER (IN CHAMBERS) Order Re: Supplemental Jurisdiction by Magistrate
                            Judge Douglas F. McCormick: The Court invites the parties to address this issue by
                            submitting supplemental briefing within ten (10) days. Unless otherwise ordered, the
                            Court will take this issue under submission without a hearing. [See document for further
                            information.] (es) (Entered: 04/03/2023)
   04/13/2023           132 SUPPLEMENT to Minutes of In Chambers Order/Directive - no proceeding held, 131
                            filed by Plaintiffs Jane Roe 1, John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert,
                            Lenore) (Entered: 04/13/2023)
   04/13/2023           133 SUPPLEMENT to Minutes of In Chambers Order/Directive - no proceeding held, 131
                            filed by Defendant The State Bar of California. (Demas, Tiana) (Entered: 04/13/2023)
   05/01/2023           134 MINUTE ORDER (IN CHAMBERS) Order Declining Supplemental Jurisdiction and
                            Closing Case by Magistrate Judge Douglas F. McCormick: Given the Court's decision to
                            decline jurisdiction, it will not make any further rulings on Defendants' motion to dismiss.
                            [SEE DOCUMENT FOR FURTHER INFORMATION.] (Made JS-6. Case Terminated.)
                            (es) (Entered: 05/02/2023)
   05/03/2023           135 MINUTE ORDER (IN CHAMBERS) ORDER REMANDING CASE by Magistrate
                            Judge Douglas F. McCormick: On May 1, 2023, the Court exercised its discretion to
                            decline supplemental jurisdiction over the state-law claims and closed this case. See Dkt.
                            134. Plaintiffs have informed the Court that the state court suspended the case after
                            removal and thus wish for an order of remand rather than dismissal. The dismissal order
                            is VACATED. The Clerk of Court is directed to REMAND this case to Orange County
                            Superior Court and CLOSE this case. (es) (Entered: 05/04/2023)
   05/04/2023           136 TRANSMITTAL of documents to Orange County Superior Court. A certified copy of the
                            order of remand and a copy of the docket sheet from this court was sent to Orange County
                            Superior Court. (es) (Entered: 05/04/2023)
   05/31/2023           137 Receipt of acknowledgment letter from Orange County Superior Court, Santa Ana, CA,
                            92701. Case No. 30-2022-01250695-CU-AT-CXC. (bm) (Entered: 05/31/2023)
   03/20/2024           138 First EX PARTE APPLICATION to Vacate Order to Remand Case to State Court,, 135 ,
                            Minutes of In Chambers Order/Directive - no proceeding held, 131 , Minutes of In
                            Chambers Order/Directive - no proceeding held,, Terminated Case, 134 , Order on
                            Motion to Dismiss,,, 130 , EX PARTE APPLICATION to Set Aside Order re: Order to
                            Remand Case to State Court,, 135 , Order on Motion to Dismiss,,, 130 filed by plaintiff
                            John Roe 1. (Attachments: # 1 Declaration of Chad Pratt, # 2 Declaration of John Roe 1,
                            # 3 Declaration of NZ 1, # 4 Declaration of NZ 2, # 5 Declaration of DE, # 6 Declaration
                            KC, # 7 Declaration of Lenore Albert, # 8 Exhibit 1, # 9 Exhibit 2, # 10 Exhibit 3, # 11
                            Proposed Order) (Albert, Lenore) (Entered: 03/20/2024)
   03/20/2024           139 REQUEST FOR JUDICIAL NOTICE re First EX PARTE APPLICATION to Vacate
                            Order to Remand Case to State Court,, 135 , Minutes of In Chambers Order/Directive -
                            no proceeding held, 131 , Minutes of In Chambers Order/Directive - no proceeding held,,
                            Terminated Case, 134 , Order on Mo EX PARTE APPLICATION to Set Aside Order re:
                            Order to Remand Case to State Court,, 135 , Order on Motion to Dismiss,,, 130 138 filed
                            by Plaintiff John Roe 1. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                            Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9)(Albert,
                            Lenore) (Entered: 03/20/2024)


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   03/20/2024           140 NOTICE OF ERRATA filed by Plaintiff John Roe 1. correcting First EX PARTE
                            APPLICATION to Vacate Order to Remand Case to State Court,, 135 , Minutes of In
                            Chambers Order/Directive - no proceeding held, 131 , Minutes of In Chambers
                            Order/Directive - no proceeding held,, Terminated Case, 134 , Order on Mo EX PARTE
                            APPLICATION to Set Aside Order re: Order to Remand Case to State Court,, 135 , Order
                            on Motion to Dismiss,,, 130 138 (Albert, Lenore) (Entered: 03/20/2024)
   03/21/2024           141 Opposition Opposition to re: First EX PARTE APPLICATION to Vacate Order to
                            Remand Case to State Court,, 135 , Minutes of In Chambers Order/Directive - no
                            proceeding held, 131 , Minutes of In Chambers Order/Directive - no proceeding held,,
                            Terminated Case, 134 , Order on Mo EX PARTE APPLICATION to Set Aside Order re:
                            Order to Remand Case to State Court,, 135 , Order on Motion to Dismiss,,, 130 138 filed
                            by Defendant The State Bar of California. (Attorney David Ming Liu added to party The
                            State Bar of California(pty:dft))(Liu, David) (Entered: 03/21/2024)
   03/21/2024           142 NOTICE OF ERRATA filed by Plaintiff John Roe 1. correcting Errata, 140 , First EX
                            PARTE APPLICATION to Vacate Order to Remand Case to State Court,, 135 , Minutes
                            of In Chambers Order/Directive - no proceeding held, 131 , Minutes of In Chambers
                            Order/Directive - no proceeding held,, Terminated Case, 134 , Order on Mo EX PARTE
                            APPLICATION to Set Aside Order re: Order to Remand Case to State Court,, 135 , Order
                            on Motion to Dismiss,,, 130 138 , Objection/Opposition (Motion related),, 141 (Albert,
                            Lenore) (Entered: 03/21/2024)
   03/21/2024           143 MINUTES (IN CHAMBERS) Order Denying Ex Parte Application (Dkt. 138) by
                            Magistrate Judge Douglas F. McCormick: Before the Court is Plaintiffs' Ex Parte
                            Application to vacate the order of remand and reopen this case under the Federal Rules of
                            Civil Procedure and the Court's inherent authority. See Dkt. 138 . No opposition has yet
                            been filed, and none is needed. For the following reasons, the Court DENIES Plaintiffs'
                            request. SEE DOCUMENT FOR FURTHER INFORMATION. (es) (Entered:
                            03/21/2024)
   04/02/2024           144 [PLAINTIFFS' MOTION FOR RELIEF UNDER FED. R. CIV. PROC. RULE 60 filed
                            as] NOTICE OF MOTION AND MOTION to Vacate Order on Motion for Order, 127 ,
                            Order to Remand Case to State Court,, 135 , Order on Motion to Vacate,, Order on
                            Motion to Set Aside Order, 143 , Minutes of In Chambers Order/Directive - no
                            proceeding held,, Terminated Case, 134 , Order on Motion to Dismiss,,, 130 , NOTICE
                            OF MOTION AND MOTION to Reopen Case filed by plaintiff John Roe 1, Jane Roe 2,
                            John Roe 2. Motion set for hearing on 5/2/2024 at 10:00 AM before Magistrate Judge
                            Douglas F. McCormick. (Attachments: # 1 Declaration John Roe 1, # 2 Declaration NZ, #
                            3 Declaration Chad Pratt, # 4 Declaration DE, # 5 Declaration KC, # 6 Declaration
                            Theresa Marasco) (Albert, Lenore) Modified on 4/3/2024 (es). (Entered: 04/02/2024)
   04/02/2024           145 DECLARATION of Lenore Albert in support of NOTICE OF MOTION AND MOTION
                            to Vacate Order on Motion for Order, 127 , Order to Remand Case to State Court,, 135 ,
                            Order on Motion to Vacate,, Order on Motion to Set Aside Order, 143 , Minutes of In
                            Chambers Order/Directive - no proceeding hel NOTICE OF MOTION AND MOTION to
                            Reopen Case 144 filed by Plaintiffs John Roe 1, Jane Roe 2, John Roe 2. (Attachments: #
                            1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7
                            Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, #
                            13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18
                            Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21)(Albert, Lenore) (Entered:
                            04/02/2024)
   04/02/2024           146 DECLARATION of Larry Tran in support of NOTICE OF MOTION AND MOTION to
                            Vacate Order on Motion for Order, 127 , Order to Remand Case to State Court,, 135 ,
                            Order on Motion to Vacate,, Order on Motion to Set Aside Order, 143 , Minutes of In
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                                Chambers Order/Directive - no proceeding hel NOTICE OF MOTION AND MOTION to
                                Reopen Case 144 filed by Plaintiffs John Roe 1, Jane Roe 2, John Roe 2. (Albert, Lenore)
                                (Entered: 04/02/2024)
   04/02/2024           147 REQUEST FOR JUDICIAL NOTICE re NOTICE OF MOTION AND MOTION to
                            Vacate Order on Motion for Order, 127 , Order to Remand Case to State Court,, 135 ,
                            Order on Motion to Vacate,, Order on Motion to Set Aside Order, 143 , Minutes of In
                            Chambers Order/Directive - no proceeding hel NOTICE OF MOTION AND MOTION to
                            Reopen Case 144 filed by Plaintiffs John Roe 1, Jane Roe 2, John Roe 2. (Attachments: #
                            1 Proposed Order)(Albert, Lenore) (Entered: 04/02/2024)
   04/08/2024           148 EX PARTE APPLICATION to Shorten Time for Hearing on re NOTICE OF MOTION
                            AND MOTION to Vacate Order on Motion for Order, 127 , Order to Remand Case to
                            State Court,, 135 , Order on Motion to Vacate,, Order on Motion to Set Aside Order, 143 ,
                            Minutes of In Chambers Order/Directive - no proceeding hel NOTICE OF MOTION
                            AND MOTION to Reopen Case 144 to 04/30/2024 filed by plaintiff John Roe 1.
                            (Attachments: # 1 Declaration, # 2 Proposed Order) (Albert, Lenore) (Entered:
                            04/08/2024)
   04/08/2024           149 EX PARTE APPLICATION to Continue Hearing Re: NOTICE OF MOTION AND
                            MOTION to Vacate Order on Motion for Order, 127 , Order to Remand Case to State
                            Court,, 135 , Order on Motion to Vacate,, Order on Motion to Set Aside Order, 143 ,
                            Minutes of In Chambers Order/Directive - no proceeding hel NOTICE OF MOTION
                            AND MOTION to Reopen Case 144 filed by Defendant Tyler Technologies, Inc..
                            (Attachments: # 1 Declaration Justin A. Anderson, # 2 Exhibit 1, # 3 Exhibit 2, # 4
                            Proposed Order) (Timm, Zachary) (Entered: 04/08/2024)
   04/09/2024           150 MEMORANDUM in Opposition to EX PARTE APPLICATION to Continue Hearing Re:
                            NOTICE OF MOTION AND MOTION to Vacate Order on Motion for Order, 127 , Order
                            to Remand Case to State Court,, 135 , Order on Motion to Vacate,, Order on Motion to
                            Set Aside Order, 143 , Minutes 149 filed by Plaintiffs John Roe 1, Jane Roe 2, John Roe
                            2, Chad T. Pratt, NZ Roe. (Attachments: # 1 Declaration)(Attorney Lenore L Albert added
                            to party Chad T. Pratt(pty:pla), Attorney Lenore L Albert added to party NZ Roe(pty:pla))
                            (Albert, Lenore) (Entered: 04/09/2024)
   04/09/2024           151 OPPOSITION re: EX PARTE APPLICATION to Shorten Time for Hearing on re
                            NOTICE OF MOTION AND MOTION to Vacate Order on Motion for Order, 127 , Order
                            to Remand Case to State Court,, 135 , Order on Motion to Vacate,, Order on Motion to
                            Set Aside Order, 143 , 148 filed by Defendant The State Bar of California. (Liu, David)
                            (Entered: 04/09/2024)
   04/10/2024           152 MINUTES (IN CHAMBERS) Order Re: Ex Parte Application 148 149 by Magistrate
                            Judge Douglas F. McCormick. Plaintiffs' Application is thus DENIED. Accordingly, the
                            Court finds it in the interest of justice to continue the hearing and briefing schedule and
                            GRANTS Defendants' Application. (SEE DOCUMENT FOR FURTHER DETAILS.)
                            (rolm) (Entered: 04/10/2024)
   04/10/2024           153 ORDER GRANTING DEFENDANTS' EX PARTE APPLICATION TO CONTINUE
                            HEARING AND BRIEFING SCHEDULE ON PLAINTIFFS' MOTION FOR RELIEF
                            UNDER FED. R. CIV. PROC. RULE 60 by Magistrate Judge Douglas F. McCormick. IT
                            IS HEREBY ORDERED THAT: The hearing on Plaintiffs' Motion (DE 144) is taken off-
                            calendar, to be rescheduled for a time after Chief Judge Philip S. Gutierrez has entered a
                            final order on the Order to Show Cause as to why Ms. Lenore Albert- the individual who
                            filed Plaintiffs' Motion- should not be suspended from the practice of law in the Central
                            District pursuant to Local Rule 83-3.2. (rolm) (Entered: 04/10/2024)


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                                                        ID #:4687
                                                           #:1968
   05/07/2024           154 MOTION filed by Plaintiff Chad T. Pratt, NZ Roe, Jane Roe 1, John Roe 1, Jane Roe 2,
                            John Roe 2, Jane Roe 3. (es) (Entered: 05/07/2024)
   05/09/2024           155 MINUTES (IN CHAMBERS) by Magistrate Judge Douglas F. McCormick: The Court
                            has no authority to rule on Plaintiff's motion. Accordingly, the motion is DENIED 154 .
                            (et) (Entered: 05/09/2024)
   07/08/2024           156 NOTICE of Decision: Disbarment filed by plaintiff Chad T. Pratt, NZ Roe, Jane Roe 1,
                            John Roe 1, Jane Roe 2, John Roe 2, Jane Roe 3. (Albert, Lenore) (Entered: 07/08/2024)
   07/09/2024           157 Notice of Electronic Filing re Notice of Decision by other Court 156 e-mailed to
                            david.liu@fmglaw.com bounced due to David Liu is no longer with Freeman Mathis &
                            Gary. The primary e-mail address associated with the attorney record has been deleted.
                            Pursuant to Local Rules it is the attorneys obligation to maintain all personal contact
                            information including e-mail address in the CM/ECF system. THERE IS NO PDF
                            DOCUMENT ASSOCIATED WITH THIS ENTRY. (jp) TEXT ONLY ENTRY (Entered:
                            07/09/2024)
   07/11/2024           158 Notice of Electronic Filing re Notice of Decision by other Court 156 e-mailed to
                            robert.retana@calbar.ca.gov bounced due to no longer work at the State Bar. The primary
                            e-mail address associated with the attorney record has been deleted. Pursuant to Local
                            Rules it is the attorneys obligation to maintain all personal contact information including
                            e-mail address in the CM/ECF system. THERE IS NO PDF DOCUMENT ASSOCIATED
                            WITH THIS ENTRY. (rolm) TEXT ONLY ENTRY (Entered: 07/11/2024)



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        Facsimile:    (415) 538-2517
   12
        Attorneys for Defendant
   13   THE STATE BAR OF CALIFORNIA
   14

   15                      SUPERIOR COURT FOR THE STATE OF CALIFORNIA
   16                                          COUNTY OF ORANGE
   17

   18    JOHN ROE 1, an individual; JOHN ROE 3;               Case No. 30-2022-01250695-CU-AT-CXC
         JANE ROE 2 an individual; JANE ROE 3, an             Assigned to Hon. Randall J. Sherman
   19    individual, JOHN ROE 2, on behalf of                 Dept. CX-105
         themselves and all others similarly situated,
   20                                                         NOTICE OF RULING RE:
                                 Plaintiffs,                  DEMURRERS AND STATUS
   21                                                         CONFERENCE
                    v.
   22
                                                              Complaint filed:       March 18, 2022
          STATE BAR OF CALIFORNIA; TYLER
   23     TECHNOLOGIES, INC.; RICK RANKIN;
          and DOES 4 through 10, inclusive,                   Hearing Date: June 28, 2024
   24                                                         Hearing Time: 10:00 A. M.
                                 Defendants.                  Dept: CX-105
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                           NOTICE OF RULING RE DEMURRERS AND STATUS CONFERENCE
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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

    2            PLEASE TAKE NOTICE THAT on June 28, 2024, at 10:00 a.m., Defendants’

    3   unopposed demurrers to Plaintiffs’ Fourth Amended Complaint, as well as a Status Conference,

    4   came on regularly for hearing before the Honorable Randall J. Sherman, in Department CX105

    5   of the Superior Court of the State of California, County of Orange.

    6            Christopher Weber appeared on behalf of Defendant The State Bar of California;

    7   Timothy Zach appeared on behalf of Defendant Tyler Defendant Technologies, Inc.; and

    8   Michael Gold appeared on behalf of Defendant Rick Rankin. Plaintiff Chad Pratt appeared on

    9   behalf of himself in pro per.

   10            The Court adopted its tentative ruling, attached hereto as Exhibit A, as the Court’s final

   11   ruling, continuing both the hearing on Defendants’ Demurrers as well as the Status Conference

   12   to October 18, 2024, at 10:00 a.m.

   13            Defendant The State Bar of California was ordered to give notice.

   14
        Dated: June 28, 2024                                 FREEMAN MATHIS & GARY, LLP
   15

   16
                                                       By:
   17                                                        DAVID M. LIU
                                                             CHRISTOPHER J. WEBER
   18                                                        Attorneys for Defendant
                                                             STATE BAR OF CALIFORNIA
   19
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  10   Roe 1 vs. The State   The tentative ruling is to continue the hearing on
       Bar of California     defendants’ unopposed Demurrers to Fourth Amended
       2022-01250695         Complaint, as well as the Status Conference set for today,
                             to October 18, 2024 at 10:00 a.m. Plaintiffs’ attorney has
                             been suspended from the practice of law, and so the court
                             is willing to grant plaintiffs one continuance to afford them
                             sufficient time to obtain new counsel. If plaintiffs fail to
                             retain new counsel, their class claims are subject to being
                             stricken.

                             Defendant The State Bar of California is ordered to give
                             notice of the ruling.

  11   Valbuena vs. AEF      Defendant Derrick Thames’ Motion for Judgment on the
       Electric, Inc.        Pleadings is deemed a Motion to Strike and is granted
       2018-01035004         without leave to amend, but without prejudice to plaintiffs
                             seeking to add Derrick Thames as a judgment debtor in
                             this case after trial as an alleged alter ego of defendant DS
                             Thames International, Inc. if plaintiffs prevail against that
                             corporate defendant at trial.

                             The Case Management Order which plaintiffs submitted to
                             this court was signed by Judge Nakamura and entered on
                             April 16, 2021. The CMO provided in ¶C that the deadline
                             to add new defendants and cross-defendants was June 15,
                             2021. Plaintiffs did not add defendant Derrick Thames to
                             this case until August 8, 2023, through their Second
                             Amended Complaint. This addition violated the CMO. The
                             Motion for Judgment on the Pleadings is not the proper
                             challenge here, because the pleading is not alleged to fail
                             to state a cause of action. Rather, a motion to strike is the
                             proper challenge here because defendant Thames alleges
                             that the court, consistent with CCP §436(b), should strike
                             part of the pleading because the naming of Thames as a
                             defendant after the CMO deadline was not in conformity
                             with a court order.

                             Plaintiffs argue that procedural law allows them to seek to
                             hold Thames liable as an individual alter ego after
                             judgment is entered against the corporation. But that is
                             not what plaintiffs have done. They seek to add Thames
                             now, before the trial, in violation of the CMO. Thus, this
                             ruling is without prejudice to plaintiffs seeking to add
                             Derrick Thames as a judgment debtor in this case as an
                             alleged alter ego of defendant DS Thames International,
                             Inc. if they prevail against that defendant at trial.

                             Defendant Derrick Thames is ordered to give notice of the
                             ruling.
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    1                                          PROOF OF SERVICE

    2          I declare that I am employed in the County of Los Angeles, State of California. I am over
        the age of eighteen years at the time of service and not a party to the within cause. My business
    3   address is 550 South Hope Street, 22nd Floor, Los Angeles, California 90071-2627.
    4           On June 28, 2024, I served copies of the attached document(s) entitled: NOTICE OF
        RULING RE DEMURRERS AND STATUS CONFERENCE, on the interested parties in this
    5   action addressed as follows, and in the manner as set forth below:
    6
                    BY U.S. MAIL. I placed such envelope, addressed as above by first-class mail,
                     postage prepaid, for collection and mailing at my business address following our
    7                ordinary business practices. I am readily familiar with our ordinary business course
    8                of collection and processing of correspondence for mailing with the U.S. Postal
                     Service. In the ordinary course of business on the same day that correspondence is
    9                placed for collection and mailing, it is deposited with the U.S. Postal Service for
                     delivery to the addressee as to Lenore Albert, Esq. (only)
   10

   11               BY ELECTRONIC MAIL. I caused a copy of the document (s) to be sent from
                     e-mail address sheila.benton@fmglaw.com to the persons at the e-mail address
   12                listed on the attached service list. I did not receive, within a reasonable time after
                     the transmission, any electronic message or other indication that the transmission
   13                was unsuccessful.

   14
                   STATE. I declare under penalty of perjury under the laws of the State of California
                    that the above is true and correct.
   15
                 Executed on June 28, 2024 at Los Angeles, California.
   16

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   18                                                                           Sheila Benton
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    1                                           SERVICE LIST

    2                        John Roe 1, et al. v. The State Bar of California, et al.
                                  Case No.: 30-2022-01250695-CU-AT-CXC
    3

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    6

    7     [BY U.S. MAIL ONLY]

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          Justin Anderson, Esq.
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   10     1900 Avenue of the Stars, 7th Floor           janderson@jmbm.com
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          Dallas, TX 75201                              beth.petronio@klgates.com
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        Deputy General Counsel
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   13

   14
                       SUPERIOR COURT FOR THE STATE OF CALIFORNIA
   15
                                              COUNTY OF ORANGE
   16

   17
         JOHN ROE 1, an individual; JOHN ROE 3;               Case No. 30-2022-01250695-CU-AT-CXC
   18    JANE ROE 2 an individual; JANE ROE 3, an             Assigned to Hon. Randall J. Sherman
         individual, JOHN ROE 2, on behalf of                 Dept. CX-105
   19    themselves and all others similarly situated,
                                                              NOTICE OF RULING RE:
   20                           Plaintiffs,                   DEMURRERS AND STATUS
                                                              CONFERENCE
   21            v.
                                                              Complaint filed:      March 18, 2022
   22    STATE BAR OF CALIFORNIA; TYLER
         TECHNOLOGIES, INC.; RICK RANKIN;
   23    and DOES 4 through 10, inclusive,                    Hearing Date: October 18, 2024
                                                              Hearing Time: 10:00 A. M.
   24                           Defendants.                   Dept: CX-105

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    1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

    2          PLEASE TAKE NOTICE THAT on October 18, 2024, at 10:00 a.m., Defendants’

    3   unopposed demurrers to Plaintiffs’ Fourth Amended Complaint, as well as a Status Conference,

    4   came on regularly for hearing before the Honorable Randall J. Sherman, in Department CX105

    5   of the Superior Court of the State of California, County of Orange.

    6          Christopher Weber appeared on behalf of Defendant The State Bar of California; Beth

    7   Petrino and Timothy Zach appeared on behalf of Defendant Tyler Defendant Technologies, Inc.;

    8   and Justin Anderson appeared on behalf of Defendant Rick Rankin. Plaintiffs Chad Pratt and

    9   Dan Chimeilweski appeared on behalf of themselves in pro per.
   10          The Court adopted its tentative ruling, attached hereto as Exhibit A, as the Court’s final

   11   ruling, continuing both the hearing on Defendants’ Demurrers as well as the Status Conference

   12   to February 7, 2025 at 10:00 a.m.

   13          Defendant The State Bar of California was ordered to give notice.

   14

   15
        Dated: October 21, 2024                            FREEMAN MATHIS & GARY, LLP
   16

   17
                                                     By:
   18                                                      CHRISTOPHER J. WEBER
                                                           DANIELLE A. OCAMPO
   19                                                      Attorneys for Defendant
                                                           STATE BAR OF CALIFORNIA
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                    EXHIBIT “A”
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                                 TENTATIVE RULINGS

                              JUDGE RANDALL J. SHERMAN

                                 DEPARTMENT CX105

                                  OCTOBER 18, 2024

 Appearances, whether remote or in person, must be in compliance with Code of
 Civil Procedure §367.75, California Rules of Court, Rule 3.672, and Superior Court
 of California, County of Orange, Appearance Procedure and Information, Civil
 Unlimited and Complex, located at https://www.occourts.org/media-
 relations/covid/Civil_Unlimited_and_Complex_Appearance_Procedure_and_Infor
 mation.pdf. Unless the court orders otherwise, remote appearances will be
 conducted via Zoom through the court’s online check-in process, available at
 https://www.occourts.org/media-relations/civil.html. Information, instructions
 and procedures to appear remotely are also available at
 https://www.occourts.org/media-relations/aci.html. Once online check-in is
 completed, counsel and self-represented parties will be prompted to join the
 courtroom’s Zoom hearing session. Participants will initially be directed to a
 virtual waiting room while the clerk provides access to the video hearing.

 Court reporters will not be provided for motions or any other hearings. If a party
 desires a court reporter for a motion, it will be the responsibility of that party to
 provide its own court reporter. Parties must comply with the court’s policy on the
 use of pro tempore court reporters, which can be found on the court’s website at
 www.occourts.org/media/pdf/Privately_Retained_Court_Reporter_Policy.pdf.

 If you intend to submit on the tentative ruling, please advise the other parties
 and the court by calling (657) 622-5305 by 9:00 a.m. on the hearing date. Make
 sure the other parties submit as well before you forgo appearing, because the
 court may change the ruling based on oral argument. Do not call the clerk about
 a tentative ruling with questions you want relayed to the court. Such a question
 may be an improper ex parte communication.


  #    Case Name & No.           Tentative Ruling
  1    Axis Surplus              The unopposed application of attorney Janis E. Steck to be
       Insurance Co. vs.         admitted pro hac vice to represent defendant
       HomeDeliveryLink,         HomeDeliveryLink, Inc. in this action is granted. The
       Inc.                      applicant has complied with CRC Rule 9.40.
       2024-01393277
                                 If the attorney remains counsel for defendant on the
                                 anniversary of the date this application is granted, she
                                 must pay an annual renewal fee of $500 for each year that
                                 she maintains pro hac vice status in this case, pursuant to
                                 Gov. Code §70617(e)(2).

                                 Defendant HomeDeliveryLink, Inc. is ordered to give notice
                                 of the ruling unless notice is waived.

   2   Nilchian vs. Organic      The tentative ruling is to continue the hearing on plaintiff’s
       Pastures Dairy            Motion for Preliminary Approval of Class Action Settlement
       Company LLC               to February 7, 2025 at 10:00 a.m. Counsel must file
       2020-01166856             supplemental papers addressing the court’s concerns (not
                                 fully revised papers that would have to be re-read) at least
                                 16 days before the next hearing date. Counsel should
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                              submit an amendment to the settlement agreement rather
                              than any amended settlement agreement. Counsel also
                              should provide a red-lined version of any revised papers,
                              including the class notice.

                              In response to the court’s point that plaintiff provided no
                              information as to plaintiff’s potential recovery or
                              defendant’s potential exposure for the violations alleged,
                              plaintiff provided the court with information only as to
                              defendant’s Cream Top – Whole Raw Milk product. The
                              First Amended Complaint, however, asserted allegations as
                              to defendant’s “raw dairy products, including ‘Cream Top –
                              Whole Raw Milk’; ‘Original Raw Kefir’; ‘Gold Raw Kefir’.”
                              The settlement class includes purchasers of only
                              defendant’s Cream Top – Whole Raw Milk product. Plaintiff
                              has failed to show what potential outcome putative class
                              members are giving up in exchange for the settlement not
                              including any of defendant’s other products.

                              The class notice has not been amended like the settlement
                              agreement has been, to delete improper injunctive
                              language. In §12 on p. 7, the paragraph saying that, “no
                              Settlement Class Member, or group of Settlement Class
                              Members, may bring any future lawsuits against Defendant
                              for mislabeling or deceptive marketing practices with
                              respect to the Covered Products at issue, or any lawsuits
                              based upon any claims or facts asserted in the current
                              Lawsuit, or based upon any other claims that could have
                              been asserted in this Lawsuit, but were not – even claims
                              that were not known to such Settlement Class Member or
                              that he or she did not even suspect existed as of the date
                              the proposed Settlement is approved by the Court” must
                              be deleted. The language is also overbroad, since it
                              includes products for which the class members will receive
                              no consideration, the phrase “any other claims that could
                              have been asserted in this Lawsuit” is vastly overbroad,
                              and the general release type language may not be applied
                              to class members, but only to the named plaintiff.

                              The parties have not provided the court with any
                              declaration from any of defendant’s attorneys as to any
                              potential conflict of interest as to the proposed cy pres
                              recipient, as required by CCP §382.4.

                              Plaintiff is ordered to give notice of the ruling to defense
                              counsel unless notice is waived.

   3   Dabney vs. Alignment   The tentative ruling is to continue the hearing on plaintiff’s
       Healthcare USA, LLC    Motion for Preliminary Approval of Class and
       2022-01256712          Representative Action Settlement to February 7, 2025 at
                              10:00 a.m. Counsel must file supplemental papers
                              addressing the court’s concerns (not fully revised papers
                              that would have to be re-read) at least 16 days before the
                              next hearing date. Counsel should submit an amendment
                              to the settlement agreement rather than any amended
                              settlement agreement. Counsel also should provide a red-
                              lined version of any revised papers, including the class
                              notice. Counsel also should provide the court with an
Case
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                            explanation of how the pending issues were resolved, with
                            references to any corrections to the settlement agreement
                            and the class notice, rather than with just a supplemental
                            declaration or brief that simply asserts the issues have
                            been resolved.

                            The motion does not provide the court with the estimated
                            high, low or average individual payments to the class
                            members. The estimated average payment must be
                            provided for preliminary approval, but if the high and low
                            estimated payments are not available at this time, they
                            must be provided in the motion for final approval.

                            The ”Class Action and PAGA Settlement Agreement and
                            Class Notice” should not be one document with one title
                            and continuous page numbering if counsel intends to send
                            class members only the class notice. The pages of the
                            class notice must be numbered starting with 1.

                            The settlement agreement in ¶¶5.5.2, 5.6 and 5.8.4 and
                            the class notice in §4.3 provide that the Administrator’s
                            determination of the validity of opt-outs and each class
                            member’s allocation of workweeks will be final and not
                            appealable or otherwise susceptible to challenge. The
                            documents should reflect instead that the court will resolve
                            any opt-out validity or workweek dispute not otherwise
                            resolved by the Administrator and the parties.

                            The allocation of only 20% of the class action portion of the
                            settlement payments for wages appears to be low. The
                            estimated exposure analysis in the motion allocates about
                            28% of the class members’ potential (non-PAGA) recovery
                            to wages. Either an increase to 25% or an adequate
                            explanation of why the figure is not at least 25% is
                            required.

                            In §3.2(c) of the class notice, fill in the blank for the
                            administrator’s fee with $13,500.

                            Rather than having class members prepare their own opt-
                            out requests and workweek dispute forms, the class notice
                            must include an exclusion form and a workweek dispute
                            form that class members can complete and submit. The
                            forms should be referenced in the class notice.

                            There is no information as to how many of the class
                            members or aggrieved employees speak and/or read
                            English, which might require that the class notice also be in
                            another language.

                            Counsel should provide declarations confirming whether
                            there any other actions (class, PAGA or individual,
                            including PAGA actions in the pre-lawsuit LWDA notice
                            stage) that could be affected by this settlement.

                            Counsel should propose a realistic Final Approval Hearing
                            date, bearing in mind that all papers in support of the Final
                            Approval Hearing, including detailed hourly breakdowns of
Case
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                            plaintiff’s attorneys to support a lodestar cross-check,
                            detailed plaintiff attorney cost breakdowns, an
                            Administrator declaration and invoice, and plaintiff’s
                            declaration to support the enhancement request, must be
                            filed at least 16 calendar days before the Final Approval
                            Hearing date, to provide enough time for court review, and
                            must be served in compliance with CCP notice of motion
                            requirements.

                            The Status Conference set for November 27, 2024 is
                            ordered off calendar.

                            Plaintiff is ordered to give notice of the ruling to defense
                            counsel unless notice is waived.

   4   Martinez vs. West    Plaintiffs’ Motion for Final Approval of Class Action
       Coast Prime Meats,   Settlement, Attorneys’ Fees and Expenses, and
       LLC                  Enhancement Award is granted, except that the court
       2021-01185742        awards enhancements to plaintiffs Veronica Cruz Martinez
                            and Maria Morales only in the amounts of $3,000 each.
                            Enhancement awards totaling $6,000 are sufficient and
                            proper for a class and settlement of this size, and
                            considering that there was nothing extraordinary about
                            plaintiffs’ contributions to the case.

                            The court concludes that the $350,000 class action and
                            PAGA settlement, as approved, is fair, adequate and
                            reasonable, and approves the following specific awards:

                            • $116,666.67 to plaintiffs’ counsel for plaintiffs’ attorneys’
                            fees, as requested;
                            • $11,697.67 to plaintiffs’ counsel for plaintiffs’ attorney
                            costs, as requested;
                            • $3,000.00 each to plaintiffs Veronica Cruz Martinez and
                            Maria Morales as enhancement awards, reduced from the
                            $5,000.00 each requested;
                            • $8,450.00 to the Administrator, ILYM Group, Inc, as
                            requested; and
                            • $37,500.00 to the LWDA for its share of PAGA penalties,
                            as requested.

                            The total amount that will be payable to all class members
                            and aggrieved employees if they are paid the amount to
                            which they are entitled pursuant to the judgment is
                            $169,685.66.

                            Plaintiffs must combine their [Proposed] Order Granting
                            Final Approval and their [Proposed] Judgment, and submit
                            one document, a [Proposed] Order and Judgment. The
                            Proposed Final Order and Judgment must (1) in ¶5, delete
                            “and in the transcript of the proceedings of the preliminary
                            approval hearing” (2) in ¶7, identify the putative class
                            member who opted out and thus will not be bound by the
                            judgment, (3) delete the last sentence of ¶7, improper
                            injunction language, (4) in ¶10, delete D.Law, Inc. as class
                            counsel, since they were not identified as class counsel in
                            either ¶1.6 of the settlement agreement or ¶9 of the class
                            notice, and are not receiving any attorneys’ fees award, (5)
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                             in ¶¶11 and 13, insert the actual enhancement award
                             amounts, and (6) in §17 at 5:28, delete “or related in any
                             manner to”.

                             The court sets a Final Report Hearing for July 18, 2025 at
                             10:00 a.m., to confirm that distribution efforts are fully
                             completed, including that the amount of the uncashed
                             checks has been delivered to the State Controller’s Office
                             Unclaimed Property Fund in the names of the applicable
                             payees, or confirming the initiation of the process for the
                             reporting and distribution of uncashed checks, which may
                             require following the procedures set forth in CCP §1520,
                             and ultimately a showing that the Administrator’s work is
                             complete and that the court’s file thus may be closed. All
                             supporting papers must be filed at least 16 days before the
                             Final Report Hearing date.

                             Plaintiffs are ordered to give notice of the ruling to defense
                             counsel unless notice is waived.

   5   Jimenez vs.           The tentative ruling is to continue the hearing on plaintiff’s
       Innovative Cleaning   Motion to Approve Private Attorneys General Act
       Services Inc.         Settlement and Enter Final Judgment to February 7, 2025
       2022-01292149         at 10:00 a.m. Counsel must file supplemental papers
                             addressing the court’s concerns (not fully revised papers
                             that would have to be re-read) at least two weeks before
                             the next hearing date. Counsel must submit an
                             amendment to the settlement agreement rather than any
                             amended settlement agreement. Counsel also must
                             provide a red-lined version of any revised papers, including
                             the proposed letter to the aggrieved employees. Counsel
                             also should provide the court with an explanation of how
                             the pending issues were resolved, with references to any
                             corrections to the settlement agreement and the proposed
                             letter to the aggrieved employees, rather than with just a
                             supplemental declaration or brief simply asserting that the
                             issues have been resolved.

                             Plaintiff has not provided the court with the estimated
                             average, high and low payments to aggrieved employees
                             under the proposed settlement. These estimates are
                             needed to assist the court in properly determining the
                             fairness of the proposed settlement.

                             In ¶I(a) of the settlement agreement, correct the case
                             number, which starts with “30”, not “0”.

                             There is an escalator clause in the settlement agreement,
                             but this is a motion to have the PAGA settlement fully
                             approved, and so the court must approve a specific gross
                             settlement amount on the granting of this motion. Thus,
                             the parties must determine the gross settlement amount to
                             be approved, as well as the PAGA period ending date.

                             The definition of PAGA Claims includes claims for violations
                             of Labor Code §§201 and 202, but it does not appear that
                             any claims under those statutes were supported by any
                             facts in plaintiff’s letter to the LWDA, apart from simply
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                            citing those statutes. If plaintiff did not give the LWDA
                            notice and an opportunity to investigate or pursue litigation
                            itself for violations of those statutes, they may not be the
                            subject of the release in this case. LaCour vs. Marshalls of
                            California, LLC (2023) 94 Cal. App. 5th 1172, 1192-96.
                            Plaintiff must provide an explanation as to how plaintiff
                            properly asserted claims for violation of those statutes in
                            the LWDA letter, or those statutes must be removed from
                            the definition of PAGA Claims being released.

                            Plaintiff does not provide any information as to how
                            attorneys’ fees will be split between the two law firms
                            representing plaintiff and the aggrieved employees.
                            Plaintiff must disclose the proposed split so that the court
                            can approve separate attorneys’ fees awards.

                            Plaintiff has not submitted her attorneys’ bills or a detailed
                            breakdown of her attorneys’ costs to support the court’s
                            review of the costs request. Exhibit G to the Garay
                            Declaration is not a costs breakdown, as claimed.

                            An invoice from the Administrator, not just an estimate, is
                            required to support the $4,000.00 Administrator fee
                            request.

                            The parties must identify a proposed cy pres recipient, and
                            must provide the court with declarations from counsel as to
                            any potential conflict of interest as to the proposed cy pres
                            recipient, as required by CCP §382.4.

                            The proposed cover letter to be sent to the aggrieved
                            employees with their penalty checks is wrong in stating,
                            “you will be giving up or ‘releasing’ ICS from all claims,
                            demands, liabilities, damages, attorney's fees, costs, and
                            penalties that are asserted in the LWDA Notice and PAGA
                            Action for alleged [list of claims]”. Only PAGA penalties
                            have been settled, not any damages claims. The cover
                            letter must explain that no claims for any unpaid or
                            underpaid wages have settled, and that this settlement is
                            without prejudice to any pursuit of such claims.

                            Plaintiff is ordered to give notice of the ruling to defense
                            counsel unless notice is waived.

   6   Aresh vs. Hunt       The Motion of Defendants Todd Mikles, Etienne Locoh,
       2018-00982195        SCMG Liquidation, Inc., SSMF Liquidation, LLC, Infinity
                            Urban Century, LLC, GCL, LLC, and Sovereign Capital
                            Management Holdings, LLC for Judgment on the Pleadings
                            is denied. The Trustee Defendants’ Joinder in Motion for
                            Judgment on the Pleadings is denied. Defendants’ Request
                            for Judicial Notice is granted.

                            Defendants seek judgment on the pleadings based on res
                            judicata because this court sustained without leave to
                            amend a demurrer in the related case of Aresh v. Mikles
                            2012 Irrevocable Trust, OCSC Case No. 30-2021-01180402
                            (“Aresh II”). The court sustained the demurrer in Aresh II
                            because plaintiffs failed to plead sufficient allegations to
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                              state causes of action due to vague or conclusory
                              allegations, failed to join necessary party Todd Mikles,
                              failed to plead facts to overcome applicable statutes of
                              limitation, and plaintiffs improperly split causes of action
                              between Aresh II and this action. The ruling in Aresh II is
                              now on appeal.

                              The court in Boyd v. Freeman (2017) 18 Cal. App. 5th 847,
                              855, held that a judgment based on the sustaining of a
                              demurrer for technical or formal defects is not on the
                              merits and thus is not a bar to the filing of a new action.
                              The court added that a demurrer which is sustained for
                              failure of the facts to establish a cause of action is a
                              judgment on the merits, but only if the same facts are
                              pleaded in the second action, or if while different facts are
                              pleaded, the new complaint contains the same defects as
                              the former. Moreover, a judgment following a demurrer to
                              potentially curable defects in the complaint’s allegations
                              also is not on the merits. Id.

                              Here, defendants rely on a ruling that was not a final
                              judgment on the merits, and thus has no preclusive effect
                              in this action. Further, defendants fail to demonstrate that
                              the defects in the operative complaint in Aresh II are
                              present in the operative complaint in this action such that
                              the ruling would have a res judicata effect in this action.
                              Defendants also have not shown that plaintiffs failed to
                              name a necessary party, improperly split claims, or that
                              the pleading in this action fails to state a claim. As such,
                              the court’s ruling in Aresh II does not bar the claims in this
                              action. Finally, this court will not consider any new
                              arguments raised for the first time in defendants’ reply
                              briefs.

                              Plaintiffs are ordered to give notice of the ruling unless
                              notice is waived.

   7   The Regents of the     Proposed Intervenor Public Employment Relations Board’s
       University of          Motions for Leave to Intervene and for Stay of Judicial
       California vs.         Proceedings are denied.
       International Union,
       United Automobile,     The very definition of intervention has no application here.
       Aerospace and          CCP §387(b) provides: “An intervention takes place when a
       Agricultural           nonparty, deemed an intervenor, becomes a party to an
       Implement Workers of   action or proceeding between other persons by doing any
       America, AFL-CIO,      of the following: (1) Joining a plaintiff in claiming what is
       Local Union 4811       sought by the complaint. (2) Uniting with a defendant in
       2024-01403666          resisting the claims of a plaintiff. (3) Demanding anything
                              adverse to both a plaintiff and a defendant.” Proposed
                              Intervenor Public Employment Relations Board (“PERB”)
                              does not satisfy any of these three criteria, rendering
                              intervention inapplicable. The Union contends in a reply
                              brief that PERB should be permitted to intervene because it
                              is “uniting with a defendant in resisting the claims of a
                              plaintiff”, but PERB is not seeking to resist plaintiff’s breach
                              of contract claim in this action. Rather, PERB is asserting
                              that it has exclusive jurisdiction to decide the dispute
                              between the actual parties to the contract.
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                            PERB also has not established either of the criteria for
                            mandatory intervention under CCP §387(d)(1). First, PERB
                            does not have “an interest relating to the property or
                            transaction that is the subject of the action and that person
                            is so situated that the disposition of the action may impair
                            or impede that person's ability to protect that interest”.
                            Plaintiff Regents’ Prayer for Relief in its Complaint asks for
                            a judgment enjoining the defendant Union from all strike
                            activities while the no-strike clauses in the parties’
                            collective bargaining agreements are in effect. PERB has
                            no interest in whether or not the Union strikes. Rather,
                            PERB seeks to intervene as a neutral party who asserts
                            that it has statutory priority to resolve the issues involved
                            in this action through its quasi-judicial administrative
                            process, citing Fresno Unified School Dist. v. National
                            Education Assn. (1981) 125 Cal. App. 3d 259, 273. That
                            alleged “interest”, however, does not qualify under the
                            statute as an interest justifying mandatory intervention.
                            To the contrary, as an adjudicative body, PERB must
                            necessarily be neutral.

                            Even if PERB had the requisite interest, the exception in
                            CCP §387(d)(1)(B) applies, because PERB’s alleged interest
                            is adequately represented by one or more of the existing
                            parties. The Union argued at the TRO hearing, and
                            continues to argue, that this court should not rule on
                            plaintiff’s injunction requests because PERB has exclusive
                            or primary jurisdiction over this dispute.

                            PERB cites Fresno Unified School Dist. v. National
                            Education Assn. (1981) 125 Cal. App. 3d 259, in which the
                            court held, “In light of the expertise which PERB brings to
                            labor disputes arising under the EERA, the superior court
                            which had jurisdiction over an equitable action should have
                            stayed its hand until the specialized agency had initially
                            addressed the dispute.” Id. at 274. However, pursuant to
                            CCP §527.3(b)(4)(iii), “The term ‘labor dispute’ includes
                            any controversy concerning terms or conditions of
                            employment, or concerning the association or
                            representation of persons in negotiating, fixing,
                            maintaining, changing, or seeking to arrange terms or
                            conditions of employment regardless of whether or not the
                            disputants stand in the proximate relation of employer and
                            employee.” The evidence shows that this case does not
                            involve any controversy concerning the terms or conditions
                            of the Union members’ employment, and thus does not
                            involve a labor dispute. Rather, the Union members’ strike
                            was simply to express disapproval with the University’s
                            response to protests on its campuses. Neither the terms
                            nor the conditions of the Union members’ employment
                            were implicated by the University’s response to protests on
                            its campuses. Although the protesters might include some
                            Union members, not all of the Union members were
                            protesters, and there was no showing that all of the
                            Union’s members sided with the Union on this issue.
                            Indeed, if the Union were trying to obtain better pay,
                            better benefits or better working conditions for its
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                            members, then presumably all of the Union’s members
                            would be aligned in interest with the Union’s position, since
                            they all stood to benefit. Here, however, the Union’s
                            position had nothing to do with any unified interest of its
                            members, but rather a political position with which many of
                            the Union’s 40,000 or so members presumably disagreed.
                            In addition, the University’s response to protesters was not
                            to its employees, but to the protesters, whether they were
                            UC students who are Union members, UC students who are
                            not Union members, or people who are not UC students at
                            all. Thus, this case does not involve a “labor dispute”
                            falling within PERB’s expertise.

                            Relevant to the issue of whether PERB has exclusive
                            jurisdiction over this dispute, Gov. Code §3509(b)
                            provides, “A complaint alleging any violation of this chapter
                            or of any rules and regulations adopted by a public agency
                            pursuant to Section 3507 or 3507.5 shall be processed as
                            an unfair practice charge by the board. The initial
                            determination as to whether the charge of unfair practice is
                            justified and, if so, the appropriate remedy necessary to
                            effectuate the purposes of this chapter, shall be a matter
                            within the exclusive jurisdiction of the board.” In the case
                            of City of San Jose v. Operating Engineers Local Union No.
                            3 (2010) 49 Cal. 4th 597, the California Supreme Court
                            confirmed that in 2000, the Legislature extended PERB’s
                            jurisdiction to cover matters arising under the Meyers-
                            Milias-Brown Act of 1968 through the enactment of Gov.
                            Code §3509, subd. (b) of which provides that a complaint
                            alleging any violation of the MMBA shall be processed as an
                            unfair practice charge by PERB, and that the initial
                            determination as to whether the charge of unfair practice is
                            justified and, if so, the appropriate remedy necessary to
                            effectuate the purposes of this chapter, shall be a matter
                            within the exclusive jurisdiction of PERB. 49 Cal. 4th at
                            605. In this case, however, the Regents do not allege any
                            violation of the MMBA, but rather a breach of the parties’
                            contracts. Thus, this case does not fall within the exclusive
                            initial jurisdiction of PERB, and this court may adjudicate
                            this case. Although the Regents did in fact initiate
                            proceedings with PERB, those matters were ones in which
                            the Regents accused the Union of violating the MMBA,
                            which is within PERB’s jurisdiction. This case, by contrast,
                            avoids accusing the Union of violating the MMBA, relying
                            solely on breach of contract allegations. The Higher
                            Education Employer Employee Relations Act expressly
                            states that PERB “shall not have authority to enforce
                            agreements between the parties”. Gov. Code §3563.2(2).
                            Thus, mandatory intervention is denied.

                            CCP §387(d)(2) sets forth the criteria for permissive
                            intervention, which may apply, “if the person has an
                            interest in the matter in litigation, or in the success of
                            either of the parties, or an interest against both.” Here,
                            however, PERB does not have an interest in the matter in
                            litigation, i.e., plaintiff’s claims of breach of contract
                            against the Union, or in the success of either of the parties,
                            or an interest against both of the parties. The test set
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                            forth in Reliance Ins. Co. v. Superior Court (2000) 84 Cal.
                            App. 4th 383, 386, is not satisfied because the nonparty
                            PERB does not have a direct and immediate interest in the
                            action. Thus, permissive intervention is also denied.

                            Tellingly, PERB has cited no authority permitting an
                            administrative agency to intervene in an action where it is
                            neutral as to the claim at issue.

                            Plaintiff is ordered to give notice of the ruling unless notice
                            is waived.

   8   Lundin vs. Goldman   On June 28, 2024, the court continued the hearing on
       2022-01290254        Defendants’ Motion to Compel Plaintiff Leslie Lundin’s
                            Compliance With Defendants’ Notice of Her Deposition;
                            Request for Sanctions in the Amount of $29,094.50, to
                            today. The court reasoned:

                            “Despite three deposition notices which were based in part
                            on dates on which Lundin said she was available, Lundin
                            objected at the last minute, failed to explain why she was
                            unavailable, and failed to offer alternate deposition dates.
                            It was only after defendants filed this motion on April 17,
                            2024 that Lundin finally appeared, on May 16, 2024.
                            However, there is still a second deposition session
                            scheduled to take place in September 2024. Lundin also
                            has agreed to produce documents in seven of the ten
                            requested categories by July 5, 2024. It seems prudent for
                            this court to continue the hearing on this motion until after
                            the second session of Lundin’s deposition takes place, and
                            she produces all the documents she intends to produce,
                            with the court needing to resolve only unproduced
                            documents that are still in dispute and the sanctions
                            requests. In addition, plaintiffs contend that the court
                            should postpone compelling any further production by
                            Lundin until defendants’ alleged breach of the protective
                            order by producing confidential documents without filing
                            them under seal is resolved.”

                            The parties’ Joint Status Conference Report filed on
                            October 4, 2024 explains that the second deposition
                            session went forward on September 5, 2024. However,
                            defendants contend that Lundin improperly did not answer
                            certain deposition questions. Any such failure would have
                            to be resolved by a future motion, not this motion. In
                            addition, plaintiffs produced some documents, and more
                            documents were going to be produced during the week of
                            October 7, 2024 as part of David Goldman’s member
                            inspection. However, defendants assert that plaintiffs did
                            not produce all of the required documents. The sanctions
                            request also remains pending.

                            Thus, the court will discuss the motion with the parties,
                            and presumably will continue defendants’ documents and
                            sanctions requests to the date of one of the future hearings
                            that have been set in this case.
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                             Finally, the court does not intend to appoint a discovery
                             referee today.

                             Defendants are ordered to give notice of the ruling unless
                             notice is waived.

   9   Roe 1 vs. The State   The tentative ruling is to continue the hearing on
       Bar of California     defendants’ Demurrers to Fourth Amended Complaint, as
       2022-01250695         well as the Status Conference set for today, to February 7,
                             2025 at 10:00 a.m. Plaintiffs’ attorney was suspended
                             from the practice of law, the court granted plaintiffs a
                             continuance of the demurrer hearings to obtain new
                             counsel, but plaintiffs still have not obtained new counsel.
                             Plaintiff Chad Pratt, the only plaintiff whose name is of
                             record, attempted to file a Substitution of Attorney, but the
                             clerk rejected it, rendering his pro per status in limbo. No
                             other plaintiffs have filed any opposition to the demurrers.
                             Thus, the court is willing to grant plaintiffs another
                             continuance to obtain new counsel or to file their own
                             oppositions. If plaintiffs are not represented by an
                             attorney in good standing, their class claims are subject to
                             being stricken. The court also isn’t sure what to do about
                             the fact that it does not know the names of the other
                             “named” plaintiffs, who may well have to represent
                             themselves if they want to continue to be part of this case.
                             Any continued failure to appear or oppose the demurrers
                             on their part might be construed as a concession to the
                             demurrers as to them, because the failure to oppose a
                             demurrer may be construed as an abandonment of any
                             argument against it. Herzberg v. County of Plumas (2005)
                             133 Cal. App. 4th 1, 20.

                             Defendant The State Bar of California is ordered to give
                             notice of the ruling.
Case 8:24-cv-01997-JLS-DFM
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    1                                       PROOF OF SERVICE

    2          I am over 18 years of age and not a party to this action.

    3          I am employed in Orange County, California, in the office of an active member of the
        State Bar of California. My business address is 3030 Old Ranch Parkway, Suite 200, Seal Beach,
    4   California 90740.
    5          On October 21, 2024, I served a copy of the document(s) entitled:

    6          NOTICE OF RULING RE: DEMURRERS AND STATUS CONFERENCE
    7   in the manner described below:

    8                 By United States Mail. I enclosed the document(s) in the envelope(s)
                       addressed to the individual(s) on the attached Service List. I sealed and
    9                  deposited the envelope(s) with postage fully prepaid at the United States
                       Postal Service collection box located at 3020 Old Ranch Parkway, Seal
   10                  Beach, California 90740.

   11
                      By Overnight Delivery. I enclosed the document(s) in the envelope(s)
   12                  provided by an overnight delivery carrier and addressed to the
                       individual(s) on the attached Service List. I sealed and deposited the
   13                  envelope(s) in the box regularly maintained by the express service
                       carrier located at 3020 Old Ranch Parkway, Seal Beach, California
   14                  90740.

   15                 By CM/ECF PORTAL. I certify that I electronically filed the foregoing
                       documents and that they are available for viewing and downloading
   16                  from the Court’s CM/ECF system, and that all participants in the case
                       are registered CM/ECF users and that service will be accomplished by
   17                  the CM/ECF system.

   18                 By Electronic Service. I attached the document(s) to an email and sent
                       the email from lisa.khan@fmglaw.com to the individual(s) on the
   19                  attached Service List at the email address(es) stated therein.

   20
               I declare under penalty of perjury under the laws of the State of California that the
   21   foregoing is true and correct.
   22   Executed on October 21, 2024, at Seal Beach, California

   23
                                                      __________________________________
   24                                                 Lisa Khan
   25

   26

   27

   28
                                                        3
                         NOTICE OF RULING RE DEMURRERS AND STATUS CONFERENCE
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    1

    2                                         SERVICE LIST
    3
                           John Roe 1, et al. v. The State Bar of California, et al.
    4                           Case No.: 30-2022-01250695-CU-AT-CXC

    5   Lenore Albert, Esq.                           Attorney for Plaintiffs JOHN ROE 1, et al.
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   19
        Chad Pratt                                    Plf. In Pro Per
   20                                                 chadprattsr@gmail.com
   21   Dan Chmielewski                               Plf. In Pro Per
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   23

   24

   25

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   27

   28
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3     1968 S Coast Hwy #3960
      Laguna Beach, CA 92651
4     Telephone (424)365-0741
      Attorney for Plaintiffs, John Roe 1,John Roe 3,
5
      Jane Roe 2, Chad Pratt, and NZ on behalf of
6     themselves and all others similarly situated.

7
8                                    SUPERIOR COURT OF CALIFORNIA
9                                             COUNTY OF ORANGE

10
      JOHN ROE 1, an individual; JOHN ROE 3; JANE CASE NO. 30-2022-01250695-CU-AT-CXC
11    ROE 2; CHAD PRATT; and NZ on behalf of
      themselves and all others similarly situated, Assigned to the Hon. Randall J. Sherman, CX-105
12
                                                    Complaint filed: 03-18-2022
13                             Plaintiff,
      vs.
14                                                  FOURTH AMENDED CLASS ACTION
      THE STATE BAR OF CALIFORNIA; TYLER COMPLAINT
15    TECHNOLOGIES, INC.; RICK RANKIN; and                     1.   Invasion of Privacy (Cal. Const. Art I § 1)
16    DOES 4 through 10, inclusive,                            2.   Negligence
                              Defendants.                      3.   Govt Code §815.6 Liability
17                                                             4.   Govt Code §815.4 Liability
                                                               5.   Negligence
18                                                             6.   Deceit
19
                                                           [DEMAND FOR JURY TRIAL]
20
21
22
23
             Plaintiffs John Roe 1, John Roe 3, Jane Roe 2, Chad Pratt, and NZ (referred to collectively as
24
      “Plaintiff” or "Plaintiffs"), by and through their attorney, amend their pleadings pursuant to the
25    Court’s order on demurrer and bring this action against Defendants, the State Bar of California, Tyler
26    Technologies, Inc., Rick Rankin, and Does 4 through 10, and each of them so captioned, (collectively
27    the “Defendants”) and alleges the following on information and belief, except as to those allegations
28    which pertain to the Plaintiffs and are within their personal knowledge:

                                                        1
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 1                                                     PARTIES
 2    1.     Plaintiff, John Roe 1, at all times mentioned herein relevant to this complaint is employed in and
 3    is a resident of Orange County, California and has filed a confidential Complaint with the State Bar of
 4    California. Plaintiff sues under the pseudonym of “John Roe 1” to protect his legitimate interests in his

 5    privacy.
      2.     Plaintiff, John Roe 3, at all times mentioned herein relevant to this complaint was a resident of
 6
      Sutter County, California. He had filed a confidential Complaint with the State Bar of California.
 7
      Plaintiff sues under the pseudonym of “John Roe 3” to protect his legitimate interest in his privacy.
 8
      3.     Plaintiff, Jane Roe 2, at all times mentioned herein relevant to this complaint was a former judge
 9
      licensed by the State Bar of California and resident of San Diego County, California and was the subject
10    of a confidential investigation filed with the State Bar of California. Plaintiff sues under the pseudonym
11    of “Jane Roe 2” to protect her legitimate interests in her privacy.
12    4.     Plaintiff, Chad Pratt, at all times mentioned herein relevant to this complaint is an attorney
13    licensed by the State Bar of California and resident of Los Angeles County, California and was the
14    subject of a confidential investigation filed with the State Bar of California.

15    5.     Plaintiff, NZ, at all times mentioned herein relevant to this complaint is an attorney licensed by
      the State Bar of California and resident of Los Angeles County, California and was the subject of a
16
      confidential investigation filed with the State Bar of California. Plaintiff sues under the pseudonym of
17
      “NZ” to protect his legitimate interests in his privacy.
18
     6.      Defendant THE STATE BAR OF CALIFORNIA, is a public corporation and has two offices
19
      located in (1) San Francisco, California; and (2) Los Angeles, California. On or about February 24,
20    2022, the State Bar announced that approximately 260,000 (later 322,525) confidential disciplinary
21    records were posted on the internet on a website with the URL JudyRecords.com that anyone with
22    internet access could freely view. It was not the result of a hack.
23 7.        Defendant RICK RANKIN, principal of RPR Impact, LLC, is an independent contractor hired to
24    perform the services as interim Director of the Information Technology Department of the State Bar of

25    California and regularly conducts business in the state of California.
     8.      Defendant TYLER TECHNOLOGIES, INC. (“Tyler Technologies”) is a Texas corporation that
26
      regularly conducts business in California and is the vendor that supplied the software product called
27
      Odyssey including the Odyssey Portal to the State Bar of California which has been blamed for the data
28
      breach due to its failure to have an adequate access control check in place.
                                                           2
                                       Fourth Amended Class Action Complaint
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 1 9.         KEVAN SCHWITZER is a resident of Texas and operates a website at URL JudyRecords.com
 2    that publishes information from various federal and state agencies that is freely open to anyone who has
 3    internet access. Millions of confidential records were published on his website, of which approximately

 4    322,525 were confidential investigations opened up by the State Bar of California.
     10.      Plaintiff does not know the true names and capacities of the Defendants DOES 4 through 10,
 5
      inclusive, and, as such, names said Defendants by such fictitious names. Plaintiff will amend the
 6
      complaint to state the true name and capacity of the DOE Defendant(s) when such information is
 7
      ascertained.
 8
     11.      Plaintiff is informed and believes, and alleges thereon, that each Defendant assisted, adopted,
 9    ratified, approved, conspired, or acted in concert therewith with the other Defendant(s).
10 12.        Plaintiff is informed and believes, and alleges thereon, that each Defendant is responsible in
11    some manner for the occurrences alleged in this complaint, and that Plaintiff’s’ damages were
12    proximately caused by the Defendants at all times mentioned in this complaint.
13                                          SUMMARY OF THE FACTS

14    13.      On or about February 24, 2022 the State Bar of California learned that information about its

15    confidential investigations which specifically identified the bar member, witness and/or complainant, had
      been exfiltrated or disclosed on the internet that anyone with access to the internet could freely read, share
16
      or download from JudyRecords.com.
17
      14.      The State Bar of California is a public corporation with broad authority to initiate and open
18
      investigations on applicants and members. It maintains a large volume of sensitive private information
19
      containing the identity of the individual along with his or her birthdate, social security number, entire
20    email and address history, expunged criminal records, medical records, banking information, and
21    biometric data (fingerprints).
22    15.      Under longstanding common law and statutory principles, complaints to the State Bar not
23    resulting in disciplinary action are privileged because confidentiality furthers the State Bar’s interest in
24    encouraging citizens to provide information and attorneys’ interests in avoiding publications of unfounded

25    complaints.
      16.      These complaints are to be considered “highly confidential” which public policy would forbid the
26
      confidence to be violated. In some instances, even the attorney is not notified that a complaint or
27
      investigation has taken place.
28

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1     17.     The State Bar knew that a charge from a complaint, no matter how guiltless the attorney might
2     be, if generally known, would do the attorney irreparable harm even though the attorney is cleared by the
3     State Bar.

4     18.     The State Bar also knew that it is essential to secure all possible information bearing on a
      complaint and necessarily much of the information can only be had upon the understanding that the
5
      informant and the information will be treated as confidential.
6
      19.     Plaintiffs are informed and believe and allege thereon that the State Bar of California informed
7
      Defendants Tyler Technologies, Inc., Rick Rankin, and Does 4 through 10 how “highly confidential”
8
      these state bar investigations were and that the state bar intended to use Odyssey in the Department of the
9     Office of Chief Trial Counsel where these records were created, maintained, and/or stored.
10    20.     The state bar confidential investigations are so highly confidential that a bar member is not
11    entitled to learn of the investigation, obtain notice of State Bar subpoenas, or even obtain the records the
12    state bar acquired against or on the member as part of their confidential investigation.
13    21.     The State Bar has not disclosed what was posted about each plaintiff or member of the class as a

14    result of the breach; to date the plaintiffs and the members of the class can only speculate as to what
      confidential state bar investigation was publicly posted online or additional information that may have
15
      been exposed that was attached to their identity.
16
      22.     Pursuant to the State Bar Act, the State Bar adopted rules that preliminary investigations shall not
17
      be made public and that all files, records and proceedings are confidential.
18
      23.     All State Bar complaints and investigations are confidential until public Notice of Disciplinary
19    Charges are filed pursuant to Bus & Prof Code § 6086.1. Some complaints and investigations never end
20    up being prosecuted, others remain confidential through prosecution, and still others become confidential
21    after being “expunged.”
22    24.     Bus & Prof Code §§ 6086 and 6025 confer powers on the State Bar to adopt rules of procedure.
23    Among those rules, the State Bar adopted Rules of Procedure, Rule 2301 which provides: “the files and

24    records of the Office of Chief Trial Counsel are confidential.”
      25.     State Bar Rules of Procedure, Rule 2302(e)(2) similarly provides: “(a) information concerning
25
      inquiries, complaints or investigations is confidential, and shall not be shared outside of the State Bar
26
      Office of Chief Trial Counsel.”
27
      26.     The State Bar learned that the software they were using called Odyssey failed to have an or had
28
      an inadequate access control check which allowed the confidential state bar investigations including the

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1     identity of the complainants, witnesses or bar members to be accessed and scraped and/or harvested by
2     third parties online.
3     27.      The supplier of Odyssey, defendant Tyler Technologies, Inc. realized that it had sold Odyssey

4     to multiple other state, county, and local agencies throughout the United States without a proper access
      control check in place and nonpublic information from those databases were posted on the internet, too.
5
      28.      So, an agreement not known to the public or plaintiffs was made between Tyler Technologies,
6
      the State Bar of California, Rick Rankin, Does 4 through 10, and others, to delay informing plaintiffs
7
      and members of the class about the data breach, putting Defendants’ interest above the plaintiffs and the
8
      class.
9     29.      Instead of giving expedient notice to the victims of the breach, the defendants went to great
10    lengths to control the narrative and hide the information away from the public as they worked on this
11    massive breach of millions of records.
12    30.      Plaintiffs filed this lawsuit as a result on March 18, 2022.
13    31.      On or about February 28, 2022, the State Bar of California’s independent contractor, Nicholas

14    Albright of E-Magined instructed Kevan Schweitzer “for future communication, let’s leverage the
      following tag: Attorney-Client Privileged/Attorney Work Product” even though they were computer
15
      engineers, not lawyers.
16
      32.      Defendant Rick Rankin representing the State Bar using Rick.Rankin@calbar.ca.gov email
17
      address, was copied on the February 28, 2022 email and permitted, let, instructed, adopted, or acquiesced
18
      in Nicholas Albright’s approach.
19    33.      Additionally, on March 9, 2022, Defendant Tyler Technologies, Inc. employee Jeremy Ward
20    put in charge of working with Kevan Schweitzer the operator of JudyRecords.com, told Schweitzer that
21    Tyler Technologies decided to put a “hold[] on the CA clients” and “deal with” all of its California
22    clients in “a single bucket.”
23    34.      Defendants had already identified the victims of the State Bar data breach by February 28, 2022

24    and had finished their analysis of the breach by March 9, 2022 but the plaintiffs and the members of the
      class did not start receiving any type of notice of the breach until May 18, 2022 through July 10, 2022
25
      (approximately 83 days after Defendant State Bar of California had knowledge of the breach) leading to
26
      an unreasonable delay caused by Defendant Tyler Technologies, Does 4 through 10, and others.
27
      35.      Furthermore, the notice the Defendant State Bar distributed was insufficient. It failed to inform
28
      the plaintiffs and members of the class that the information was also indexed to Google and could

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1     possibly be located on pay sites such as Lexis, Westlaw, Experian and could be found on the Dark Web,
2     leaving the time loss and financial burden to the plaintiffs and the class.
3     36.        The Notice was insufficient in that it failed to explain that each confidential record of the

4     322,525 records were not personally reviewed; it failed to explain how §6007 records wound up on the
      internet; or how a social security number was located when the notice implied that only “docket”
5
      information was posted on JudyRecords.com. The Notice had no indicia of nothing more than spam
6
      because it did not come from the State Bar. It did not have a State Bar URL, address, Emblem, or name
7
      attached to it.
8
      37.        The Notice was also misleading because it framed the extent of the breach in “page views” on
9     JudyRecords.com but failed to inform the reader that (1) this was done through an analytical process
10    that is not precise or exact; (2) via sampling of only a small portion of the records; and (3) the “page
11    views” number did not include number of searches performed or whether the information was posted or
12    viewed on other websites. It surely did not warn the reader that even if JudyRecords.com deleted the
13    records, another party could have downloaded the information, and it may appear again on the internet

14    in the future. Without this material information, it left many persons exposed to the breach to future risk
      of harm.
15
                                               THE STATE BAR’S ROLE
16
      38.        The State Bar represents that it is an arm of the California Supreme Court which holds
17
      disciplinary hearings and makes recommendations on attorney suspensions and disbarments to the
18
      California Supreme Court.
19
      39.        The State Bar publishes Ethic Opinions, Recommendations, and Review Department Opinions
20    on its website.
21    40.        The State Bar knew or should have known that third parties look to scrape different court
22    systems to post those cases on the internet to third party free access and paid access websites.
23    41.        As such, the State Bar knew or should have known that third parties would scrape opinions and
24    case files from its website like any other judicial website.

25    42.        Yet, the State Bar failed to implement policies, systems and procedures that met industry
      standards necessary to protect such highly confidential information from being scraped or harvested
26
      when a third party would scrape or harvest the published recommendations and Review Department
27
      opinions.
28

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1     43.      As a result, the identity of bar members under confidential investigations, along with the
2     identity of complainants and confidential witnesses were scraped and/or harvested from the state bar
3     website and posted on the internet resulting in harm caused in part by Defendant State Bar of California.

4     44.      The State Bar disregard for the plaintiffs’ rights is almost McCarthyism because it has a stronger
      interest in collecting personal information on its members through its massive confidential investigations
5
      than it does in protecting the plaintiffs and class members privacy rights. On March 24, 2022 – one month
6
      after discovery of the data breach but before the State Bar notified the plaintiffs and members of the class
7
      about the breach, it announced it was moving forward to expand its confidential investigations to include
8
      acquiring photos of its members from the Department of Motor Vehicles to add to their data base.
9                                             RICK RANKIN’S ROLE
10    45.      Plaintiffs are informed, believe, and allege thereon that Defendant Rick Rankin owns RPR
11    Impact, LLC and holds himself out as a cybersecurity engineering leader. He was brought into the State
12    Bar as an independent contractor to serve as the Information Technology director before the breach
13    occurred.
14    46.      Industry standards for cybersecurity engineers would include penetration testing, which if

15    performed on Odyssey would have revealed that there was no access control check in place.
      47.      Another industry standard a cybersecurity engineer heading an Information Technology
16
      department would implement would have all confidential information encrypted in the event it wound up
17
      in the hands of third parties.
18
      48.      Plaintiffs are informed and believe that Defendant Rick Rankin’s failure to implement security
19
      measures such as regular penetration testing of Odyssey and encrypting the identity of bar members,
20    witnesses or complainants subject to confidential investigations by the State Bar was another substantial
21    factor in causing the breach and harm to the plaintiffs and members of the class.
22    49.      Additionally, some victims of the breach were persons seeking admission who were given notice
23    of breach. Other victims of the breach were members that were compelled under Bus & Prof Code §6007
24    to submit to medical examinations by the State Bar. And at least one Social Security Number was posted

25    on the internet evidencing that the nature, contents, and scope of the breach was much broader than
      merely “docket” data as represented in the delayed notifications.
26
                                         TYLER TECHNOLOGIES ROLE
27
      50.      Tyler Technologies, Inc. develops software that it supplies to local, state and federal government
28
      agencies throughout the United States. One of its products is called Odyssey.
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1     51.      It was a low-code/no-code solution which the State Bar intentionally selected over custom
2     software built to manage its Office of Chief Trial Counsel records including the highly confidential state
3     bar investigations.

4     52.      Kevan Schweitzer informed the State Bar that he was able to publicly access the State Bar’s
      highly confidential state bar investigation matters because Odyssey failed to protect the State Bar’s system
5
      from public access.
6
      53.      Kevan Schweitzer demonstrated that accessibility was consistent with not performing access
7
      control checks.
8
      54.      Tyler Technologies, Inc. was not communicating anything to the clients about the nature of the
9     issue.
10    55.      Tyler Technologies never disclosed to the plaintiffs or the members of the class that the same
11    issue was found on court systems using the Odyssey product such as found in the following California
12    locations: Merced, San Mateo, Butte, Kings County, Sutter, Sonoma, Yuba, Stanislaus, Santa Cruz,
13    Calaveras, Mendocino, Tehama and San Diego. This breach was repeated over and over throughout the

14    country and possibly the largest coverup of this kind.
      56.      Defendant Tyler Technologies, Inc., through its employee Jeremy Ward worked with Kevan
15
      Schweitzer the owner/operator of JudyRecords.com to control the narrative by downplaying its size and
16
      producing an analytic of “page views” to characterize the breach.
17
      57.      Plaintiffs are informed, believe, and allege thereon that the downplaying of the scope of the
18
      breach was initiated in part by Defendant State Bar of California who was working on playing with the
19    analytics.
20    58.      As support for this allegation, on March 7, 2022 Kevan Schweitzer communicated to Jeremy
21    Ward that he thought it “can be a big win as far as being able to piggyback on Cal Bar’s analysis, as well
22    as being able to point to their ability to specifically determine which cases were affected.”
23    59.      Plaintiffs and the class never received notifications regarding any of the confidential records

24    leaked from the court systems and were never warned by any of the Defendants that even after this
      complaint was filed over a quarter million unprotected case links were still indexed on Google.com.
25
                                               ADDITIONAL FACTS
26
      60.      In 2018, the Office of Chief Trial Counsel (“OCTC”) launched an online complaint portal,
27
      allowing complaining witnesses to file complaints electronically, rather than on paper via mail.
28

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1     61.     The following year, the State Bar of California OCTC transferred from an AS 400 Case
2     Management System to a new Case Management System employing “Odyssey” which it purchased for
3     approximately $3 million from Tyler Technologies. It kept its admissions database on different

4     technology.
      62.     Then in 2020, OCTC integrated the online complaint portal with Odyssey resulting in
5
      automatically opening confidential state bar investigations when the online complaint was submitted to
6
      eliminating the need of State Bar of California staff to manually enter data for complaints submitted on-
7
      line. However, these confidential investigations were not then encrypted as shown by the later posting
8
      onto the internet by a third party.
9     63.     In or about October 2021, Kevan Schwitzer scraped and/or harvested the cases from the
10    California State Bar website and put them on the internet at JudyRecords.com which was free and open to
11    anyone in the public that had internet access. Tyler Technologies, Inc. had a data breach before the State
12    Bar data breach, yet the State Bar continued to use the Odyssey Portal without performing adequate
13    security measures.

14    64.     Judyrecords.com site is set up to do a search by name wherein one can see the details of the
      investigation without having to click on the record. The search results are not uniform, but some level of
15
      detailed information shows up in a general search without having to select and view the actual file. The
16
      data includes the venue, the names of the parties, a URL to the record, and a case number.
17
      65.     On or about February 22, 2022, the State Bar of California was informed confidential state bar
18
      investigations that included the identity of the bar member, witness or complainant were posted on the
19    internet at https://Judysrecords.com.
20    66.     Plaintiff is informed and believes and alleges thereon that approximately 322,525 confidential
21    state bar investigations identifying the bar member, witness or complainant was discovered on
22    https://Judysrecords.com and had been there since on or about October 15, 2021.
23    67.     With the number of highly confidential investigations outnumbering the number of practicing

24    attorneys in the state of California, plaintiffs and members of the class were anxious to know if their name
      was out there, how many times, and in relation to what investigation. The plaintiffs and members of the
25
      class also wanted to know the nature and contents of the breach and where else on the internet it could be.
26
      68.     Defendant State Bar refused to give notice to the plaintiffs or class members or release any
27
      information helpful to them, so they filed this lawsuit on March 18, 2022 after filing State Bar tort claim
28
      forms with the agency.

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1     69.      Defendant State Bar did not report the breach to the California Attorney General’s office or local
2     law enforcement. Instead, it used the time and press to obfuscate, downplay, and deny any liability. It has
3     the specter of destroying and/or covering up the evidence or wrongdoing.

4     70.      From May 18, 2022 through mid-July 2022, the California State Bar created a third party email
      address and an out of state address or used an agent to create the same and sent generic notices filled with
5
      conflicting or deceitful information but did not contain exactly what was put out there about the plaintiffs
6
      and the class and it is something they cannot obtain themselves because JudyRecords.com pulled the
7
      records down and the State Bar refuses to inform the plaintiffs and class on the basis that all investigations
8
      not resulting in public discipline are confidential.
9     71.      The State Bar of California and Rick Rankin failed to use best practices because the database
10    containing the confidential state bar investigations was bloated with approximately 513,000 confidential
11    complaints more than five years old. Best practices would have had a system in place to delete these old
12    files that did not result in a public disciplinary matter from the database.
13    72.      The Plaintiffs and members of the class did not permit, consent, or authorize their identity

14    attached to confidential state bar investigations to be posted onto the internet.
      73.      Plaintiff is informed and believes and alleges thereon that Defendant Rick Rankin failed to
15
      implement and maintain reasonable security procedures and practices appropriate to the nature of the
16
      information which gave JudyRecords.com the ability to obtain the identity of the people who were
17
      subjected to confidential investigations and place it in the public domain which the State Bar now denies
18
      any such duty.
19    74.     Defendant Tyler Technologies, Inc.’s use of low-code or no-code solutions to build a program is
20    quick but when integrating with databases or using other cloud services and letting the software leave
21    the native platform endpoint security issues arise where best practices would include ensuring an
22    adequate access control check was in place upon installation/deployment/subscription based on the
23    highly confidential nature of the state bar investigations at issue.

24    75.      As a direct and proximate result of the unreasonable conduct of Rick Rankin, Tyler Technologies,
      the State Bar of California, and Does 4 through 10, and each of them, jointly and severally, the identity of
25
      the plaintiffs and members of the class associated with approximately 322,525 confidential state bar
26
      investigations were posted on the internet.
27
28

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1     76.     Plaintiff and the class remain at risk because repairing or installing an access control check is
2     temporary and can easily be disabled. Industry standards require regular penetration testing and the
3     encryption of confidential data.

4     77.      The public disclosure of the identity of a complainant or member under investigation is known to
      lead to irreparable harm to an attorney’s reputation and can lead to job instability, loss of business, threats
5
      of extortion, and an unfair advantage to the attorney’s adversaries. Likewise, publication of the identity of
6
      a complainant or witness is known to lead to an unfair advantage provided to the informant’s adversaries
7
      phishing for information online or create more adversaries from the member’s allies.
8
      78.      The average cost to repair or combat reputational harm on the internet is between $10,000.00 to
9     $25,000.00 per year.
10    79.      This data breach of 322,525 confidential state bar investigations caused by Defendants Tyler
11    Technologies, Inc., the State Bar of California, Rick Rankin and Does 4 through 10, and each of them,
12    jointly and severally, has proximately caused privacy harm, time loss, mitigation costs, paranoia, worry,
13    anxiety, irreparable reputational harm, and will continue to cost the plaintiffs and members of the class

14    time to research the internet every so often to ensure that these confidential records do not reappear. The
      plaintiffs and members of the class have also been subjected to spam and had to obtain monitoring
15
      services for the dark web.
16
                                                   Tort Claims Filed
17
      80.      On or about March 14, 2022, John Roe 1, Jane Roe 1 and Jane Roes 2 revealing their true identity
18
      to the defendants, filed tort claims with the State Bar of California prior to filing suit and Suzanne Grandt
19
      of the State Bar of California denied those claims. A general claim for the plaintiffs and members of the
20    class was filed before this lawsuit was filed and Suzanne Grandt of the State Bar of California denied
21    those claims. After this case was filed and the notices were received, Chad Pratt and John Roe 3 using
22    their true identity filed tort claims with the State Bar of California through counsel of record and Suzanne
23    Grandt of the State Bar of California denied those claims as well.
24    81.      John Roe 1, Jane Roe 1, and Jane 2 are informed and believe and allege thereon that their

25    identity was part of the data breach because there was a confidential state bar investigation relating or
      referring to them, but they did not receive a notice from the State Bar of California about the breach.
26
      82.      Chad Pratt was added to this complaint in April 2022. He was admitted to the State Bar of
27
      California on December 4, 1990 and defendants know his true identity. On May 22, 2022 Chad Pratt
28
      received a letter from the State Bar of California informing him that the State Bar was going investigate
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1     him and proceed with disciplinary proceedings. The very next day, on May 23, 2022 Chad Pratt then
2     received a Notice of the Data Breach by way of email from: noreply@castatebarodysseynotice.com.
3     Similarly, NZ who had no prior public disciplinary actions also started receiving state bar investigation

4     letters and complaints after he was notified that his identity was part of the breach and had “page views”
      causing attorneys’ serious concern and a great loss to their peace of mind after the data breach.
5
      83.        Plaintiffs are informed and believe and allege thereon that the Defendant State Bar of California
6
      is using the identity of the named plaintiffs in a way to try to minimize the damage value of the case by
7
      either withholding the notices from the named plaintiffs or initiating proceedings so that if they become
8
      public, then the damage looks de minimus, but in fact such measures and tactics demonstrate the great risk
9     showing the damage to be significant that this has caused to the plaintiffs and members of the class.
10    84.        Chad Pratt paid $74.99 for an annual subscription to mitigate or monitor dark web disclosures
11    because after the data breach, he began spending a lot of time trying to get rid of spam and phishing.
12    85.        Chad Pratt has also spent time to determine if this confidential record has appeared on any other
13    websites such as Lexis, Westlaw, Google or elsewhere.

14                                                    JOHN ROE 1

15    86.    Plaintiff, John Roe 1, at all times mentioned herein relevant to this complaint is employed in and
      is a resident of Orange County, California and filed a confidential Complaint with the State Bar of
16
      California before the data breach.
17
      87.    Plaintiff sues under the pseudonym of “John Roe 1” to protect his legitimate interests in his
18
      privacy.
19
      88.    Plaintiff John Roe 1 filed a State Bar tort claim with the State Bar prior to this complaint being
20    filed on March 18, 2022, on his behalf and others similarly situation. The claim was denied.
21    89.    John Roe 1 is not an attorney but employed in public relations mainly for cybersecurity firms.
22    90.    In or about 2018 he complained against an attorney who represented he was making mistakes in
23    his legal work and was not able to practice law due to an ongoing medical condition but continued the
24    practice of law anyway.

25    91.    The State Bar opened an investigation, but no public discipline resulted from the investigation.
      92.    Although the State Bar represented that all confidential State Bar investigations were scraped by
26
      Kevan Schweitzer and placed on the internet, Plaintiff did not receive a notice of the data breach from
27
      the State Bar about the data breach of the confidential State Bar investigation although the State Bar has
28
      plaintiff’s current mail and email address. Plaintiff is informed, believes, and alleges thereon that either
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1     the notice was put in spam or not sent on the basis that the State Bar received his identity and tort claim
2     form on or about March 14, 2022 before the notices of breach were sent out in May 2022 in an attempt
3     to eliminate him as a representative of the class.

4     93.     Because John Roe 1 already works in the world of cybersecurity he had already spent a
      considerable amount of money and time setting up a robust system which has prevented the
5
      phishing/spam emails and phone calls that others have experienced. It would be unreasonable to expect
6
      others to have spent thousands of dollars on such a robust system, thus the fact that this part of harm did
7
      not exist in this plaintiff’s situation does not make him representative of the class. On the other hand, he
8
      is uniquely qualified to testify to just how much money and time he had to spend in order to prevent
9     phishing/spam due to the impact of the data breach.
10    94.     The attorney plaintiff complained about was not his former attorney but an adversary in the local
11    community who has multiple allies.
12    95.     Like the other plaintiffs and members of the class, John Roe 1’s belief in justice or integrity in
13    the system has been further damaged or destroyed, feeling violated by a system that was supposed to

14    protect him from his adversaries and their allies. He now has no faith in the integrity of the state bar
      system or that it is set up to assure justice. He also must now take the time out of everyday life to
15
      mitigate the actual and potential impact of the data breach by closely reviewing and monitoring phone
16
      calls, emails for phishing attacks and the internet for docket activity to reappear or get circulated by his
17
      adversaries or their allies.
18
      96.     Plaintiff suffered privacy harm and a great loss of peace of mind.
19                                                   JOHN ROE 3
20    97.     Plaintiff ,John Roe 3 substituted in for Jane Roe 1 is a resident of Sutter County, California.
21    98.     He previously made a complaint about an attorney with the State Bar of California that did not
22    result in public discipline which resulted in a confidential State Bar investigation prior to the breach. On
23    or about June 13, 2020 he received a notice from the State Bar that it had opened an investigation into
24    the matter and assigned a case matter to it.

25    99.     He is not an attorney and works at a family ranch and lounge.
      100.    Plaintiff sues under the pseudonym of “John Roe 3.” to protect his legitimate interests in his
26
      privacy.
27
28

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1     101.    On May 23, 2022 he received an email notifying him that his identity along with the confidential
2     state bar investigation was found posted on the internet, but it was represented to him that there were
3     “no page views” in the notice he received.

4     102.    John Roe 3 was left exposed and as a result, he received an unusual amount of phishing/scam
      phone calls after the breach interfering with his daily life (approximately ninety-nine in one day) costing
5
      him loss of time, annoyance, and money. Additionally, someone used his social security number other
6
      than himself.
7
      103.    John Roe 3 is informed and believes and alleges thereon that his information that was exfiltrated
8
      from the State Bar included his phone number and was placed on the dark web based on the number of
9     calls plaintiff John Roe 3 received thereafter. The purpose of keeping a complainant’s identity
10    confidential to act as a safety valve for the complainant who feels violated by an attorney has been
11    eroded by the data breach for John Roe 3
12    104.    He has lost money in mitigation of the spam/phishing; loss of time by now having to deal with
13    the actual and potential impact of the data beach in his daily life by having to closely review and

14    monitor his emails and phone call. He spent approximately $395.00 due to breach. His belief in justice
      or integrity in the system has been further damaged or destroyed, feeling violated by a system that was
15
      supposed to protect him from his adversaries and their allies. He now experiences overwhelming
16
      outbursts of frustration, paranoia and stress as a result. Hearing of another data breach in the news or
17
      online triggers a PTSD type of response of immediately reminding the plaintiff of this data breach and
18
      the irreparable harm that it has caused which is hard to put into words other than an emotional harm of
19    anxiety, paranoia, anger, and serious distress. Plaintiff now has the burden of continuing to monitor his
20    credit based on unauthorized use of his social security number plus the internet to see if the information
21    attached to his identity will reappear. He has suffered a great loss of peace of mind.
22    105.    A tort claim form was filed with the State Bar prior to this complaint being filed on March 18,
23    2022 on his behalf and all others similarly situated. The State Bar denied the claim a few weeks

24    thereafter.
      106.    Plaintiff’s suffered privacy harm as a result of the data breach.
25
                                                     JANE ROE 2
26
      107.    Plaintiff, Jane Roe 2, at all times mentioned herein relevant to this complaint was a former judge
27
      licensed by the State Bar of California and resident of San Diego County, California and was the subject
28
      of a confidential investigation filed with the State Bar of California.
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1     108.   Plaintiff sues under the pseudonym of “Jane Roe 2” to protect her legitimate interests in her
2     privacy.
3     109.   Plaintiff Jane Roe 2 was investigated for a medical condition and is informed and believes and

4     alleges thereon that the State Bar file contains her private medical records. No public disciplinary action
      is shown on her member profile.
5
      110.   A claim was filed with the State Bar on her behalf on March 14, 2022 prior to the filing of this
6
      lawsuit and was later denied by the State Bar. On or about September 20, 2022, another claim was filed
7
      with the State Bar in her own name, revealing her identity to the defendants but that claim was denied,
8
      too.
9     111.   The ADA protects Plaintiff Jane Roe 2, and she has no knowledge of receiving a notice of
10    breach from the State Bar but is well aware that a private investigation was in her file at the State Bar.
11    112.   As a result, plaintiff is informed and believes and alleges thereon that the State Bar failed to
12    send out notices that would comply with the ADA in such a manner that plaintiff would know she
13    received one or the defendants knew of plaintiff’s identity and purposefully failed to give her notice in

14    order to attempt to eliminate her as a representative of the class although the State Bar represented that
      all confidential State Bar investigations were scraped by Kevan Schweitzer and placed on the internet,.
15
      113.   The State Bar has broad powers to compel any attorney at any time in their career, including
16
      former judges, to submit to a physical or psychological medical exam and to place that attorney on
17
      inactive status simply if the attorney refuses to comply. The purpose of keeping an attorney’s identity
18
      confidential under this section of the State Bar as with any other confidential investigation in that such
19    public disclosure would cause irreparable harm to their reputation. It is also supported by HIPAA, the
20    California Medical Information Act, and the Lanterman-Petris Short Act. The State Bar codes its
21    disciplinary proceedings under this section differently which is “docket type” of information that was
22    consistent with the Notices that at least six such instances were discovered online leading to harm.
23    114.   Plaintiff’s harm whether potential or actual, based on the impact of this data breach, has caused a

24    time loss in plaintiff’s everyday life trying to make sure that this docket information attached to her
      identity is not reappearing anywhere online. She also believes she lost money as a result of the breach.
25
      115.   The data breach has exacerbated plaintiff’s emotional distress with dealing with the state bar and
26
      retriggered PTSD.
27
      116.   Plaintiff suffered privacy harm. She has suffered a great loss of peace of mind.
28

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1                                                   CHAD PRATT
2     117.   Plaintiff, Chad Pratt, at all times mentioned herein relevant to this complaint is an attorney
3     licensed by the State Bar of California and resident of Los Angeles County, California and was the
4     subject of a confidential investigation filed with the State Bar of California.

5     118.   Plaintiff sues under the pseudonym of “Chad Pratt” to protect his legitimate interests in his
      privacy.
6
      119.   Plaintiff Chad Pratt is a solo practitioner protecting consumers in litigation and/or criminal
7
      defense and was investigated for representing homeowners seeking loan modifications approximately a
8
      decade ago. He has a disciplinary record wherein he has been disciplined repeatedly over the same
9
      practice when new complaints are made by those who sought services a decade ago. A claim was filed
10    with the State Bar on his behalf on March 14, 2022 prior to the filing of this lawsuit and was later
11    denied by the State Bar. On or about September 20, 2022, another claim was filed with the State Bar in
12    his own name.
13    120.   On May 21, 2022, the State Bar drafted a letter informing Chad Pratt he was going to be charged
14    with a new State Bar investigation unrelated to loan modifications that had occurred approximately 3 to

15    4 years prior in federal court.
      121.   On May 22, 2022, the very next day, Chad Pratt received a Notice of the breach informing him
16
      that his identity was found on JudyRecords.com in relation to a confidential state bar investigation but it
17
      purportedly had “no page views.”
18
      122.   Because the confidential state bar investigation letter from the State Bar dated May 21, 2022
19
      concerned matters that predated the breach, Chad Pratt is informed and believes and alleges thereon that
20    the State Bar decided to begin the investigation process because Chad Pratt’s confidential investigation
21    had a page view on Judyrecords.com even though the notice they sent said there was no evidence of
22    page views, thus causing him harm.
23    123.   Chad Pratt spent approximately $75.00 in mitigation of the data breach to obtain
24    antivirus/monitoring services because he started to receive spam/phishing emails and/or phone calls

25    after the breach. Plaintiff must now take time and effort to mitigate the actual and potential impact of
      the data breach on his everyday life by closely reviewing and monitoring phone calls, emails for
26
      phishing attacks, case dockets to ensure that this cases or cases do not reappear or get circulated to his
27
      adversaries or their allies to further impugn his reputation or character.
28

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1     124.   Hearing of any data breach or the state bar results in triggering PTSD type symptoms where he
2     feels like he is having a nervous breakdown, including extreme worry, anger, distress, paranoia, feeling
3     of being thrown into the middle of a corrupt system like fodder and retaliation by the state bar. He also

4     is experiencing paranoia that his adversaries and former clients upon learning of these other confidential
      investigations will jump on the wagon to obtain money or benefits through the Client Security Fund
5
      system or him directly akin to extortion causing further money loss or further reputational harm.
6
      125.   He has suffered a great loss of peace of mind.
7
                                                          NZ
8
      126.   Plaintiff, NZ, at all times mentioned herein relevant to this complaint is an attorney licensed by
9
      the State Bar of California and resident of Los Angeles County, California and was the subject of a
10    confidential investigation filed with the State Bar of California.
11    127.   Plaintiff has no public record of discipline and sues under the pseudonym of “NZ” to protect his
12    legitimate interests in his privacy.
13    128.   Plaintiff NZ is a solo practitioner protecting consumers in litigation and was investigated by
14    State Bar of California which did not result in public discipline.

15    129.   A claim was filed with the State Bar on his behalf on March 14, 2022 prior to the filing of this
      lawsuit and was later denied by the State Bar. On or about September 20, 2022, another claim was filed
16
      with the State Bar in his own name.
17
      130.   On May 18, 2022, NZ received a Notice of the State Bar data breach informing him that his
18
      identity was found on JudyRecords.com in relation to a confidential state bar investigation and it had
19
      “page views” resulting in a serious invasion of his privacy.
20    131.   Since the data breach, NZ has been inundated with multiple State Bar investigations, mainly
21    frivolous complaints about which he is seriously concerned.
22    132.   Because the confidential state bar investigation letters from the State Bar concern matters that
23    predated the breach, NZ is informed and believes and alleges thereon that the State Bar decided to begin
24    the investigation process because NZ’s confidential investigation had a page view on Judyrecords.com

25    causing him harm.
      133.   NZ seeks to preserve his reputation in California and filing of any public disciplinary charges
26
      would irreparably harm him.
27
      134.   NZ has suffered a great loss of peace of mind.
28

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1                                                   The Conspiracy
2     135.   Plaintiffs and members of the class allege they were not only harmed by the data breach, but also
3     by the later delay in notification and coverup of the nature and extent of the breach. Discovery is
4     continuing into this area and plaintiffs reserve the right to amend the pleadings as the information is in

5     the possession and control of the defendants.
      136.   Plaintiffs and the members of the putative class claim that they were harmed by the Defendants
6
      Tyler Technologies, Rick Rankin, the State Bar of California, Does 4 through 10, Kevan Schwitzer,
7
      Jeremy Ward and E-Magined, statutory violations, and/or constitutional violations alleged herein and
8
      that Tyler Technologies, Rick Rankin and the State Bar of California, and Does 4 through 10 are each
9
      responsible for the harm because they were part of a conspiracy to commit the torts, statutory violations,
10    and/or constitutional violations in order to cover up and obfuscate the nature and extent of the data
11    breach leading to the delay in notification, if any at all to the plaintiffs and the members of the class.
12    137.   Defendants agreed orally or in writing or implied by the nature of the acts done to unreasonably
13    delay notification of the data breach and mislead the plaintiffs and members of the class of the nature
14    and extent of the breach, in an effort to coverup the larger data breach aka to commit a wrongful act as

15    more fully described in this pleading.
      138.   That Tyler Technologies, Rick Rankin and State Bar of California were aware that the
16
      Notifications were going to be worded with “page views” that “docket information” normally does not
17
      contain medical information from a §6007 proceeding or a social security number and that this breach
18
      was not contained to JudyRecords.com nor was it limited to State Bar of California records so Tyler
19
      Technologies and their clients wanted this breach covered up planned to commit a wrongful act as more
20    fully described in this pleading in order to cover up the true nature and extent of the breach.
21    139.   Tyler Technologies, Rick Rankin and State Bar of California agreed with each other and with
22    Jeremy Ward and Kevan Schweitzer and others and intended that the wrongful act(s) leading to the
23    delayed notification and coverup of the nature and extent of the breach alleged to have been committed.
24    140.   Even if Defendants Rick Rankin, Tyler Technologies and/or the State Bar of California did not

25    personally commit a wrongful act or did not know all of the details of the agreement or the identities of
      all of the other participants, Defendants, and each of them still conspired to commit a wrongful act of
26
      covering up the data breach as more fully described in the pleadings.
27
      141.   Defendants’ participation can be inferred from circumstances, including the nature of the acts
28
      done, the relationships between the parties, and the interests of the alleged coconspirators.
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1                                 Vicarious Liability of Tyler Technologies, Inc.
2     142.    Jeremy Ward and Doe Defendants 4 through 5 were Tyler Technologies employee and/or
3     agent; and Jeremy Ward and Doe Defendants 4 through 5 were acting within the scope of its
4     employment and/or agency when it harmed plaintiffs and members of the class making Tyler

5     Technologies, Inc. jointly and severally liable.
                                              CLASS ALLEGATIONS
6
      143.   Class Definition: Plaintiffs bring this suit as a class action on behalf of themselves and all other
7
      similarly situated persons as a member of a Class defined as follows:
8
                 a. All persons identified in the approximately 322,525 confidential aka “nonpublic”
9
                     California State Bar records received by Kevan Schwitzer, the owner/operator of
10
                     https://JudyRecords.com.
11    144.   Excluded from the Class are the Court, plaintiffs’ counsel, Defendants, and their affiliates,
12    subsidiaries, current or former employees, officers, directors, agents, representatives, and their family
13    members.
14    145.   Numerosity: The persons who comprise the Plaintiff Class are so numerous that the joinder of
15    all such persons is impracticable and the disposition of their claims as a class will benefit the parties and

16    the Court. Class members are so numerous and are dispersed throughout the state that joinder of all
      Class members is impracticable. Class members can be identified, inter alia, through records
17
      maintained by the Defendants.
18
      146.   Common Questions of Fact and Law: Nearly all factual, legal, statutory, declaratory, and
19
      injunctive relief issues that are raised in this Complaint are common to the Plaintiff Class and will apply
20
      uniformly to every member of the Plaintiff Class.
21    147.   Defendants have acted or refused to act on grounds generally applicable to the class.
22    148.   A class action is superior to other methods for the fast and efficient adjudication of this
23    controversy and to avoid the risk of disparate and inconsistent rulings in different courts. A class action
24    regarding the issues in this case does not create any problems of manageability.
25    149.   The nature of notice to the proposed class required and/or contemplated would Defendant’s list,

26    when disclosed, would most likely be notice through email from Defendant’s list which already
      identifies the complainants and attorney members along with their contact information, including email
27
      is the best practicable method possible. Also, mailing, media, the internet and/or other general notices
28
      are contemplated to ensure notice.
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1                                          FIRST CAUSE OF ACTION
2                                 Invasion of Privacy – Cal Constitution Art 1 § 1
3        (Plaintiff Jane Roe 2, Chad Pratt, NZ and those Similarly Situated Against Defendant State
                                              Bar of California)
4
      150.   Plaintiffs incorporate herein by reference paragraphs 1 through 149 above in this pleading as
5
      though fully set forth herein.
6
      151.   First Defendant State Bar of California harmed plaintiffs’ Chad Pratt, Jane Roe 2, NZ and
7     members of the Class that are attorneys.
8     152. Defendant State Bar of California amassed a vast amount of approximately 370,489 State Bar
9     investigations which the Office of Chief Trial Counsel initiated against its members of which 322,525
10    were confidential.
11    153. The 322,525 confidential State Bar investigations found on the internet in 2022 exceeded the State

12    Bar of California’s reported membership of 268,179 licensed attorneys in 2022.
      154. Plaintiff is informed and believes and alleges thereon that the Office of Chief Trial Counsel had
13
      been overreaching in its authority with impunity by investigating its own members without probable
14
      cause collecting information on them that they could not otherwise obtain because approximately
15
      ninety-six percent (96%) of the State Bar members totaling 256,159 had one or more confidential State
16
      Bar investigation posted JudyRecords.com attached to their identity.
17
      155. This overreach by Defendant State Bar of California of investigating approximately ninety-six
18    percent (96%) of the membership and amassing over 322,525 confidential State Bar investigations in its
19    database - discovered on or about February 24, 2022 as a result of the data breach - was either a serious
20    invasion of the members privacy or an egregious breach of the social norms underlying the members’
21    privacy rights.

22    156. Plaintiffs and the class had a legally protected privacy interest to be free from government
      intrusion without a legitimate purpose for investigation such as a probable cause or a serious suspicion
23
      that the member had committed a disciplinable offense.
24
      157.   Plaintiffs and the class had a reasonable expectation of privacy that any state bar investigation
25
      would not be instituted or maintained without a reasonable suspicion or probable cause under Bus &
26
      Prof Code § 6044 in order to conform to the members’ constitutional rights.
27
      158.   Defendant State Bar of California's conduct by investigating its members in mass without a
28    legitimate purpose constituted a serious invasion of the plaintiffs’ and Class members’ privacy.

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1     159. The State Bar use of its expansive power to investigate its own members without a legitimate
2     purpose such as probable cause or a serious suspicion that the member had committed a disciplinable
3     offense was and remains an egregious breach of the social norms underlying their privacy rights of

4     which has not been seen since the days of McCarthyism (except for the most exceptional situations that
      do not apply here such as the FISA Court wherein national security interests to thwart terrorism are
5
      weighed).
6
      160.    Investigations by the State Bar on such a massive scale was an egregious breach of the social
7
      norms underlying the plaintiffs’ and Class members’ privacy rights that has not been seen since the
8
      days of McCarthyism and/or was an impact on the privacy of plaintiffs’ and the Class privacy rights that
9     is more than slight or trivial.
10    161.    To the extent that the confidential State Bar investigation may have been outside the statute of
11    limitations, plaintiffs invoke the delayed discovery rule to toll the statute of limitations on the grounds
12    that (1) plaintiffs did not discover the State Bar had a confidential investigation in its database or had
13    even conducted a confidential State Bar investigation against the plaintiff or class; and (2) plaintiffs and

14    the class were unable to have made earlier discovery of this fact on the grounds that State Bar uses its
      Rules of Procedure and Bus & Prof Code §6086.10 in refusing to divulge the existence of a confidential
15
      State Bar investigation to its own members.
16
      162.    As a direct and proximate result, Plaintiffs have suffered a privacy injury and Defendant State
17
      Bar of California was a substantial factor in causing that harm.
18
      163.    Second, Defendant State Bar of California, Rick Rankin and Tyler Technologies, Inc. harmed
19    Plaintiff NZ and approximately 1,300 other members of the Class who received notice that a
20    confidential State Bar investigation was posted on JudyRecords.com and had evidence of a “page view”
21    by Does 4 through 10.
22    164. Plaintiff NZ and the class comprising of approximately 1,300 State Bar members had a legally
23    protected privacy interest in not having their identity revealed in connection with the approximately

24    1,034 confidential state bar investigations that were posted on the internet where other people had
      viewed them.
25
      165.    Plaintiff NZ and the class of 1,300 had a reasonable expectation of privacy that any state bar
26
      investigation would remain confidential unless or until a notice of disciplinary charges was filed and
27
      that their identity until that time would remain confidential because it was part of common law and
28
      codified in Bus & Prof Code § 6086.1.

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1     166.   Defendant State Bar of California’s failure to either (1) hire an Information Technologies
2     Director to perform reasonable security measures that would have discovered the security vulnerability;
3     or (2) use reasonable security measures such as using encryption in order to prevent the public posting

4     of plaintiffs and the members of the class identity on the internet in connection with a confidential state
      bar investigation was conduct that resulted in an unjustified and serious invasion of privacy.
5
      167.   Defendant State Bar of California and Does 4 through 10’s conduct, jointly and severally,
6
      constituted a serious invasion of privacy causing privacy harm.
7
      168.   Plaintiffs are informed and believe that Defendant State Bar of California still has not encrypted
8
      or redacted the information before going back online and taken other standard industry security
9     measures leaving plaintiffs at further risk warranting injunctive relief.
10    169.   As a result of the breach, Plaintiffs and members of the class suffered a privacy injury by having
11    their identity posted on the internet in relation to a confidential state bar investigation and plaintiffs and
12    the class will continue to suffer harm in the future on the grounds they will forever e the targets of time
13    consuming and annoying spam, phishing schemes and be burdened with spending time and financial

14    resources to ensure that the information does not reappear again on the internet.
      170.   Privacy damage to plaintiffs John Roe 1, John Roe 3, Jane Roe 2, Chad Pratt, NZ and all
15
      members of the Class resulted in general damages causing the plaintiffs great loss of peace of mind,
16
      humiliation, shame, mortification, and grievous mental pain and suffering.
17
      171.   Reputation damage to plaintiff NZ and the other 1,300 class members resulted in general
18
      damages causing plaintiffs great humiliation, shame, mortification, and grievous mental pain and
19    suffering, and tends to injure their personal and business reputation.
20    172.   Plaintiffs and class members must now take their time and effort to mitigate the actual and
21    potential impact of the data breach out of their everyday lives by closely reviewing and monitoring
22    phone calls and emails for phishing attacks and spam; by closely reviewing and monitoring public court
23    docket databases such as Lexis, Westlaw, Justia. LegalEagle, Casetext, Google Scholar and the like to

24    ensure that their identity associated with a confidential state bar investigation does not reappear on the
      internet or get circulated by his or her adversaries and their allies to impugn the reputation and character
25
      of the plaintiff or class member. Plaintiffs and the class members also must be ever vigilant against
26
      retaliatory actions against them by the state bar or others and their reputation has been irreparably
27
      harmed. Plaintiffs and the class members have spent money on antivirus services including but not
28
      limited to Norton LifeLock, McAfee, Experian Credit Monitoring and/or other brand credit and dark

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1     web monitoring service to assist in monitoring the dark web, their credit reports for added docket
2     activity and phishing scams.
3     173.    Plaintiffs have also experienced emotional harm of PTSD like symptoms whenever they hear of

4     another data breach because this data breach has caused them paranoia, anger, severe distress and a
      mistrust of the integrity of the state bar or justice as alleged by the plaintiff’s experiences above. Unlike
5
      other breaches, this one includes the risk of retaliation by adversaries and their allies or the state bar. It
6
      also includes a known irreparable harm to one’s reputation affecting their professional livelihood.
7
      174.    As such, Plaintiffs and the Class members are entitled to damages and injunctive relief against
8
      all Defendants.
9     175.    Plaintiffs and the Class are entitled to costs and reasonable attorney fees.
10                                         SECOND CAUSE OF ACTION
11                                                     Negligence
12                          (All Plaintiffs against Defendants Tyler Technologies, Inc.)
13                                        (Demurrer Overruled 01-12-2024)
14    176.    Plaintiffs incorporate herein by reference paragraphs 1 through 175 above in this pleading as

15    though fully set forth herein.
      177.    This cause of action is being brought on behalf of all Plaintiffs and all members of all Classes.
16
      178.    Plaintiffs and all class members identity was posted on the internet in connection with a
17
      confidential state bar matter.
18
      179.    Defendant Tyler Technologies was negligent for failure to have an or an adequate access control
19
      check on its product called Odyssey, the failure of which was below industry standards.
20    180.    An access control check is reasonable security measures to protect the access of personal or
21    confidential information from third parties.
22    181.    Defendant Tyler Technologies as the software developer and the State Bar of California as the
23    initiator of confidential investigations and collector of personal information owed plaintiffs and
24    members of the class a duty to implement and maintain adequate security measures to safeguard

25    plaintiffs’ personal information and existence of state bar investigations consistent with public policy,
      state bar policies, statutes, and California privacy laws.
26
                  a. It was foreseeable that plaintiffs and the class would be harmed if Tyler Technologies’
27
                      Odyssey failed to have an access control check because it sold the product to the State
28

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1                    Bar of California for its use in OCTC where confidential state bar investigations take
2                    place.
3                b. It was reasonably certain that the plaintiffs and members of the class suffered a privacy

4                    injury without a proper access control check on Odyssey after the State Bar started to use
                     it.
5
                 c. Defendant’s conduct is closely connected to the injuries the plaintiffs suffered.
6
                 d. Defendant Tyler Technologies bears some moral blame for failing to protect confidential
7
                     information by failing to have an access control check in place in the Odyssey platform
8
                     that it sold to the State Bar.
9     182.   It is foreseeable that the identity of the people under investigation, in addition to the identity of
10    the complainants or witnesses would reach the internet when there was no access control check
11    maintained on the Odyssey platform the state bar chose to purchase from Tyler Technologies.
12    183.   Tyler Technologies breached one more of the duties alleged above which was a proximate cause
13    of plaintiffs and the members of classes’ harm.

14    184.   As a result of the breach, Plaintiffs and members of the class suffered a privacy injury by having
      their identity posted on the internet in relation to a confidential state bar investigation and plaintiffs and
15
      the class will continue to suffer harm in the future on the grounds they will forever be the targets of time
16
      consuming and annoying spam, phishing schemes and be burdened with spending time and financial
17
      resources to ensure that the information does not reappear again on the internet.
18
      185.   Plaintiffs and class members must now take their time and effort to mitigate the actual and
19    potential impact of the data breach out of their everyday lives by closely reviewing and monitoring
20    phone calls and emails for phishing attacks and spam; by closely reviewing and monitoring public court
21    docket databases such as Lexis, Westlaw, Justia. LegalEagle, Casetext, Google Scholar and the like to
22    ensure that their identity associated with a confidential state bar investigation does not reappear on the
23    internet or get circulated by his or her adversaries and their allies to impugn the reputation and character

24    of the plaintiff or class member. Plaintiffs and the class members also must be ever vigilant against
      retaliatory actions against them by the state bar or others and their reputation has been irreparably
25
      harmed. Plaintiffs and the class members have spent money on antivirus services including but not
26
      limited to Norton LifeLock, McAfee, Experian Credit Monitoring and/or other brand credit and dark
27
      web monitoring service to assist in monitoring the dark web, their credit reports for added docket
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      activity and phishing scams.

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1     186.    Plaintiffs have also experienced emotional harm of PTSD like symptoms whenever they hear of
2     another data breach because this data breach has caused them paranoia, anger, severe distress and a
3     mistrust of the integrity of the state bar or justice as alleged by the plaintiff’s experiences above. Unlike

4     other breaches, this one includes the risk of retaliation by adversaries and their allies or the state bar. It
      also includes a known irreparable harm to one’s reputation affecting their professional livelihood.
5
      187.    As a direct and proximate cause, defendant Tyler Technologies was a substantial factor in
6
      causing the harm suffered by the plaintiffs and members of the class including but not limited to loss of
7
      money, lost time and increase in spam/phishing due to the breach.
8
      188.    The harm caused by the defendant resulted in damage to the plaintiffs and members of the class
9     in an amount to be proven at trial.
10                                           THIRD CAUSE OF ACTION
11                           Govt Code §815.6 Liability – Negligence of Public Entity
12                   (All Plaintiffs and the Class against Defendant State Bar of California)
13                                          (Demurrer Overruled 01-12-2024)
14    189.    Plaintiffs incorporate herein by reference paragraphs 1 through 188 above in this pleading as

15    though fully set forth herein.
      190.    This cause of action is being brought on behalf of all Plaintiffs and all members of the class.
16
      191.    The identity of the plaintiffs and all members of the class was posted on the internet in
17
      connection with a confidential state bar investigation because the State Bar of California failed to use
18
      reasonable care in keeping this information confidential.
19
      192.    Defendant State Bar of California was under a mandatory duty to:
20                a. Keep all State Bar investigations confidential unless and until public notice of
21                    disciplinary charges were filed pursuant to Bus. & Prof. Code §6086.1 and State Bar
22                    Rules of Procedure, Rules 2301 and 2302.
23                b. Keep all State Bar §6007 investigations confidential which contained medical
24                    information pursuant to Cal Civ Code §56.36, Welf & Inst Code §5330, Bus. & Prof.

25                    Code §6086.1, and State Bar Rules of Procedure, Rules 2301 and 2302.
                  c. Keep all the plaintiffs and class social security numbers confidential pursuant to Cal Civ
26
                      Code §1798.85-89, Bus. & Prof. Code §6086.1, and State Bar Rules of Procedure, Rules
27
                      2301 and 2302.
28

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1     193.    The enactment of these statutes and rules were designed to protect against the type of harm
2     (privacy harm) suffered by the plaintiffs and members of the class.
3     194.    The State Bar is under no obligation to investigate any one member of the bar; however, it chose

4     to do so, bringing about an additional duty to refrain from engaging in conduct that places the person
      under investigation or the witnesses and complainants at risk. Once the State Bar collects confidential
5
      information, it is not the rule of the bar or its officers to distribute that confidential information or allow
6
      it to be distributed onto the internet.
7
      195.    The scope of the agency’s powers to initiate confidential investigations and collect confidential
8
      information without notifying the member of the investigation or the contents thereof is broad.
9     196.    But the scope of the bar’s authority, when it undertakes to collect this information and begin an
10    investigation obligates the bar to then make sure such confidential information or investigation it
11    initiates is securely stored away from public view which plaintiffs would expect to be consistent with
12    the State Bar’s own Ethics Opinion on this issue No. 20-0004 published on or about August 10, 2021.
13    197.    Defendant State Bar of California as the initiator of confidential investigations and collector of

14    personal information owed plaintiffs and members of the class a duty to implement and maintain
      adequate security measures to safeguard plaintiffs’ personal information and existence of nonpublic
15
      state bar investigations consistent with public policy, state bar policies, statutes, and California privacy
16
      laws.
17
                  a. It was foreseeable that plaintiffs and the class would be harmed if the State Bar of
18
                       California failed to use reasonable care in ensuring confidential state bar investigations
19                     were securely stored in a way third parties could not access them or if they did could not
20                     read them because they were encrypted.
21                b.   It was reasonably certain that the plaintiffs and members of the class would suffer a
22                     privacy injury if those confidential investigations were made public.
23                c. Defendants’ conduct is closely connected to the injuries the plaintiffs suffered.

24                d. Defendant State Bar of California bears some moral blame for failing to protect the
                       confidential information it collected and confidential investigations it instituted on
25
                       persons who likely did not even know there was a State Bar investigation instituted and
26
                       continues to not know the details, nature or extent of those investigations.
27
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1     198.   It is foreseeable that the identity of the people under investigation, in addition to the identity of
2     the complainants or witnesses would reach the internet when there was no access control check
3     maintained on the Odyssey platform the state bar chose to purchase from Tyler Technologies.

4     199.   The State Bar breached one more of the duties alleged above which was a proximate cause of
      plaintiffs and the members of classes’ harm.
5
      200.   As a result of the breach, Plaintiffs and members of the class suffered a privacy injury by having
6
      confidential investigation or other matter held by the state bar posted on the internet along with their
7
      identity. Plaintiffs will continue to suffer harm in the future on the grounds they will now be burdened
8
      with ensuring that the information does not reappear on the internet.
9     201.   As a direct and proximate cause, Defendant State Bar of California was a substantial factor in
10    causing the harm suffered by the plaintiffs and members of the class including but not limited to loss of
11    money, lost time and increase in spam/phishing due to the breach.
12    202.   As a result of the breach, Plaintiffs and members of the class suffered a privacy injury by having
13    their identity posted on the internet in relation to a confidential state bar investigation and plaintiffs and

14    the class will continue to suffer harm in the future on the grounds they will forever be the targets of time
      consuming and annoying spam, phishing schemes and be burdened with spending time and financial
15
      resources to ensure that the information does not reappear again on the internet.
16
      203.   Plaintiffs and class members must now take their time and effort to mitigate the actual and
17
      potential impact of the data breach out of their everyday lives by closely reviewing and monitoring
18
      phone calls and emails for phishing attacks and spam; by closely reviewing and monitoring public court
19    docket databases such as Lexis, Westlaw, Justia. LegalEagle, Casetext, Google Scholar and the like to
20    ensure that their identity associated with a confidential state bar investigation does not reappear on the
21    internet or get circulated by his or her adversaries and their allies to impugn the reputation and character
22    of the plaintiff or class member. Plaintiffs and the class members also must be ever vigilant against
23    retaliatory actions against them by the state bar or others and their reputation has been irreparably

24    harmed. Plaintiffs and the class members have spent money on antivirus services to assist in monitoring
      the dark web, their credit reports for added docket activity and phishing scams.
25
      204.   The harm caused by the defendant resulted in damage to the plaintiffs and members of the class
26
      in an amount to be proven at trial.
27
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1                                         FOURTH CAUSE OF ACTION
2                                            Govt Code §815.4 Liability
3                            (All Plaintiffs against Defendant State Bar of California)
4     205.    Plaintiffs incorporate herein by reference paragraphs 1 through 204 above, paragraphs 215

5     through 247 below in this pleading as though fully set forth herein.

6     206.    This cause of action is being brought on behalf of all Plaintiffs and all members of the class.
      207.    Defendant State Bar of California was under a mandatory duty to keep all State Bar
7
      investigations confidential unless and until public notice of disciplinary charges were filed pursuant to
8
      Bus. & Prof. Code §6086.1 and State Bar Rules of Procedure, Rules 2301 and 2302.
9
      208.    The enactment was designed to protect against the type of harm (privacy harm) suffered by the
10
      plaintiffs and members of the class.
11    209.    Defendant Rick Rankin was an independent contractor hired by the State Bar of California at an
12    annual salary of approximately $126,000.00 to act as the interim Information Technologies Director and
13    was under a duty to maintain reasonable security measures at the State Bar yet Defendant failed to
14    exercise reasonable care in preventing the data breach.

15    210.    Defendant Rick Rankin was under a duty to make sure that industry standards were employed

16    by the State Bar and he breached his duty when the bar failed maintain cybersecurity industry standards
      such as continuous vulnerability management, conducting regular penetration testing and other security
17
      testing, encryption of confidential records to ensure things like access control checks were in place, and
18
      if not, the data would not be readable if posted on the internet.
19
      211.    He also failed to ensure the State Bar deleted old confidential investigations that did not lead to
20
      public discipline. Defendant Rick Rankin also failed to ensure the state bar adopted and enforced
21    retention and destruction policies which led to approximately 322,525 confidential state bar
22    investigations that had not resulted in public discipline to be scraped and/or harvested and posted onto
23    the internet.
24    212.    Failure to implement these reasonable security measures (CIS Controls) proximately led to the

25    data breach alleged herein.

26    213.    Defendant Rick Rankin’s unreasonable care was a substantial factor in the State Bar of
      California’s breach of this mandatory duty and was the direct and proximate cause of injury suffered by
27
      the plaintiffs’ and members of the class such as privacy harm, mitigation costs, and loss of time.
28

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1     214.   As a result of the breach, Plaintiffs and members of the class suffered a privacy injury by having
2     confidential investigation or other matter held by the state bar posted on the internet along with their
3     identity. Plaintiffs will continue to suffer harm in the future on the grounds they will now be burdened

4     with ensuring that the information does not reappear on the internet.
      215.   As a further direct and proximate cause, plaintiffs and the class are left to speculate how many of
5
      those confidential state bar investigations were they the target of considering there were more
6
      confidential state bar investigations posted on the internet than active members of the bar and how
7
      invasive the state bar has been in the members affairs leading to anxiety, stress and fear that this could
8
      land in the hands of their adversaries or their allies causing future harm to their career or reputation.
9     216.   The State Bar of California is liable for Rick Rankin’s failure to use reasonable care under Govt
10    Code §815.4.
11                                          FIFTH CAUSE OF ACTION
12                                                    Negligence
13                                     (All Plaintiffs against All Defendants)
14    217.   Plaintiffs incorporate herein by reference paragraphs 1 through 216 above in this pleading as

15    though fully set forth herein.

16    218.   This cause of action is being brought on behalf of all Plaintiffs and all members of the class.
      219.   Tyler Technologies, Inc.: Defendant Tyler Technologies was under a duty to build and
17
      maintain its Odyssey case management system including the Odyssey Portal with reasonable security
18
      measures in place, including adequate access control so only authorized users could gain access to
19
      confidential State Bar investigations from the State Bar’s database. .
20
      220.   On or about February 2016, the California Department of Justice defined what “constitutes a
21    lack of reasonable security” to include the CIS Controls published by the Center for Internet Security's
22    Critical Security Controls (CIS Controls) in the California Data Breach Report 2012-2015 (Feb. 2016)
23    at p. v (available online at https://oag.ca.gov/privacy/databreach/list). These CIS Controls (available at
24    https://www.cisecurity.org/controls) include:

25               a. Control 01: Inventory and Control of Enterprise Assets

26               b. Control 03: Data Protection
                 c. Control 06: Access Control Management
27
                 d. Control 07: Continuous Vulnerability Management
28
                 e. Control 14: Security Awareness and Skills Training
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1                  f. Control 15: Service Provider Management
2                  g. Control 16: Application Software Security
3                  h. Control 17: Incident Response Management

4                  i. Control 18: Penetration Testing
      221.   Defendant Tyler Technologies breached its duty of care by failing to meet industry data
5
      security standards (CIS Controls) in creating and maintaining Odyssey Case Management system
6
      including the Odyssey Portal.
7
      222.   As a result of Defendant Tyler Technologies’ breach, the plaintiffs and members of the Class
8
      were harmed because 322,525 confidential State Bar investigations that included the plaintiffs’ and
9     Class members’ identities were exfiltrated, harvested and/or scraped by judyrecords.com in or about
10    October 10, 2021 and placed on the internet.
11    223.   State Bar of California: Defendant State Bar of California also owed the plaintiffs and all
12    members of the class a duty to keep the state bar investigations confidential unless and until formal
13    public disciplinary charges were filed and to employ an Information Technologies Director that would

14    adequately perform reasonable security measures to maintain the confidentiality of these records.
      224.   Defendant State Bar of California breached its duty in violation of Cal. Bus. & Prof. Code §
15
      6086.1, Rule 2301, Rule 2302 and/or Cal Const Art. 1 § 1 because the confidential state bar
16
      investigations were released onto the internet with the identification of the plaintiffs attached to them as
17
      more fully alleged above.
18
      225.   Defendant State Bar of California also breached its duty to employ an Information Technology
19    Director with the education, experience and skillset to perform reasonable security measures including
20    industry standard CIS Controls by employing Defendant Rick Rankin of RPR Impact.
21    226.   Defendant State Bar of California was also under a duty to notify the plaintiffs promptly of the
22    data breach and provide them with a toolset to mitigate any further harm.
23    227.   The California Department of Justice has defined prompt notice of a data breach to mean within

24    10 days.
      228.   The Defendant State Bar of California breached its duty to promptly notify the plaintiffs and
25
      class members of the data breach by delaying notification until May 2022 (nearly 3 months later).
26
      229.   Rick Rankin: Defendant Rick Rankin, as the interim Information Technologies Director of the
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      State Bar of California was under a duty to implement reasonable security measures to safeguard the
28
      322,525 confidential State Bar investigations the State Bar Office of Chief Trial Counsel had amassed

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1     and/or adequately supervise, train and employ those who could implement the reasonable security
2     measure at the State Bar.
3     230.   On or about February 2016, the California Department of Justice defined what “constitutes a

4     lack of reasonable security” to include the CIS Controls published by the Center for Internet Security's
      Critical Security Controls (CIS Controls), NISTR 800-88r1, NISTR SSDF, OWASP, and other
5
      cybersecurity best practices outlined by SAFECode, the Software Alliance, OWASP, the Council of
6
      Registered Security Testers (CREST), and the PCI Security Standards Council. These CIS Controls
7
      (available at https://www.cisecurity.org/controls) include:
8
                 a. Control 01: Inventory and Control of Enterprise Assets
9                b. Control 03: Data Protection
10               c. Control 06: Access Control Management
11               d. Control 07: Continuous Vulnerability Management
12               e. Control 14: Security Awareness and Skills Training
13               f. Control 15: Service Provider Management

14               g. Control 16: Application Software Security
                 h. Control 17: Incident Response Management
15
                 i. Control 18: Penetration Testing
16
      231.   Defendant Rick Rankin breached his duty by failing to perform reasonable security procedures
17
      (or employing, supervising and adequately training the employees within the IT Department to do so) as
18
      outlined by the Center for Internet Security’s Critical Security Controls (CIS Controls) and other
19    industry standards listed above.
20    232.   Defendants Tyler Technologies, Inc., the State Bar of California, and Rick Rankin, and each of
21    them, jointly and severally, were a substantial factor in causing the plaintiffs and Class members’ harm
22    leading to the failure to discover a security vulnerability in the Odyssey case management system,
23    including the Odyssey Portal that resulted in the harvesting, scraping, exfiltration of 322,525

24    confidential state bar investigations that were placed on JudyRecords.com.
      233.   The plaintiffs’ injuries resulted from an occurrence, the nature of which the statute or regulation
25
      or industry data security standard was designed to prevent (designed to prevent a privacy injury).
26
      234.   The plaintiffs and members of the class were people who suffered the injury that the statute was
27
      designed to protect.
28

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1     235.   As a direct and proximate cause of Defendants’ breaches, the plaintiffs and all class members
2     suffered general damages of emotional distress, including but not limited to, fear, anxiety, paranoia,
3     shame, loss of sleep, depression, and spending time and expense trying to figure out what they could do

4     to protect themselves, their reputation and/or their health wellbeing.
      236.   Privacy damage to plaintiffs John Roe 1, John Roe 3, Jane Roe 2, Chad Pratt, NZ and all
5
      members of the Class resulted in general damages causing the plaintiffs great loss of peace of mind,
6
      humiliation, shame, mortification, and grievous mental pain and suffering.
7
      237.   As a result of the breach, Plaintiffs and members of the class suffered general damages in the
8
      form of a privacy injury by having their identity posted on the internet in relation to a confidential state
9     bar investigation and plaintiffs and the class will continue to suffer harm in the future on the grounds
10    they will forever be the targets of time consuming and annoying spam, phishing schemes and be
11    burdened with spending time and financial resources to ensure that the information does not reappear
12    again on the internet.
13    238.   Plaintiffs and class members must now take their time and effort to mitigate the actual and

14    potential impact of the data breach out of their everyday lives by closely reviewing and monitoring
      phone calls and emails for phishing attacks and spam; by closely reviewing and monitoring public court
15
      docket databases such as Lexis, Westlaw, Justia. LegalEagle, Casetext, Google Scholar and the like to
16
      ensure that their identity associated with a confidential state bar investigation does not reappear on the
17
      internet or get circulated by his or her adversaries and their allies to impugn the reputation and character
18
      of the plaintiff or class member. Plaintiffs and the class members also must be ever vigilant against
19    retaliatory actions against them by the state bar or others and their reputation has been irreparably
20    harmed. Plaintiffs and the class members have spent money on antivirus services to assist in monitoring
21    the dark web, their credit reports for added docket activity and phishing scams.
22    239.   Plaintiffs and all class members are entitled to actual damages and general damages against
23    defendants Tyler Technologies, Inc., Rick Rankin, and the State Bar of California, jointly and severally.

24                                          SIXTH CAUSE OF ACTION

25                                                       Deceit

26               (All Plaintiffs against Defendant Tyler Technologies, and Does 4 through 10)
      240.   Plaintiffs incorporate herein by reference paragraphs 1 through 239; and paragraphs 260 through
27
      265 below in this pleading as though fully set forth herein.
28

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1     241.     Jeremy Ward, at all times mentioned in this cause of action, was employed by Defendant Tyler
2     Technologies, Inc. as the Senior Director of Systems Engineering and was working within his scope of
3     employment at Tyler Technologies, Inc.

4     242.     Defendant Tyler Technologies, Inc. was in a relationship wherein it an owed a duty to the
      plaintiffs and all class members to disclose a material fact about the data breach on the grounds that
5
      Tyler Technologies, Inc.’s lack of access control check caused the data breach and the plaintiffs and all
6
      members of the class were victims of the data breach.
7
      243.     Defendant Tyler Technologies, Inc. acquired information about the data breach that could have
8
      mitigated further harm to the plaintiffs but failed to disclose it to the plaintiffs and all members of the
9     Class.
10    244.     Defendant Tyler Technologies, Inc. intentionally failed to disclose certain facts to the plaintiffs;
11    or disclosed some facts to the plaintiffs through the State Bar’s Notice but intentionally failed to
12    disclose other facts listed below, making the disclosure deceptive; or defendant intentionally failed to
13    disclose certain facts that were known only to it and that plaintiffs could not have discovered; or

14    defendant prevented plaintiffs from discovering certain facts to wit:
                  a. On March 9, 2022 Jeremy Ward was aware that Tyler Technologies was holding onto the
15
                      California clients, including the State Bar of California because Tyler Technologies was
16
                      going to deal with them as a single bucket and he memorialized that intention in an email
17
                      he wrote to Kevan Schweitzer.
18
                  b. On March 11, 2022 Jeremy Ward wrote another email to Kevan Schweitzer disclosing
19                    that Tyler Technologies, Inc. was “taking an extremely holistic approach … and asked
20                    Kevan Schweitzer to prohibit searches on JudyRecords.com for another week because
21                    Tyler Technologies decided it could “avoid other issues coming up and having to discuss
22                    notifications for other records.” Jeremy Ward then asked Kevan Schweitzer to cover up
23                    the breaches by asking “Would you be willing to make Odyssey Portal records not

24                    searchable for the next two weeks.”
                  c. On March 18, 2022 Jeremy Ward wrote another email to Kevan Schweitzer disclosing
25
                      that Tyler Technologies has “notices that some of the pages” from JudyRecords.com “are
26
                      being indexed by Google (and presumably other search engines) and as such were
27
                      concerned that “some of the non-public cases might have been indexed and are still
28
                      visible.” Kevan Schweitzer replied he did not index any of his pages to Google except

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1                    for appellate and supreme court opinions. As such, Tyler Technologies knew or had
2                    reason to know that another third party other than JudyRecords.com had also exfiltrated,
3                    scraped or harvested cases that were stored or accessible through the Odyssey portal

4                    including confidential State Bar Investigations.
      245.    Defendant Tyler Technologies, Inc. owed a duty to plaintiffs and the members of the class to
5
      inform them that (1) the notices being sent to the victims of the State Bar breach was going to be
6
      delayed (2) the delay was so that Tyler Technologies could help its other clients avoid sending out
7
      notices of the data breach of their case files; and (2) there was some evidence that another party had
8
      accessed the confidential State Bar investigation other than Kevan Schweitzer who was operating
9     JudyRecords.com because pages from JudyRecords.com were found indexed on Google so just because
10    there was a “page view” on JudyRecords.com did not mean a third party did not actually view the
11    confidential state bar investigation.
12    246.    Plaintiffs and all members of the Class did not know of the concealed fact[s] alleged above.
13    247.    Defendant Tyler Technologies, Inc. intended to deceive plaintiffs and the members of the Class

14    by Concealing the facts alleged above.
      248.    Had the omitted information been disclosed, plaintiffs and all members of the class reasonably
15
      would have behaved differently by taking the data breach more seriously.
16
      249.    Plaintiffs and all members of the Class were harmed.
17
      250.    Defendant Tyler Technologies, Inc.’s concealment was a substantial factor in causing plaintiffs’
18
      harm.
19    251.    By disclosing only some of the information, Defendants conduct was deceitful.
20    252.    Defendants Tyler Technologies, Rick Rankin and Does 4 through 10 intended that plaintiffs and
21    the members of the putative class rely on these representations in order to minimize and downplay the
22    nature and extent of the data breach.
23    253.    Plaintiffs and the members of the putative class reasonably relied on Tyler Technologies,

24    representation and many did little or nothing thinking that these records were only on an obscure
      website and permanently deleted never to see the light of day or failed to get the notice because it came
25
      from an obscure website email address.
26
      254.    Plaintiffs and the members of the putative class are being harmed because once information is
27
      on the internet it is never really permanently deleted. It can reappear online by any third party that may
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1     have shared or downloaded it. It can be on the dark web or indexed by Google or appear on harder to
2     reach paid databases like Lexis, Westlaw, or credit reporting agencies.
3     255.   Plaintiffs and the members of the putative class’s reliance on Tyler Technologies, representation

4     is a substantial factor in causing them harm.
      256.   Privacy damage to plaintiffs John Roe 1, John Roe 3, Jane Roe 2, Chad Pratt, NZ and all
5
      members of the Class resulted in general damages causing the plaintiffs great loss of peace of mind,
6
      humiliation, shame, mortification, and grievous mental pain and suffering.
7
      257.   Reputation damage to plaintiff NZ and the other 1,300 class members resulted in general
8
      damages causing plaintiffs great humiliation, shame, mortification, and grievous mental pain and
9     suffering, and tends to injure their personal and business reputation.
10    258.   Plaintiffs and class members must now spend money to mitigate the risk of loss and take their
11    time and effort to mitigate the actual and potential impact of the data breach out of their everyday lives
12    by closely reviewing and monitoring phone calls and emails for phishing attacks and spam; by closely
13    reviewing and monitoring public court docket databases such as Lexis, Westlaw, Justia. LegalEagle,

14    Casetext, Google Scholar and the like to ensure that their identity associated with a confidential state
      bar investigation does not reappear on the internet or get circulated by his or her adversaries and their
15
      allies to impugn the reputation and character of the plaintiff or class member. Plaintiffs and the class
16
      members also must be ever vigilant against retaliatory actions against them by the state bar or others
17
      and their reputation has been irreparably harmed. Plaintiffs and the class members have spent money on
18
      antivirus services to assist in monitoring the dark web, their credit reports for added docket activity and
19    phishing scams.
20    259.   Jeremy Ward was a controlling manager of defendant Tyler Technologies, Inc. and his actions
21    amounted to actual fraud, corruption and/or actual malice entitling plaintiffs and members of the Class
22    to an award of punitive damages as more fully alleged below.
23                                          EXEMPLARY DAMAGES

24    260.   Defendants Tyler Technologies, Inc. and Does 4 through 10 conduct is so vile, base, or

25    contemptible that it would be looked down on and despised by reasonable people.
      261.   Defendants Tyler Technologies, Inc., by and through Jeremy Ward, and Does 4 through 10
26
      intentionally misrepresented or concealed a material fact as specifically alleged above entitling plaintiffs
27
      and members of the class to punitive damages.
28

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1     262.   The conduct constituting malice, oppression, or fraud by Jeremy Ward, Kevan Schweitzer, and
2     Does 4 through 10, was authorized by one or more officers, directors, or managing agents of Tyler
3     Technologies, Inc.

4     263.   Alternatively, one or more officers, directors, or managing agents of Tyler Technologies, Inc.
      knew of the conduct constituting malice, oppression, or fraud and adopted or approved that conduct
5
      from Jeremy Ward and Kevan Schweitzer after it occurred.
6
      264.   The aforementioned conduct of Defendants Tyler Technologies, Inc. and Does 4 through 10,
7
      was malicious and/or an intentional misrepresentation, deceit, or concealment of a material fact or with
8
      the intention on the part of the Defendants Tyler Technologies, Inc. and Does 4 through 10 to thereby
9     deprive plaintiffs of property or legal rights or otherwise causing injury.
10    265.   The aforementioned conduct of Defendants Tyler Technologies, Inc. and Does 4 through 10 was
11    despicable conduct that subjected Plaintiffs and the members of the class to a cruel and unjust hardship
12    in conscious disregard of Plaintiffs and class members privacy rights and right to know, so as to justify
13    an award of exemplary and punitive damages.

14                                            PRAYER FOR RELIEF

15           First Cause of Action
                 1. Damages;
16
                 2. Injunctive relief;
17
                 3. Costs;
18
                 4. Attorney fees; and
19
                 5. Any further relief the court would deem appropriate and just.
20           Second, Third, Fourth, and Fifth Causes of Action
21               1. Actual Damages;
22               2. General Damages;
23               3. Costs; and
24               4. Any further relief the court would deem appropriate and just.

25           Sixth Cause of Action
                 1. Actual Damages;
26
                 2. General Damages;
27
                 3. Punitive Damages,
28
                 4. Costs; and
                                                        36
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1               5. Any further relief the court would deem appropriate and just.
2                                       DEMAND FOR JURY TRIAL
3           Plaintiffs hereby demand a jury trial for all legal claims.

4     Dated: February 1, 2024                      Respectfully Submitted,
                                                   LAW OFFICES OF LENORE ALBERT
5                                                  /s/ Lenore Albert______________________
                                                   LENORE L. ALBERT, ESQ.
6                                                  Attorney for Plaintiffs, John Roe 1,John Roe 3,
7                                                  Jane Roe 2, Chad Pratt, and NZ on behalf of
                                                   themselves and all others similarly situated.
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1                                               PROOF OF SERVICE
2     STATE OF CALIFORNIA, COUNTY OF ORANGE:
       I declare that I am over the age of 18 years, and not a party to the within action; that I am employed in
3
      Orange County, California; my business address is 1968 S Coast Hwy #3960, Laguna Beach, CA
4     92651. On February 1, 2024, I served a copy of the following document(s) described as:
      FOURTH AMENDED CLASS ACTION COMPLAINT
5     SEE ELECTRONIC SERVICE LIST ATTACHED
6
      [x] BY E-SERVE and EMAIL – I caused such document(s) to be transmitted to the office(s) of the
7     addressee(s) listed above by electronic mail at the e-mail address(es) set forth per CCP 1010.6.
      [ ] BY MAIL– I caused such document(s) to be placed in pre-addressed envelope(s) with postage
8     thereon fully prepaid and sealed, to be deposited as regular US Mail at Santa Ana, California, to the
9     aforementioned addressee(s).
       I declare under penalty of perjury under the laws of the State of California and the United States of
10    America that the foregoing is true and correct.
11    Dated: February 1, 2024
12                                                                  _/s/_Lenore Albert____________________
                                                                         Lenore Albert
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1                                    ELECTRONIC SERVICE LIST
2     For Defendants State Bar of California
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3     FREEMAN MATHIS & GARY, LLP
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      D: 562-245-8405 | C: 562-682-8062
5     David.Liu@fmglaw.com
6     ROBERT G. RETANA (148677) Deputy General Counsel
7     SUZANNE C. GRANDT (304794)
      Assistant General Counsel
8     OFFICE OF GENERAL COUNSEL
      THE STATE BAR OF CALIFORNIA
9     180 Howard Street
10    San Francisco, CA 94105-1639 Telephone: 415-538-2388; Facsimile: 415-538-2517
      Email: suzanne.grandt@calbar.ca.gov
11
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18    K&L GATES LLP
      Beth Petronio
19    Christina N. Goodrich (SBN 261722) christina.goodrich@klgates.com
20    Zachary T. Timm (SBN 316564) zach.timm@klgates.com
      10100 Santa Monica Boulevard Seventh Floor
21    Los Angeles, California 90067
      Telephone: 310.552.5000 Facsimile: 310.552.5001
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